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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al
                                                                      CIVIL ACTION
versus
                                                                      22-211-SDD-SDJ
KYLE ARDOIN, in his official
capacity as Secretary of State
for Louisiana

consolidated with

EDWARD GALMON, SR., et al
                                                                      CIVIL ACTION
versus
                                                                      22-214-SDD-SDJ
KYLE ARDOIN, in his official
capacity as Secretary of State
for Louisiana

                                     RULING AND ORDER

         Before the Court are the Motion for Preliminary Injunction1 filed by the Robinson

Plaintiffs and the Motion for Preliminary Injunction2 by the Galmon Plaintiffs. Defendant

Secretary Ardoin and the Intervenor Defendants filed Oppositions,3 to which Plaintiffs filed

Replies.4 The Court also received a Brief Amicus Curiae in Support of Neither Party5 from

a group of mathematics and computer science professors at Louisiana State and Tulane

Universities. A five-day hearing on the Motions was held, beginning May 9, 2022 and

ending May 13, 2022. After the hearing, Plaintiffs and Defendants (along with the




1 Rec. Doc. No. 41.
2 Rec. Doc. No. 42.
3 Rec. Doc. No. 101; Rec. Doc. No. 108; Rec. Doc. No. 109.
4 Rec. Doc. No. 123; Rec. Doc. No. 120.
5 Rec. Doc. No. 97.


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Intervenor Defendants) both filed Proposed Findings of Fact,6 as well as post-hearing

briefs.7

       For the reasons set forth herein, the Court concludes that Plaintiffs are

substantially likely to prevail on the merits of their claims brought under Section 2 of the

Voting Rights Act. The Court finds that absent injunctive relief, the movants are

substantially likely to suffer irreparable harm. The Court has considered the balance of

equities and hardships associated with injunctive relief, as well as the public policies

attendant to the issuance of injunctive relief, and concludes that injunctive relief is

required under the law and the facts of this case. The Court hereby GRANTS the Motions

for Preliminary Injunction8 and PRELIMINARILY ENJOINS Secretary Ardoin from

conducting any congressional elections under the map enacted by the Louisiana

Legislature in H.B. 1.

       The appropriate remedy in this context is a remedial congressional redistricting

plan that includes an additional majority-Black congressional district. The United States

Supreme Court instructs that the Legislature should have the first opportunity to draw that

plan.9 Therefore, the Court ORDERS the Louisiana Legislature to enact a remedial plan

on or before June 20, 2022. If the Legislature is unable to pass a remedial plan by that

date, the Court will issue additional orders to enact a remedial plan compliant with the

laws and Constitution of the United States. The Court hereby STAYS and EXTENDS the




6 Rec. Doc. No. 164; Rec. Doc. No. 166.
7 Rec. Doc. No. 163; Rec. Doc. No. 165.
8 Rec. Doc. No. 41; Rec. Doc. No. 42.
9 See, e.g., North Carolina v. Covington, 138 S. Ct. 2548, 2554 (2018); White v. Weiser, 412 U.S. 783,

794–95 (1973).

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deadline for candidates to qualify by nominating petition in lieu of filing fees10 (currently

set for June 22, 2022) until July 8, 2022. The candidate qualifying period set for July 20 -

22, 2022 and all other related deadlines are unaffected by this Order and shall proceed

as scheduled.

                                            BACKGROUND

I.      Procedural Posture

        In April 2021, the United States Census Bureau delivered the 2020 Census data

that would drive the state of Louisiana’s redistricting process. Under the new numbers,

Louisiana’s congressional apportionment was unchanged from 2010, holding steady at

six seats in the U.S. House of Representatives.11 The task of redrawing those six districts

fell upon the Louisiana Legislature, where the drawing of new maps was guided in part

by Joint Rule No. 21, passed by the Louisiana Legislature in 2021 to establish criteria that

would “promote the development of constitutionally and legally acceptable redistricting

plans.”12 Joint Rule 21 provided as follows:




10 Pursuant to La. R.S. 18 § 465, a potential congressional candidate may qualify for the ballot by obtaining
one thousand signatures from qualified voters within the district and filing a nominating petition with the
Secretary of State. Testimony from the Commissioner of Elections (see infra) established that this method
of qualifying is used very rarely by candidates for office in Louisiana.
11 Rec. Doc. No. 143, p. 10 (Joint Stipulation Pre-Hearing).
12 PR-79.


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Leading up to their redistricting session, legislators held a series of “roadshow” meetings

across the state, designed to share information about redistricting and solicit public

comment and testimony, which lawmakers described as “absolutely vital to this

process.”13 Citizens who engaged in the process at the roadshows were assured that

“your ideas and recommendations matter to me and they matter to us.”14 The Legislature

convened on February 1, 2022 to begin the redistricting process; on February 18, 2022,

H.B. 1 and S.B. 5, the bills setting forth new maps for the 2022 election cycle, passed the

Legislature. The enacted plan created the six districts pictured below:15




13 PR-38, p. 3.
14 Id. Statement of Senator Sharon Hewitt at the Monroe roadshow in October 2021. See PR-38 through
PR-46 for transcripts of roadshows held in Monroe, Shreveport, Lafayette, Alexandria, Baton Rouge,
Covington, Lake Charles, New Orleans, and Thibodaux.
15 GX-1, p. 19.


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Having long telegraphed that he would,16 Louisiana Governor John Bel Edwards vetoed

H.B. 1 and S.B. 5 on March 9, 2022.17 The Legislature voted to override the Governor’s

veto on March 30, 2022.18 That same day, the Robinson and Galmon Plaintiffs filed their

Complaints in this Court, alleging that the 2022 congressional map dilutes Black voting

strength in violation of the Voting Rights Act of 1965 (the “VRA”) by “packing” large

numbers of Black voters into a single majority-Black congressional district (Congressional

District 2 or “CD 2”) and “cracking” the remaining Black voters among the other five

districts, where, Plaintiffs argue, they are sufficiently outnumbered to ensure that they are

unable to participate equally in the electoral process.19

       After the Complaints were filed, Patrick Page Cortez, the President of the

Louisiana State Senate, and Clay Schexnayder, the Speaker of the Louisiana House of

Representatives (collectively, “the Legislative Intervenors”), moved to intervene as

Defendants in the suit, as did Louisiana Attorney General Jeff Landry (“Attorney General

Landry” or “the Attorney General”).20 The Court granted those motions21 and, on April 12,

2022, consolidated the Robinson and Galmon matters.22 The Louisiana Legislative Black

Caucus also sought, and was granted, intervention.23

       The motions now before the Court -- the Motion for Preliminary Injunction24 by the

Robinson Plaintiffs and the Motion for Preliminary Injunction25 by the Galmon Plaintiffs –



16 GX-16.
17 Rec. Doc. No. 143, p. 11 .
18 Id.
19 See Rec. Doc. No. 1 in 22-cv-214 and 22-cv-211.
20 Rec. Doc. No. 10; Rec. Doc. No. 30.
21 Rec. Doc. No. 64.
22 Rec. Doc. No. 27.
23 Rec. Doc. No. 82; Rec. Doc. No. 136.
24 Rec. Doc. No. 41.
25 Rec. Doc. No. 42.


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were filed on April 15, 2022. Therein, Plaintiffs urge the Court to enjoin Secretary Ardoin

from conducting the 2022 congressional elections under the enacted district maps, to set

a deadline for the Legislature to enact a compliant map and, if the Legislature fails to do

so, to order that the November 2022 election be conducted under one of the illustrative

plans proposed by Plaintiffs.26

           After a more condensed schedule proposed by the Court drew objections from

Defendants, the Court set the Motions for a five-day evidentiary hearing to begin May 9,

2022.27 On the eve of the preliminary injunction hearing, Attorney General Landry filed a

Motion to Stay, arguing that the Supreme Court’s forthcoming merits decision in Merrill v.

Milligan28 “could be dispositive of this litigation” and will, “[a]t the very least. . .be

informative to the Parties’ claims and defenses in the instant case.” 29 The Court denied

that motion, reasoning that “[t]he blow to judicial economy and prejudice to Plaintiffs that

would result from granting the moved-for stay cannot be justified by speculation over

future Supreme Court deliberations. . .”30

     II.      Factual and Legal Background

           Article I, § 2 of the United States Constitution compels that members of the House

of Representatives “shall be apportioned among the several States . . . according to their

respective Numbers.”31 Thus, every ten years, state legislators use census data to divvy

their state up into congressional districts via a redistricting process. As the Legislature’s

Joint Rule No. 21 notes, redistricting efforts are bound by a number of federal



26 Rec. Doc. No. 41-1, p. 10.
27 Rec. Doc. No. 35.
28 142 S.Ct. 879 (2022).
29 Rec. Doc. No. 131-1, p. 15.
30 Rec. Doc. No. 135, p. 4.
31 U.S. Const. art. I, § 2, cl. 3.


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constitutional and statutory requirements. Perhaps most fundamentally, the “one person,

one vote” rule requires that districts be drawn such that one person's “vote in a

congressional election” is “nearly as is practicable ... worth as much as another's.”32 The

United States Supreme Court has observed that “to say that a vote is worth more in one

district than in another would not only run counter to our fundamental ideas of democratic

government, it would cast aside the principle of a House of Representatives elected ‘by

the People,’ a principle tenaciously fought for and established at the Constitutional

Convention.”33 To that end, districts must be drawn as close to equal in population as

possible, and states must “justify population differences between districts that could have

been avoided by a good-faith effort to achieve absolute equality.”34

        More nuanced are the requirements regarding the consideration of race in

redistricting. As many courts have observed, mapdrawers are pulled in one direction by

the Equal Protection Clause, which “forbids ‘racial gerrymandering,’ that is, intentionally

assigning citizens to a district on the basis of race without sufficient justification.”35 The

Voting Rights Act “pulls in the opposite direction” and in fact, “often insists that districts

be created precisely because of race.”36 “[T]o harmonize these conflicting demands, the

[Supreme] Court has assumed that compliance with the VRA is a compelling State

interest for Fourteenth Amendment purposes, and a State's consideration of race in

making a districting decision is narrowly tailored if the State has ‘good reasons’ for

believing that its decision is necessary in order to comply with the VRA.”37



32 Wesberry v. Sanders, 376 U.S. 1, 8 (1964).
33 Id.
34 Tennant v. Jefferson Cnty. Comm'n, 567 U.S. 758, 759 (2012) (internal quotation marks omitted).
35 Abbott v. Perez, 138 S. Ct. 2305, 2314 (2018).
36 Id. (emphasis added).
37 Id. at 2309.


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       Section 2 of the Voting Rights Act provides as follows:

       (a)    No voting qualification or prerequisite to voting or standard, practice,
       or procedure shall be imposed or applied by any State or political
       subdivision in a manner which results in a denial or abridgement of the right
       of any citizen of the United States to vote on account of race or color, or in
       contravention of the guarantees set forth in section 10303(f)(2) of this title,
       as provided in subsection (b).

       (b)     A violation of subsection (a) is established if, based on the totality of
       circumstances, it is shown that the political processes leading to nomination
       or election in the State or political subdivision are not equally open to
       participation by members of a class of citizens protected by subsection (a)
       in that its members have less opportunity than other members of the
       electorate to participate in the political process and to elect representatives
       of their choice. The extent to which members of a protected class have been
       elected to office in the State or political subdivision is one circumstance
       which may be considered: Provided, That nothing in this section establishes
       a right to have members of a protected class elected in numbers equal to
       their proportion in the population.38

A state violates Section 2 “when a state districting plan provides ‘less opportunity’ for

racial minorities ‘to elect representatives of their choice.’”39 “A plaintiff may allege a

Section 2 violation in a single-member district if the manipulation of districting lines

fragments politically cohesive minority voters among several districts or packs them into

one district or a small number of districts, and thereby dilutes the voting strength of

members of the minority population.”40 Thornburg v. Gingles41 sets forth three threshold

conditions for a claim of vote dilution under Section 2: “first, that [the minority group] is

sufficiently large and geographically compact to constitute a majority in a single-member




38 52 U.S.C. § 10301.
39 Abbott, 138 S. Ct. at 2309 (quoting League of United Latin American Citizens v. Perry, 548 U.S. 399,
425).
40 Shaw v. Hunt, 517 U.S. 899, 914 (1996).
41 478 U.S. 30 (1986)(hereinafter “Gingles”).


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district”; second, “that it is politically cohesive”; and third, “that the white majority votes

sufficiently as a bloc to enable it ... usually to defeat the minority's preferred candidate.”42

        If a party establishes the threshold Gingles requirements, the Court will “proceed

to analyze whether a violation has occurred based on the totality of the circumstances.”43

The totality of the circumstances determination is made by reference to the “Senate

Factors,” which are derived from a report of the Senate Judiciary Committee

accompanying the 1982 amendments to the Voting Rights Act.44 The United States Court

of Appeals for the Fifth Circuit has held that “[n]o one of the factors is dispositive; the

plaintiffs need not prove a majority of them; other factors may be relevant.”45

         At the totality of the circumstances stage, courts also consider “whether the

number of districts in which the minority group forms an effective majority is roughly

proportional to its share of the population in the relevant area.”46 When a statewide

districting plan is the subject of a vote dilution claim, “the proportionality analysis ordinarily

is statewide.”47

        The redistricting process is emphatically within the province of the state

legislatures.48 Federal court review, then, represents “a serious intrusion on the most vital

of local functions”49 and calls for sensitivity to “the complex interplay of forces that enter




42 Growe v. Emison, 507 U.S. 25, 40 (1993)(citing Gingles, 478 U.S., at 50–51).
43 Bartlett v. Strickland, 556 U.S. 1, 12 (2009).
44 See infra for further discussion of the Senate Factors.
45 Westwego Citizens for Better Gov't v. City of Westwego, 946 F.2d 1109, 1120 (5th Cir. 1991).
46 Caster v. Merrill, No. 2:21-CV-1536-AMM, 2022 WL 264819, at *13 (N.D. Ala. Jan. 24, 2022)(quoting

LULAC, 548 U.S. at 426).
47 Id.
48 Wesch v. Hunt, 785 F. Supp. 1491, 1497 (S.D. Ala.), aff'd sub nom. Camp v. Wesch, 504 U.S. 902, 112

S. Ct. 1926 (1992)(“Congressional redistricting is primarily and foremost a state legislative responsibility”).
49 Abbott v. Perez, 138 S. Ct. 2305, 2324 (2018).


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a legislature's redistricting calculus.”50 Further, a “presumption of good faith . . . must be

accorded legislative enactments.”51

     III.      Statement of Claims and Defenses

               A. Plaintiffs’ Claims

            Plaintiffs argue that the enacted map “artificially limits Black voters’ influence” by

packing them into CD 2 and cracking them throughout the other five districts. Plaintiffs

contend that the maps, “coupled with high levels of racially polarized voting. . .greatly

dilute the ability of the State’s Black voters to elect their candidates of choice.” 52 Relying

on the illustrative plans prepared by their experts, Anthony Fairfax and William Cooper,

Plaintiffs assert that “Louisiana’s Black community is sufficiently large and geographically

compact to comprise more than 50% of the voting-age population in a second

congressional district that connects the Baton Rouge area and St. Landry Parish with the

delta parishes along the Mississippi border.”53

            Plaintiffs argue that “[i]t is beyond dispute that Black voters in Louisiana have voted

as a cohesive bloc,”54 and that “white voters voted in bloc against the candidate supported

by Black voters”55 Thus, Plaintiffs aver that all of the threshold conditions of a vote dilution

claim under Gingles are met here. Further, they contend that the vestiges of Louisiana’s

long and irrefutable history of discrimination have resulted in modern day disparate

socioeconomic conditions, segregated communities, and unequal educational outcomes,




50 Miller v. Johnson, 515 U.S. 900, 915–16 (1995).
51 Id. at 916.
52 Rec. Doc. No. 41-1, p. 12.
53 Rec. Doc. No. 42-1 p. 9.
54 Id. at pp. 11, 16.
55 Id. at p. 18.


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all of which contribute to a totality of circumstances that denies a meaningful opportunity

for Black voters to elect their preferred candidates.

        Absent an injunction preventing the enacted maps from controlling the 2022

congressional election, Plaintiffs allege, they will suffer irreparable harm. Moreover, they

argue that “preserving the rights of Louisianans is strongly in the public interest and the

threat of disenfranchising Black Louisianans vastly outweighs the minimal potential

administrative burden that an injunction might impose on Defendant.”56 Though Plaintiffs

acknowledge that the Purcell doctrine proscribes judicial intervention on the eve of an

election, they distinguish Purcell and progeny factually and point out that here, “the

election is over six months away” and that counsel for Louisiana’s Speaker of the House

and Senate President are on the record in companion state court redistricting lawsuits as

representing that “[t]he election deadlines that actually impact voters do not occur until

October 2022. . .Therefore, there remains several months on Louisiana’s election

calendar to complete the process.”57 Indeed, they explained, Louisiana’s “election

calendar is one of the latest in the nation.”58 Since Louisiana has only six congressional

districts, and alternative maps with two majority-minority districts were introduced and

debated during the legislative redistricting process, Plaintiffs submit that “only a brief

period” should be necessary to craft a VRA-compliant map.59 Plaintiffs argue that these

challenges pale in comparison to the harm from proceeding with the 2022 elections under

maps that violate Section 2 of the VRA.60



56 Id. at p. 22.
57 GX-32, p. 8 (Findings of Fact and Conclusions of Law filed by the Legislative Intervenors in Bullman, et
al v. Ardoin, No. C-716837, 19th Judicial District Court).
58 GX-32, p. 5.
59 Rec. Doc. No. 42-1, p. 26.
60 Id.


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           B. Secretary of State Ardoin

       Secretary Ardoin begins by questioning Plaintiffs’ standing to maintain this action,

arguing that although the Galmon Plaintiffs challenge the entire congressional plan, they

“only have Plaintiffs living in Congressional Districts 2, 5, and 6.” 61 Second, Secretary

Ardoin contends that Plaintiffs are unlikely to succeed on the merits of their Voting Rights

Act claim, arguing that their claim fails because the second majority-majority district they

propose is not geographically compact. Specifically, the Secretary objects to the manner

in which Plaintiffs’ illustrative plans “combine[] portions of EBR [East Baton Rouge] with

parishes in the far north of the state like East and West Carroll.” 62 Citing the 1990s Hays

redistricting cases,63 Secretary Ardoin avers that such a plan is “absurd on its face”

because “federal courts have twice rejected plans that used EBR to build a second

majority black district on the ground that such districts were uncompact racial

gerrymanders that did not satisfy the Gingles preconditions.”64 Further, the Secretary of

State argues that the illustrative plans run afoul of the Equal Protection Clause by creating

an “obvious racial gerrymander.”65

       Even if Plaintiffs’ proposed districts were sufficiently compact, Secretary Ardoin

disputes that the districts would “perform” – that is, that they would actually provide Black

voters with an opportunity to elect the candidate of their choice – because Plaintiffs’

illustrative plans create only a “bare majority”66 of Black voting-age population (“BVAP”)

in the proposed second majority-minority districts. Further, Secretary Ardoin argues that


61 Rec. Doc. No. 101, p. 12.
62 Id. at p. 13.
63 Hays v. Louisiana, 839 F. Supp. 1188, 1195 (W.D. La. 1993) (Hays I); Hays v. Louisiana, 936 F. Supp.

360, 368 (W.D. La. 1996) (Hays IV).
64 Rec. Doc. No. 101, p. 18.
65 Id. at p. 17.
66 Id. at p. 18.


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Plaintiffs cannot make the requisite showing of racially polarized voting and White bloc

voting.

          Secretary Ardoin next avers that the totality of the circumstances analysis “show[s]

that minority voters possess the same opportunities to participate in the political process

and elect their candidate of choice.”67 The Secretary urges that a second majority-minority

district is untenable because Louisiana has a “substantial interest in maintaining the

continuity of representation in its districting plans.”68 Per the Secretary, the Black

population in Louisiana is “remaining flat or even declining”69 such that drawing a second

Black congressional district is not justified.

          Lastly, Secretary Ardoin argues that the Purcell doctrine forecloses the possibility

of judicial intervention in the form of an injunction for the 2022 election cycle. He cites a

handful of recent cases where courts have applied Purcell, and the declaration of

Louisiana election official Sherri Hadskey, who attests that the process of assigning

Louisiana voters to their new districts in the state election database system is complicated

and time-consuming, and that doing so before the 2022 cycle would cause “significant

cost, confusion, and hardship.”70

             C. Intervenor Defendant - Attorney General Landry

          The Attorney General argues that Plaintiffs are not substantially likely to succeed

on their merits of their claims “as to the first and third Gingles preconditions.”71 Plaintiffs

only appear to have proposed a sufficiently numerous and geographically compact




67 Id. at p. 21.
68 Id. at p. 22.
69 Id.
70 Id. at p. 24.
71 Rec. Doc. No. 108, p. 6.


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second majority-minority district, he explains, by using “statistical manipulation.”72

Specifically, Attorney General Landry argues, Plaintiffs’ use of the “Any Part Black” metric,

which is a census category including anyone who identifies as Black as well as those who

identify as Black and any other race, pushes their proposed CD 5 over the 50% Black

Voting Age Population (BVAP) threshold “by a razor’s edge.”73 The Attorney General

submits that if Any Part Black is not used to count Black voters, “the BVAP numbers do

not rise above 50%.”74 Attorney General Landry advocates the use of what he calls “DOJ

Black,” namely, “those who are ‘Black’ and those who are ‘Black and White.’”75

       The Attorney General challenges the compactness of the illustrative plans as

“combin[ing] Black communities from far-flung parts of Louisiana in the same district.”76

The proposed maps are an example of racial gerrymandering, he argues, which is

impermissible “even when the purported purpose of the racial gerrymander is in seeking

to comply with the dictates of the Voting Rights Act.” 77 As for racially polarized voting, the

Attorney General argues that partisan affiliation, not race, best explains the tendency of

Black Louisianans to vote similarly.

       The Attorney General also advances an argument recently credited by the District

Court for the Eastern District of Arkansas in Arkansas State Conference of the NAACP v.

Arkansas Board of Apportionment,78 finding that there is no private right of action under

Section 2 of the Voting Rights Act. He suggests that this is an “open question” that has

been flagged for potential consideration by the Supreme Court and the Fifth Circuit, and


72 Id.
73 Id.
74 Id. at p. 7.
75 Id., n. 3.
76 Id. at p. 12.
77 Id. at p. 13.
78 No. 4:21-CV-01239-LPR, 2022 WL 496908 (E.D. Ark. Feb. 17, 2022).


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that the Court should dismiss Plaintiffs’ claims on that basis. Finally, the Attorney General

echoes Secretary Ardoin’s argument that the Purcell doctrine dictates that it is too late for

relief to be granted as to the 2022 congressional election cycle.79

             D. The Legislative Intervenors

        The Legislators begin by noting that, in the push-pull of the VRA and the Equal

Protection Clause, neither proportional representation nor a desire to maximize minority

representation are sufficient reasons to create a new majority-minority district. After

reviewing the history of the 1990s Hays litigation and the 2020 redistricting process, the

Legislators argue that the enacted congressional map should not be invalidated because

the “Legislature had before it no evidence justifying race-based redistricting.”80 The

Legislators argue that race must have predominated in the drawing of Plaintiffs’ illustrative

plans because “[a] set of 10,000 computer-simulated redistricting plans generated without

racial criteria and according to neutral principles produces zero majority minority

congressional districts . . .let alone two as Plaintiffs demand.”81

        Further, the Legislators argue that the illustrative plans offered by Plaintiffs

disregard communities of interest because they “combine[] urban Baton Rouge and its

suburbs in some way with the distant rural communities of Louisiana’s delta parishes. . .

who share race in common and not much else.”82 Plaintiffs’ plans, they argue, also ignore

legislative priorities “such as preserving incumbencies and their constituencies and

district cores.”83 Identifying communities of interest is “the Legislature’s role . . . not the




79 Rec. Doc. No. 108, p. 21.
80 Rec. Doc. No. 119-1, p. 17-18.
81 Id. at p. 19 (emphasis original).
82 Id. at p. 21.
83 Id.


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Court’s or Plaintiffs,’” they contend, and Plaintiffs’ plans “dismantle the Legislature’s

legitimate and race-neutral goals.”84 Seconding Attorney General Landry, the Legislators

also argue that the “DOJ Black” definition should be used to assess whether Plaintiffs’

proposed maps feature two districts with greater than 50% BVAP.

         The Legislators argue that “white bloc voting. . .is low enough (and crossover

voting is high enough) to permit Black voters to elect their preferred candidates without

50% BVAP districts.”85 Thus, the cohesion of Black voters or the polarization of the

electorate “carries no legal significance.”86 What may appear as cohesive Black voting is

equally likely to be the product of partisan politics, the Legislators assert, noting that “[i]t

is difficult for any Democratic candidate, white or Black, to win in Louisiana, except under

special circumstances.”87

         The Legislators argue that Plaintiffs’ case also fails under the totality of the

circumstances because they “do not focus on alleged discrimination against a discrete

group in a discrete locality, relying instead on statewide elections and statewide ideals of

proportionality.”88 Overall, the Legislators assert, it is not clear whether Black Louisianans

would be better off with the status quo of one majority-minority district with a strong BVAP

of roughly 58%, or two majority-minority districts that only slightly exceed 50% BVAP. In

any event, they argue, Purcell demands that the Court abstain from tinkering with the

November election.




84 Id.
85 Id. at p. 23.
86 Id.
87 Id. at p. 25.
88 Id. at p. 26.


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                                     LAW AND EVIDENCE

I.     STANDARD OF REVIEW

       “[A] preliminary injunction is ‘an extraordinary remedy never awarded as of right.’”89

“To obtain a preliminary injunction, the movant must establish four elements: (1) a

substantial likelihood of success on the merits, (2) a substantial threat of irreparable injury

if the injunction is not issued, (3) that the threatened injury if the injunction is denied

outweighs any harm that will result if the injunction is granted, and (4) that the grant of an

injunction will not disserve the public interest.”90

II.    APPLICABLE LAW

       “The essence of a § 2 claim is that a certain electoral law, practice, or structure

interacts with social and historical conditions to cause an inequality in the opportunities

enjoyed by black and white voters to elect their preferred representatives.”91 Thornburg

v. Gingles sets forth three threshold conditions for a claim of vote dilution under Section

2: “first, that [the minority group] is sufficiently large and geographically compact to

constitute a majority in a single-member district”; second, “that it is politically cohesive”;

and third, “that the white majority votes sufficiently as a bloc to enable it ... usually to

defeat the minority's preferred candidate.”92

       “The ‘geographically compact majority’ and ‘minority political cohesion’ showings

are needed to establish that the minority has the potential to elect a representative of its

own choice in some single-member district. And the ‘minority political cohesion’ and




89 Benisek v. Lamone, 138 S. Ct. 1942, 1943 (2018)(citing Winter v. Natural Resources Defense Council,
Inc., 555 U.S. 7, 24 (2008)).
90 Jiao v. Xu, 28 F.4th 591, 597–98 (5th Cir. 2022).
91 Gingles, 478 U.S. 30, 47 (1986).
92 Growe v. Emison, 507 U.S. 25, 40 (1993)(citing Gingles, 478 U.S., at 50–51).


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‘majority bloc voting’ showings are needed to establish that the challenged districting

thwarts a distinctive minority vote by submerging it in a larger white voting population.” 93

“Unless these points are established, there neither has been a wrong nor can [there] be

a remedy.”94 Consequently, if Plaintiffs fail to establish any one of these three conditions,

the Court need not consider the other two.95

        Under the first prong of Gingles, “a party asserting § 2 liability must show by a

preponderance of the evidence that the minority population in the potential election district

is greater than 50 percent.”96 Because “only eligible voters affect a group’s opportunity to

elect candidates,”97 this requirement is analyzed in terms of Black voting-age population

(or “BVAP”). Proving the existence of a sufficiently large minority population does not end

the inquiry; compactness is also required. If the minority population is dispersed such that

a reasonably compact majority-minority district cannot be drawn, “Section 2 does not

require a majority-minority district....”98

        “While no precise rule has emerged governing § 2 compactness, the inquiry should

take into account traditional districting principles such as maintaining communities of

interest and traditional boundaries.”99 “Community of interest” is a term of art that has no

universal definition in the redistricting context. Visual assessments are appropriate when

assessing compactness. “[B]izarre shaping of” a district that, for example, “cut[s] across




93 Id. (citations omitted).
94 Id. at 40–41.
95 See Voinovich v. Quilter, 507 U.S. 146, 158 (1993).
96 Bartlett, 556 U.S. at 19–20.
97 LULAC, 548 U.S. at 429.
98 Vera, 517 U.S. at 979.
99 LULAC, 548 U.S. at 433 (internal quotation marks omitted).


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pre-existing precinct lines and other natural or traditional divisions,” suggests “a level of

racial manipulation that exceeds what § 2 could justify.”100

       To determine whether Plaintiffs satisfy the first Gingles requirement, the Court

compares the enacted plan with Plaintiffs’ illustrative plans.101 The Court’s comparison is

for the limited purpose of evaluating Gingles I, which requires a district that is “reasonably

compact and regular”;102 compactness is not a “beauty contest[]”103 where the most

attractively shaped district carries the day.

       The second and third requirements of Gingles require Plaintiffs to establish that

voting in the challenged districts is racially polarized.104 As the Supreme Court has

explained, “in the absence of significant white bloc voting it cannot be said that the ability

of minority voters to elect their chosen representatives is inferior to that of white voters.” 105

       If Plaintiffs establish all three Gingles requirements, the Court then analyzes

whether a Section 2 violation has occurred based on the “totality of the circumstances.”

At this step, the Court considers the Senate Factors, which include:

       the history of voting-related discrimination in the State or political
       subdivision; the extent to which voting in the elections of the State or
       political subdivision is racially polarized; the extent to which the State or
       political subdivision has used voting practices or procedures that tend to
       enhance the opportunity for discrimination against the minority group, such
       as unusually large election districts, majority vote requirements, and
       prohibitions against bullet voting; the exclusion of members of the minority
       group from candidate slating processes; the extent to which minority group
       members bear the effects of past discrimination in areas such as education,
       employment, and health, which hinder their ability to participate effectively
       in the political process; the use of overt or subtle racial appeals in political


100 Vera, 517 U.S. at 980–81.
101 Id. (requiring “a comparison between a challenger's proposal and the ‘existing number of reasonably
compact districts’”).
102 Vera, 517 U.S. at 977 (emphasis original).
103 Id.
104 See, e.g., LULAC, 548 U.S. at 427.
105 Voinovich, 507 U.S. at 158 (quoting Gingles, 478 U.S. at 49 n.15).


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        campaigns; and the extent to which members of the minority group have
        been elected to public office in the jurisdiction.106

Supreme Court precedent also dictates that the Court must consider whether the number

of majority-Black districts in the enacted plan is roughly proportional to the Black share of

the population in Louisiana.107

        Not relevant to the Court’s inquiry is whether the Louisiana Legislature intended to

dilute the votes of Black Louisianans. The Court’s Section 2 analysis “assess[es] the

impact of the contested structure or practice on minority electoral opportunities on the

basis of objective factors.”108 The Legislature’s intent is therefore “the wrong question.”109

“The ‘right question . . . is whether ‘as a result of the challenged practice or structure

plaintiffs do not have an equal opportunity to participate in the political processes and to

elect candidates of their choice.’”110

III.    EVIDENCE PRESENTED111

        A. Gingles I – Numerosity and Reasonable Compactness

        To satisfy the first Gingles requirement, Plaintiffs must establish that Black voters

as a group are “sufficiently large and geographically compact to constitute a majority in

some reasonably configured legislative district.”112 To establish that, Plaintiffs rely upon

the testimony of expert witness William Cooper (“Cooper”).




106 Caster v. Merrill, No. 2:21-CV-1536-AMM, 2022 WL 264819, at *20 (N.D. Ala. Jan. 24, 2022)(citing De
Grandy, 512 U.S. at 1010 n. 9).
107 See LULAC, 548 U.S. at 426; De Grandy, 512 U.S. at 1000.
108 Gingles, 478 U.S. at 44 (internal quotation marks omitted).
109 Id.
110 Id.
111 The Court’s citations to the record use abbreviated prefixes to reflect the party that offered the exhibit.

GX = Galmon Plaintiffs; PR = Robinson Plaintiffs; ARD = Secretary Ardoin; AG = the Attorney General; and
LEG = the Legislative Intervenors.
112 Cooper, 137 S. Ct. at 1470 (internal quotation marks omitted).


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        Defendants stipulated to Plaintiffs’ tender of Cooper as an expert in redistricting,

demographics, and census data. Drawing on his 30 years of experience as a

demographer, including testifying in more than 50 voting-related federal cases, Cooper

opines that “African Americans in Louisiana are sufficiently numerous and geographically

compact to allow for two majority-Black U.S. House districts in a six-district plan.”113

Cooper offers four illustrative maps – all of which contain two majority-Black

congressional districts based on his analysis.114

        Cooper testified that between 2010 and 2020, Louisiana gained approximately

125,000 residents, with all of the gain attributable to minority populations, and about half

attributable to gains in the Black population. Conversely, Cooper documented an overall

decline in the White population in Louisiana since 1990. Cooper concludes that the Black

population, counted using the Any Part Black metric, increased from 32.80% in the 2010

census to 33.13% in the 2020 census – an increase of 56,234 people. According to

Cooper, Any Part Black “is the appropriate Census classification to use in Section 2

cases.”115 While Any Part Black is somewhat self-defining, Cooper explains it as

encompassing “persons of one or more races that are some part Black.”116Applying a

single-race Black metric, Cooper found that the Black population decreased slightly, from

32.04% to 31.43%. The population data evidence is reflected below:




113 GX-1, p. 5.
114 GX-1 at 47-83; GX-29 at 10-22.
115 GX-1, p. 7, n. 10.
116 Id.


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                                                                                    117



Cooper opines that, based on the new Census data, “[t]here are a variety of ways to

draw two majority-Black congressional districts in Louisiana while adhering to traditional

redistricting principles.”118 Cooper’s four illustrative maps are reproduced below: 119




117 Id. at p. 6.
118 Id. at p. 21.
119 GX-1, p. 26; Id. at p. 28; Id. at p. 30; GX-29, p. 6.


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          Cooper’s mapdrawing process began by obtaining the relevant census data and

geographic files, then applying traditional redistricting principles and drawing a plan.

Cooper testified that he relies upon the concepts of one person one vote, reasonable

compactness and shape, political subdivision lines, contiguity, and preserving

communities of interest. He considered the Legislature’s Joint Rule 21 and the principles

expressed therein. Cooper also stated that he was guided by the principle of avoiding

dilution of minority voting strength. For this reason, he testified, he is “aware” of race to

some extent with drawing maps. Overall, Cooper testified that he did not weigh these

factors or give any one more emphasis – he “balanced them all.”

          Cooper’s illustrative plans include two majority-Black congressional districts. A

majority-Black district is one in which the Any Part Black Voting Age Population

(APBVAP) exceeds 50% in the district. Cooper testified that APB is the obviously

appropriate metric, since it has been accepted in many cases throughout the country

since the 2003 Supreme Court case Georgia v. Ashcroft.120 Cooper stated that he has

relied upon APB since just before the 2010 census, and has applied it in several cases

this year, as well as in the 2017 Louisiana case Terrebonne NAACP v. Jindal.121 Cooper


120   539 U.S. 461, 461 (2003).
121   274 F. Supp. 3d 395 (M.D. La. 2017).

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cross-referenced his BVAP data with a registered voter file provided by the Secretary of

State in summer 2021, which verified that his CD 2 and CD 5 have over 50% Black

registered voters, as well. Further, Cooper testified that even using the most conservative

definition of BVAP possible, single race non-Hispanic citizen voting age population, CD 2

and CD 5 in his illustrative plans still exceeded 50% BVAP:




                                                                   122



Cooper testified that he could have maximized the Black population in his proposed

majority-minority districts to increase BVAP, but that doing so would have come at the

expense of other traditional redistricting principles.

           Analyzing H.B. 1, Cooper described the enacted map’s CD 2 as serpentine,

making inexplicable twists and turns. He stated that the enacted CD 2 is a “carbon copy”

of its previous 2011 iteration, which was found to be the seventh least-compact

congressional district in the nation. The Legislature’s 2022 enacted CD 2 suffers from the

same compactness deficiencies, in his opinion. Furthermore, the diffuseness of CD 2

gives rise to what Cooper called a non-compact “wraparound district” in CD 6, which

traverses a large amount of territory from Livingston Parish to Terrebonne. Cooper noted




122   GX-1, p. 36.

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that the BVAP in the enacted CD 2 is 58.65%, while the other five districts have under

34% BVAP. Cooper concluded that the enacted plan “packs and cracks Black voters.”123

           Cooper explained that the purpose of the illustrative plans he drew, and of

illustrative plans generally, is to demonstrate to the court that it is possible to draw a map

with two majority-minority congressional districts that satisfies the first prong of Gingles I

– numerosity and compactness – while adhering to traditional redistricting principles.

Cooper noted that Plaintiffs did not engage him to produce such a plan no matter what;

only to do so if it was feasible. He testified that in other cases, he has declined to draw

illustrative maps where it was not possible to add majority-minority districts without

violating traditional redistricting principles. This was not such a case. In his view,

configuring Louisiana congressional maps with two majority-minority districts with fidelity

to traditional redistricting principles was easy and obvious.

           Cooper’s illustrative maps all take roughly the same shape, reaching from East

Baton Rouge and St. Landry Parishes in the south to the Delta Parishes along the

Louisiana-Mississippi border. Cooper explained that one difference between his

illustrative maps and the enacted map is that he made CD 2 and CD 6, which he

considered to be irregularly shaped, more regular. On direct examination, he described

how his maps perform with respect to traditional redistricting principles. First, he stated,

all of his maps comply with one person-one vote; in fact, three of his four plans are zero-

deviation plans, meaning that all of the districts have perfectly equal population sizes.

Illustrative Plan 4 has an overall deviation of plus or minus 150 persons, which resulted

from reconfiguring the maps to split zero precincts.



123   Id. at p. 20.

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        Cooper opined that his plans “are across-the-board superior to the 2022 plan in

terms of parish splits, municipal splits, and CBSA splits,”124 as documented in the

following charts:




                                                                                    125




                                                                                   126



        To evaluate splits in political subdivisions, Cooper used Core Based Statistical

Areas (“CBSAs”), which are regions defined by the Office of Management and Budget

comprised of urban centers and the surrounding areas. The composition of CBSAs is

influenced by commuting patterns, commercial activity, and communities of interest.

Cooper testified that his illustrative plans split fewer CBSAs than the enacted map and

that, overall, his maps better preserved CBSAs and other political subdivisions.




124 GX-1, p. 34.
125 Id.
126 GX-29, p. 8.


                                           26
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        Cooper testified, and all experts agreed, that the Reock and Polsby-Popper

methods are the most widely accepted tools for measuring geographical compactness.127

Cooper testified that his plans perform better on compactness compared to the enacted

plan. The enacted plan earns an average Reock score of 0.37 and an average Polsby-

Popper score of 0.16. His illustrative plans score as follows:




                                                                                                     128




127 Quoting the documentation accompanying the Maptitude redistricting software, Cooper explains that the
Reock test is “an area-based measure that compares each district to a circle, which is considered to be the
most compact shape possible. For each district, the Reock test computes the ratio of the area of the district
to the area of the minimum enclosing circle for the district. The measure is always between 0 and 1, with 1
being the most compact. The Reock test computes one number for each district and the minimum,
maximum, mean and standard deviation for the plan.” The Polsby-Popper test, meanwhile, “computes the
ratio of the district area to the area of a circle with the same perimeter: 4pArea/ (Perimeter2). The measure
is always between 0 and 1, with 1 being the most compact. The Polsby-Popper test computes one number
for each district and the minimum, maximum, mean and standard deviation for the plan.” (GX-1, p. 31, n.
26).
128 Rec. Doc. No. 164, p. 37 (derived from GX-1 Figure 18 and GX-29 Figure 4).


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Cooper testified that the superior compactness achieved by his plans is easily verifiable

by making a simple visual comparison of his plans to the enacted plan, with its “very oddly

shaped” CD 2 and wraparound CD 6:




                                                                         129



Cooper also testified that, in Louisiana cities, the Black population tends to be

concentrated in very compact, easily definable areas, partly as a result of historical

housing segregation which still prevails in the current day. For example, he explained,

Black residents of Baton Rouge are highly concentrated in the northern part of the city,

with the White population primarily located in the southern and eastern areas of the city.

The Court takes judicial notice of this well-known and easily demonstrable fact.

           Cooper reported that all of his illustrative maps have contiguous districts. Although

the enacted plan can technically say the same, Cooper was critical of how that result was

achieved. For example, he pointed out that CD 2 flanks both sides of Interstate 10 around

the Mississippi River Bridge in Baton Rouge; although being bisected by a body of water



129   Id. at p. 19.

                                                28
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does not technically vitiate the district’s contiguity, it is not an ideal configuration.

Likewise, looking at the enacted plan’s District 6, Cooper commented that to get from

parts of St. John Parish from the rest of the district, one would have to either swim across

Lake Maurepas into Livingston Parish or take Interstate 55 and drive through another

district entirely.

           Based on Cooper’s analysis, under the enacted plan, only 31% of Louisiana’s

Black population lives in a majority-minority district, while 91.5% of the White population

lives in a majority-White district.130 Cooper testified that in his illustrative plan,

approximately 50% of Black people in Louisiana would live in a majority-Black district,

while 75% of White people would live in a majority-White district.

           On cross-examination, Cooper again emphasized that although Plaintiffs did ask

him to draw maps with two majority-minority districts, he did not have a goal of creating

create two such districts no matter what. He asserted that he followed traditional

principles and considered all of the relevant factors. Defendants’ cross of Cooper focused

heavily on the inclusion of East Baton Rouge and the Delta Parishes in one congressional

district. Cooper testified that, based on the data, he found very clearly defined

neighborhoods that were overwhelmingly Black in some areas. This compactness in the

Black population made it easy to join Black areas to other Black areas to draw a majority-

Black district. Socioeconomic factors also made the combination of East Baton Rouge

and East Carroll Parish a natural one; Cooper testified that he found nothing unusual at

all about including them in the same district, though he agreed that poverty is much higher




130   Id. at p. 20.

                                             29
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in East Carroll Parish, with much lower median income for the Black population, and that

educational attainment was likewise much lower in East Carroll Parish.

       As for respecting communities of interest, Cooper agreed that there is no universal

definition of a community of interest, but noted that he tried to keep the Acadiana region

relatively intact in his maps, and believed that he did so successfully. Conversely, Cooper

stated that nothing in his analysis indicated that the areas around Fort Polk should

necessarily be joined as a community of interest, so he did not prioritize that.

       Plaintiffs’ expert Anthony Fairfax also gave opinion testimony related to Gingles I.

Defendants stipulated to Fairfax’s expertise in demography, redistricting, and census

data. Fairfax prepared a report and two supplemental reports in this case,131 advancing

three illustrative maps, two of which are reproduced below. Fairfax’s third map, Plan 2A,

is not pictured because it involved a very minor change designed to avoid incumbent

pairing and is not visually distinguishable from Plan 2.




                                                                                         132




131 PR-15; PR-86; PR-90. Fairfax’s reports were offered and admitted as substantive evidence without
objection.
132 PR-15, p. 5; PR-86, p. 4.


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        Fairfax opines that his illustrative maps prove that Louisiana’s Black population is

sufficiently large and geographically compact to “easily meet[] the first preconditions of

[Gingles].”133 Specifically, Fairfax opines that:

        It is possible to draw an Illustrative Plan that adheres to federal and state
        redistricting criteria and contains two majority-Black congressional districts.
        The Illustrative Plan was drawn with race not predominating and continues
        to perform as well or better than the enacted plan HB1 on eight out of eight
        redistricting criteria including: 1) population deviation (equal population or
        “one person, one vote”); 2) contiguity; 3) compactness; 4) political
        subdivision splits for parishes; 5) political subdivision splits for Voting
        Tabulation Districts (“VTDs”); 6) preserving communities of interest for
        census places; 7) preserving communities of interest for landmark areas;
        and 8) fracking.134


Fairfax testified that he started with the enacted plan as a baseline. Thus, his illustrative

plans retain the current majority-Black district in CD 2, but with adjustments designed to

“lessen the presence of District 2 in Baton Rouge and create a more single metro

district”135 anchored in New Orleans. Like Cooper, Fairfax drew various versions of CD 5

that connect the Baton Rouge area to the Delta Parishes along the Louisiana-Mississippi

border. Also like Cooper, Fairfax used the Any Part Black definition to conclude that the

majority-minority districts in his illustrative plans topped the 50% BVAP mark. Fairfax’s

Illustrative Plan 1 features a CD 2 with a BVAP of 50.96% and a CD 5 with 52.05%

BVAP.136 His Plans 2 and 2A also feature two majority-minority districts (with APBVAP

ranging from 51.55% to 51.98%).137




133 PR-15, p. 10.
134 Id.
135 PR-15, p. 26, n. 48.
136 Id. at p. 30.
137 PR-86, p. 7; PR-90, p. 5.


                                              31
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       Fairfax stated that APB is a commonly used and accepted definition in this type of

analysis, but in response to Defendants’ criticism of that measure, he also assessed his

proposed districts’ population using the Single-Race Black Non-Hispanic Citizen Voting

Age Population category, which resulted in proposed districts with an even stronger Black

majority.138 Significantly, for each of his illustrative plans, regardless of the method used

to count BVAP, Fairfax concluded that Black voters make up a majority of the voters in

CD 2 and CD 5.

       Fairfax testified that he looked at equal population, contiguity, compactness, splits,

communities of interest, and fracking when drawing his maps. Consideration of

Legislature’s Joint Rule 21 was paramount in his process, but his overall strategy was to

balance all of the relevant districting principles without allowing any single factor to

predominate. Fairfax testified that all of his plans have contiguous districts and that all of

his plans achieve population equality. He used the Reock, Polsby-Popper, and Convex

Hull measures to assess compactness and demonstrated that his illustrative districts were

more compact than the enacted map:




                                                                                                139



       As for parish splits, Fairfax’s plans split either 12 or 14 parishes, while the enacted

plan splits 15. Moreover, Fairfax explained that it was his belief, based on studying the



138Rec. Doc. No. 162, p. 19.
139 Rec. Doc. No. 162, p. 36. Plaintiffs compiled this chart from Fairfax’s reports; the Court has
independently verified the figures presented therein from the evidence presented and finds no error.

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enacted plan, that the Legislature prioritized the elimination of VTD splits – the enacted

plan splits none of them. Fairfax’s plans likewise split none. With respect to communities

of interest, Fairfax testified that he analyzed them by considering the number of times his

illustrative plans split census places and landmark areas. The category of “census places”

includes government entities such as cities and towns, as well as Census Designated

Places (CDPs).140 While the enacted plan splits 32 census places, Fairfax’s plans are

superior on this index, splitting either 26 or 31. Fairfax defended his use of census places

as communities of interest, explaining that even more than a city or town boundary, a

census place is a locally well-known unit and a good indicator of the existence of a

community of interest, even though it may not have a governmental body.

           In his supplemental report, Fairfax addressed the performance of his Illustrative

Plans 1 and 2 on state and traditional redistricting criteria, as compared to the enacted

map:




                                                                                         141



Fairfax concludes that his “Illustrative Plan 2 in addition to performing better than the HB1

Plan, exceeds many of Illustrative Plan 1’s performance on state and traditional



140   PR-15, p. 21.
141   PR-86, p. 5.

                                              33
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redistricting criteria.”142 Fairfax explains that he considered the testimony of Louisiana

residents from the roadshows held by the legislature during the redistricting process to

validate his impressions of communities of interest. His supplemental report cites

particular testimony and explains how the testimony specifically influenced his

consideration of communities of interest.

           Fairfax testified that socioeconomic data was another important guiding factor for

assessing communities of interest and to ensure respect for commonalities in mapping

the districts. He explained how he used the mapping software’s capabilities to overlay

data onto his proposed districts related to, for example, median household income,

educational attainment, food stamp percentage, poverty level, percentage of renter

households, and community resilience estimates. This information led him to conclude

that areas in Ouachita Parish, Rapides Parish, Evangeline Parish, Baton Rouge, and

Lafayette could be appropriately grouped together. For example, by overlaying data

related to the percentage of the population with no high school education in a given area,

it was easy to see that the areas shaded red and orange in the map below, indicative of

more people with no high school education, followed a pattern that “clearly define[d] the

boundaries of District 5.”143




142   Id.
143   PR-86, p. 15.

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                                                                             144



Likewise, by overlaying data from the U.S. Census Bureau’s Community Resilience

Estimate (CRE), Fairfax observed a commonality in the areas that he drew into CD 5:




                                                                           145



Specifically, the more heavily shaded orange and red areas are, according to the Census

Bureau, united by a higher level of risk to the impact of disasters; risk factors include low



144   Id. at p. 99.
145   Id. at p. 100.

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income, communication barriers, number of persons per room in the house, lack of health

insurance, and others. So, Fairfax explains, this indicator also suggested to him that the

areas in his CD 5 were appropriately grouped together.

       On cross-examination, Defendants asked Fairfax to elaborate on how race

factored into his drawing process. Fairfax confirmed that he had the ability to display

BVAP in his mapping software, but that he only used that feature at the beginning of his

process, to get a sense of possible areas where a majority-minority district could be

drawn. After he got that initial sense of where BVAP levels were strong, Fairfax testified

that he “turned off” the BVAP overlay and focused instead on socioeconomic data, which

he used to make more granular mapping decisions. Fairfax did not deny that he

considered race to some extent in order to determine if two majority-minority districts

could be drawn. But he testified that race did not predominate as a factor because he

does not look at the racial data constantly; he familiarizes himself with it on the front end

and, as he put it, does not look any more than necessary to ascertain numerosity and

compactness as per Gingles I.

       Fairfax also elaborated on how his proposed CD 5 was developed. He testified

that he started with the existing congressional map and began trimming the area to the

west to make the Delta region in Northeast Louisiana a more substantial presence in the

district. He then expanded down further to add different areas, starting in the north and

working his way south. Fairfax clarified that he does not simply add territory to the district

until he reaches the 50% threshold; the BVAP in the district goes up and down along with

way based on the addition and subtraction of different areas. When Defendants asked

Fairfax about the maps struck down in Hays, Fairfax stated that the districts at issue in



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Hays were “extremely non-compact” and therefore not comparable to his illustrative

plans. He testified that he would never draw districts like the ones in Hays.

       Fairfax stated that it would be very difficult to create a second majority-Black district

in CD 5 without including parts of East Baton Rouge Parish. Fairfax did not disagree that

East Baton Rouge is distinguishable from the Delta parishes in some respects, such as

educational attainment and income level. However, he testified that the Delta Parishes

are also distinct in terms of socioeconomic factors from the parishes to their west, with

which they are grouped in the enacted plan.

       Plaintiffs also presented several lay witnesses who spoke to the shared interests,

history, and connections between East Baton Rouge Parish and two areas included

together with it in Plaintiffs’ illustrative CD 5. Christopher Tyson, a professor at the

Louisiana State University Law Center and the former CEO of Build Baton Rouge,

testified that in the 1860s, his ancestors migrated from the Delta in Wilkinson County,

Mississippi to Baton Rouge, the nearest big city. This pattern of migration from the

Mississippi Delta to Baton Rouge was common, Tyson testified, explaining that the strong

historical connection between East Baton Rouge and the Delta parishes makes

combining them in the same congressional district natural. Tyson testified that he and

other Black people in Baton Rouge have strong ties to the Delta region through faith,

family, and culture. Tyson also cited educational ties between the Delta parishes and

Baton Rouge, explaining that McKinley High School in Baton Rouge used to be the only

high school option for Black students in a wide swath of Louisiana. Southern University

likewise was and is a draw for rural students in the Delta seeking higher education.




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Tyson’s testimony illustrated a historical link that gives rise to enduring connections

between Baton Rouge and the Delta region.

       By contrast, Tyson testified, the enacted plans’ linking of Baton Rouge and New

Orleans in one congressional district is misguided because it fails to take into account

urban dynamics besides race. Baton Rouge is a state capital and a university town, he

said, while New Orleans relies heavily on tourism. In Tyson’s view, Baton Rouge and New

Orleans have distinct economies and different histories that require different

representation. Tyson was critical of arguments surrounding redistricting that

overemphasize “culture” – as in shared music and food tastes, for example – while

overlooking the reality of people’s experiences due to the effects of racism. Louisianans

may use black pepper in some parts and red in others, he said, but in all the state, Black

Louisianans were subject to Jim Crow. The pernicious effects of racism and segregation

have affected Black Louisianans for hundreds of years, he testified, and congressional

representation needs to be considered through the lens of Black experiences, not by

reference to superficial cultural concerns. Congressional representation, he testified,

brings federal resources to a district that can ameliorate the effects of that history that still

exist today.

       Plaintiffs also called Charles Cravins, a St. Landry Parish resident who testified

regarding how redistricting affects his parish, specifically about how being placed in the

same district with areas that share commonalities and communities of interest is critical

to the political fate of St. Landry. Cravins is a lawyer in Opelousas and the descendant of

free Black people from France. He attended the Southern University Law Center in Baton

Rouge and noted that it is very common for St. Landry Parish residents to attend college



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in Baton Rouge – five of his nine siblings did. Before integration, he testified, going to

Baton Rouge was the only option for Black people seeking higher education.

       St. Landry Parish is a relatively small area with not a lot of influence, Cravins

testified, which means that in order for it to reach its full potential it needs to be paired in

a congressional district with other centers of influence – historically, either Lake Charles,

Lafayette, or Baton Rouge. According to Cravins, if St. Landry Parish is cut off from all

three of those places – as it is in the enacted plan – voters in St. Landry are effectively

disenfranchised. The enacted map pairs St. Landry with Shreveport, which Cravins says

disenfranchises Black voters, noting that to his recollection, congresspeople from North

Louisiana have typically not visited or taken an interest in St. Landry Parish.

       Cravins testified that he hosts a radio program that blends public affairs discussion

with zydeco music and that his program has a strong listenership in Baton Rouge.

Although Baton Rouge and St. Landry are not technically part of the same “media market,”

he explained that St. Landry people consume a lot of Baton Rouge media, particularly TV

stations and the newspaper. Both Baton Rouge and St. Landry have strong Catholic

roots, vestiges of French and Spanish influence, and they both support the New Orleans

Saints, he testified.

       St. Landry and Baton Rouge share common policy concerns, in Cravins’ view. The

petrochemical industry is a significant economic driver in both, which is quite distinct, he

said, from the natural gas economy in Northern Louisiana. The petrochemical connection

brings shared environmental and climate concerns, Cravins said. Moreover, he noted,

areas in South Louisiana share a strong interest in disaster relief policy, which is less

relevant in North Louisiana, where hurricanes do not generally have as much impact.



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Likewise, Cravins testified, St. Landry and Baton Rouge are sugar cane territory, another

common economic driver.

       Overall, Cravins testified, the illustrative maps prepared by William Cooper, which

link St. Landry with Lafayette and Baton Rouge, would allow St. Landry to maintain

connections with the centers of influence that are important to making their voice heard.

Cravins testified that the number of polling places in St. Landry recently decreased.

Previously, he explained, his polling place was 1.2 miles from his home; now, it’s 17 miles

away. Cravins stated that there was uproar in his local community about this change

because people believe the change was made with a goal of diluting minority votes. Black

precincts were combined with majority-White ones to make much larger precincts.

Cravins testified that the official reason for the change was that there was a mandate from

Secretary Ardoin to reduce costs. Cravins does not find this reason to be credible, he

said, because he attended the parish council meeting where the precinct combination

was on the agenda and there was no mention of cost. In fact, he testified, the parish will

actually have one more precinct after the changes are implemented, so he is skeptical

that there will be any cost reduction at all.

       Defendants offered several experts to rebut Plaintiffs’ contention that they have

satisfied the first prong of Gingles with their illustrative maps. The first, Thomas Bryan,

was tendered and accepted as an expert in the field of demographics, based on Plaintiffs’

stipulation. Bryan was asked to determine whether Plaintiffs’ illustrative maps meet the

numerosity criteria from the first prong of Gingles, and whether there was evidence that

race appeared to predominate in the design of any of the plans. At the hearing, Bryan

testified that he did not examine compactness, communities of interest, or other traditional



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redistricting criteria. In his words, he was asked to focus on the demographics. Bryan

explains that he set out to “explore the demographic definition of minorities and show how

different definitions can generate different conclusions about whether a district is ‘majority’

or not.”146 On this topic, Bryan opines that “only by the most generous definition of Black,

the any part black (APB) measure, do any of the Illustrative Plans meet the traditional

majority minority criteria of over 50% +1.”147 Bryan’s demographic analysis is reflected in

the following tables setting forth his findings regarding the BVAP of districts in the

illustrative plans:




           148




146   AG-2, p. 10.
147   Id.


                                              41
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         (AG-2, p. 20-22).


Bryan opined that all of the plans (though he did admittedly not examine Robinson

Illustrative Plans 2 and 2A) only achieve two majority-Black districts by using the most

expansive metric, Any Part Black.

         Bryan testified regarding what he called his “splits analysis,” which he used to

conclude that “[b]ased on the surgical, divisive nature of the splits in each of the Plaintiffs’

Illustrative Plans across Louisiana’s places . . . race was the prevailing factor in their

design.”149 He explained that his goal was to count how many pieces of geography are

split by a given plan, then assess the impact of those splits by examining how many and

what races are impacted by those splits. Bryan offered an “index of misallocation,” which

attempts to quantify “the degree to which a plan splits administrative geography by

race.”150 The index works by “measuring how much of a minority population would be in

a given piece – if it had an exact same proportionate share as the total population.”151

         For example, Bryan testified, under the illustrative plans, the city of Baton Rouge

is split between CD 2 and CD 6. Roughly 65% of the total Baton Rouge population lives

in CD 6, he said, but 94.59% of the White people in Baton Rouge live in CD 6. Conversely,

although only about 34% of Baton Rouge residents live in CD 2, 57.21% of Black Baton


149 Id. at p. 11.
150 Id. at p. 24.
151 Id.


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Rougeans live in CD 2. Bryan testified that these numbers provide some evidence of

“misallocation,” stating that, if all else was equal, you would expect White residents to be

allocated into the districts in the same way the total population is distributed. Instead, he

claims, White voters are “over-indexed” in CD 6. Bryan’s report includes a number of

charts setting forth this “misallocation” analysis under different plans and in different

localities.152

           Bryan further testified regarding his impressions of “misallocation” in Lafayette and

Monroe. In the illustrative plans, Lafayette is split between CD 3 and CD 5. According to

Bryan, if the districts were drawn race-blind, there should be equal amounts of White and

Black voters in each district. Instead, he claimed, they were drawn very precisely, such

that blocks with 50% or more Black population ended up on the same side of the line. He

testified that the same pattern is observable in Baton Rouge, where the district line, in his

opinion, was drawn block by block to precisely divide the Black and White populations.

Overall, Bryan testified, he found that all the splits he analyzed occurred in such a way

that a disproportionate share of the Black population was drawn into a majority-minority

district. Therefore, he concluded that race was a prevailing factor in the designs of the

illustrative plans. Responding to a criticism of his report by Anthony Fairfax, Bryan

admitted that he did not consider socioeconomic factors in drawing his conclusions.

           On cross-examination, Bryan agreed that the district court in Caster v Merrill,

where he offered testimony, found that Any Part Black was the proper metric to apply in

Section 2 cases. Bryan testified that he does not have an opinion about the appropriate




152   Id. at p. 39, et seq.

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definition to use. Using APB, he agreed, all of the Plaintiffs’ illustrative plans have two

majority-Black districts.

       Bryan confirmed that his conclusion about racial predomination was based on

data, a visual examination of the maps, and the index of misallocation. He testified that

he has never produced an index of misallocation before, and that he is not aware of it

ever being credited by a court. In response to questioning about the assumptions built

into the “misallocation” inquiry, Bryan testified that the notion of populations being

“misallocated” is based on two assumptions: first, that the Black population is evenly

distributed in an area and that a split is created randomly. Plaintiffs’ counsel asked Bryan

to examine this map from his report:




Bryan testified that, in the area depicted, the Black population is not distributed evenly; it

is heavily concentrated in the north areas of the city. Asked whether the Legislature split

Baton Rouge randomly, Bryan testified that he did not believe so; he believed that they

followed a least-change approach and followed existing boundaries.



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           Plaintiffs’ counsel further asked Bryan to explain how it can be gleaned whether a

“misallocation” is due to Black population being concentrated in a certain area versus

racial intent in the drawing of lines. Bryan stated that he infers misallocation, because

although the map drawer could theoretically divide areas in any number of ways, based

on his observation, the lines are drawn to maximize division by putting the line right

between Black and White populations. Ultimately, however, he conceded that he cannot

say how much of a given “misallocation” is attributable to race-based line drawing or

highly segregated populations. Nor, he reiterated, did he examine socioeconomic data or

other traditional redistricting principles in determining that race prevailed.

           Defendants’ next witness speaking to Gingles I was Dr. Christopher Blunt. Dr.

Blunt, a PhD in political science with a public opinion consulting practice, was tendered

and accepted as an expert in political science with an emphasis in quantitative political

science and data analysis based on Plaintiffs’ stipulation. Dr. Blunt was asked “to analyze

and determine whether a race-blind redistricting process, following traditional districting

criteria, would or would not be likely to produce a plan with two majority-minority

districts.”153 He did so by simulating a set of 10,000 possible congressional maps using

commercially available software called REDIST, and computing the BVAP percentage for

each of the six districts in the computer-simulated plans, using the APB metric.

           Dr. Blunt concluded that “[n]one of the simulated plans produces even one

majority-minority congressional district.”154 The average BVAP of the highest BVAP

district from each simulated plan is 38.56%, he testified. Although one simulated district

did have 45.57% BVAP, overall, 90% of the plans generated by his simulation had less


153   LEG-3, p. 3.
154   Id. at p. 8.

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than 42.2% BVAP.155 Further, Dr. Blunt found, in only 75 plans out of the 10,000 he

simulated did two districts each have 40% BVAP. Based on these results, Dr. Blunt

concludes that “it would be extremely unlikely for a Louisiana redistricting plan that

included two [majority-minority districts] to emerge from a process following only the

traditional redistricting criteria [he] employed.”156

            Dr. Blunt testified that his simulations did not consider or account for race,

partisanship, or prior district boundaries. Further, he explained that due to limitations of

the simulation software he used, he was only able to preserve communities of interest to

the extent that a community of interest was located entirely within the bounds of one

parish. He stated that he was hesitant to include communities of interest in his simulation

in any event, because the term has no firm legal definition, and because a community of

interest could serve as a proxy for race, and his intent was to simulate a race-blind

redistricting process.

            Dr. Blunt opined that his simulated plans were more compact than the illustrative

plans and split fewer parishes. He stated that, even when he set the constraints to allow

unlimited splits, he found that the results did not change significantly. Simulations without

split constraints yielded a highest BVAP district of 46.06% BVAP, but there was still not

a single majority-minority district in any plan.

            On cross-examination, Dr. Blunt testified that he has never run a simulation of

electoral districts before, or, in fact, conducted any simulation analysis previously in his

career. He explained that did not write the code for his simulations, but he did write the

instructions to execute the underlying algorithm.


155   Id.
156   Id. at p. 9.

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       Dr. Blunt agreed that the simulations do not provide a valid comparison if traditional

redistricting principles are not part of the constraints. So, he stated, he looked to the

Legislature’s Joint Rule 21 and selected contiguity, compactness, parish splits, and

population deviation as the principles included in his simulations. He admitted that he did

not consider preservation of political subdivisions, although it was listed in Joint Rule 21,

but he believed it was unlikely that too many subdivisions were split, because parishes

were generally not split in his simulated plans. If a political subdivision crossed parish

lines, he testified, it would be difficult to account for in the simulation. He also did not

consider municipality splits. Dr. Blunt was unable to say how many of his simulated maps

split Baton Rouge or New Orleans into three or more districts. Dr. Blunt stated that he

was not sure how many majority-minority districts his simulation would have generated if

a lower compactness constraint was imposed, but he expressed doubt that it would

significantly change the results. Overall, Dr. Blunt opined that creating a map with two

majority-minority districts would require prioritizing race – or some proxy for it – over the

traditional criteria he followed.

       Defendants also called Dr. M.V. Hood III, a political science professor at the

University of Georgia, to testify as an expert in the fields of political science, quantitative

political analysis, and election administration. Plaintiffs stipulated to this tender. Dr. Hood

was asked to compare the district congruity, or core retention, of the enacted map and

some of the illustrative plans. District core retention measures the percentage of the

population in a district that is carried over from the corresponding benchmark district –

here, Dr. Hood used the 2011 Louisiana congressional map as his benchmark. Core

retention is a measure that ranges from 0 to 100, with a higher percentage reflecting that



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a district is more similar to its former self. A district that is identical to the previous

benchmark, for example, would produce a core retention score of 100%. Dr. Hood

calculated core retention scores as follows:




                                                                                         157



Based on this data, Dr. Hood concluded that for the enacted plan, “most districts appear

to be a close approximation of their corresponding configurations from the benchmark

plan.”158 Dr. Hood opines that Plaintiffs’ illustrative plans, by contrast, have lower overall

core retention.

        Dr. Hood also analyzed the same districts using a geographic similarity index,

which is used to determine the degree to which districts share a common geography. Like

core retention, the similarity index is expressed from 0 to 100%, with a higher score

indicating more geographic overlap. Dr. Hood calculated that, comparing the 2022

enacted plan to the benchmark 2011 map, the districts have a mean similarity value of

88.3, which, he opines, is an indication that “the congressional districts in the 2022

enacted plan strongly resemble the previous districts from the benchmark plan.”159 The



157 LEG-1, p. 4.
158 Id.
159 Id. at p. 5.


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illustrative plans that he examined had lower mean similarity scores, ranging from 41.0 to

46.4%.160 Thus, he concludes, “the plaintiff-proposed [districts] deviate to a greater

degree from the benchmark plan.”161

        Dr. Hood also performed a racial composition analysis to determine the percentage

of Black population contained within each congressional district for the 2011 map, the

2022 enacted map, and Plaintiffs’ maps. He used the DOJ Black definition, which, he

explains, “combines all single-race Black identifiers who are also non-Hispanic with

everyone who is non-Hispanic and identifies as white and Black.”162 Applying his DOJ

Black metric to the illustrative maps, Dr. Hood concluded that two of the plans he

examined – Robinson 1 and Galmon 3 – exceeded 50% BVAP using the DOJ Black

definition in only one district. Further, he asserts, the Galmon 1 and Galmon 2 plans would

yield no majority-Black districts using DOJ Black. His calculations are summarized in the

below chart:




                                                                                     163



Dr. Hood agreed that a desire to maximize core retention is not a consideration that

trumps compliance with the Voting Rights Act. He stated that he had no opinion on




160 See table 2, LEG-1, p. 6.
161 Id.
162 Id.
163 Id. at p. 7.


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whether or how the Plaintiffs’ illustrative plans comply with traditional redistricting

principles.

        Defendants tendered Dr. Alan Murray as an expert in the field of demographic

analysis, spatial analytics as it relates to race, and statistics. Dr. Murray was asked to

evaluate the spatial distribution of BVAP and WVAP164 in Louisiana. Based on his spatial

statistical analysis, he concluded that Black and White voters “are not at all similarly

geospatially distributed, with significant clusters of concentrated groupings.”165 Rural

areas, he noted, are “dominated by high percentages of white population, but urban areas

have clusters of high percent white population as well.”166 Meanwhile, the Black

population is clustered particularly in urban areas, “although these urban areas are

separated from each other.”167 Additionally, in his report, Dr. Murray calculated the

distance between the centers of various Louisiana cities and found, inter alia, that the

cities of Monroe and Baton Rouge are 152 miles apart.168

        On cross-examination, Dr. Murray stated that he had no basis to disagree with the

opinions offered by any of Plaintiffs’ experts. He testified that he has no opinion on

whether two majority-minority districts can be drawn consistent with traditional

redistricting principles. He further stated that he expresses no opinion on numerosity or

compactness. He did not review any of Plaintiffs’ illustrative plans as part of his analysis.

Dr. Murray testified that he has never seen a population where the Black population is not




164 White Voting Age Population.
165 AG-4, p. 26.
166 Id.
167 Id.
168 Id. at p. 25.


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heterogeneously distributed. Therefore, he stated, Louisiana’s distribution of Black and

White residents is not unusual.

        B. Gingles II and III

        To satisfy the second and third Gingles requirements, namely that Black voters are

“politically cohesive” and “that the white majority votes sufficiently as a bloc to enable it

... usually to defeat the minority's preferred candidate,”169 Plaintiffs offered the opinions

of two expert witnesses, Dr. Maxwell Palmer and Dr. Lisa Handley.

        Defendants stipulated to Plaintiffs’ tender of Dr. Palmer as an expert in redistricting

with an emphasis in racially polarized voting and data analysis. An Associate Professor

of Political Science at Boston University, Dr. Palmer has previously testified as an expert

in eight federal court voting cases; he prepared a report and a rebuttal report in this

case.170 Dr. Palmer found “strong evidence of racially polarized voting across Louisiana,”

and “in each of the six individual congressional districts.” 171 His analysis revealed that

“Black-preferred candidates are largely unable to win elections in Louisiana,” and that on

a district level, “Black-preferred candidates are only regularly successful in the 2 nd

Congressional District, which is a majority-Black district.”172 Lastly, Dr. Palmer concluded

that Black-preferred candidates would be “generally able to win elections in the Second

and Fifth Congressional Districts”173 under Plaintiffs’ illustrative maps.

        At the hearing, Dr. Palmer explained that racially polarized voting occurs when

voters of different races prefer different candidates. He testified that racially polarized




169 Growe v. Emison, 507 U.S. 25, 40 (1993)(citing Gingles, 478 U.S., at 50–51).
170 GX-2; GX-30, admitted as substantive evidence without objection.
171 GX-2, p. 3.
172 Id.
173 Id.


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voting is not always present; for example, in the Bethune-Hill case, he found it in some

districts but not others. Dr. Palmer explained that his analysis is based on a statistical

process known as ecological inference (EI), which estimates group-level preferences

based on aggregate data. According to Dr. Palmer, EI is the best available method and

has been widely recognized by courts. He emphasized that it is not his project, nor is it

within the capabilities of EI, to investigate the reasons behind racially polarized voting. In

other words, his analysis sets out to determine how different racial groups vote, not why

they vote that way.

       Dr. Palmer’s analysis relied on precinct-level election results and voter turnout by

race, as compiled by the Louisiana Secretary of State. That data was then paired with

precinct-level shape files of the congressional districts. Dr. Palmer examined 22 statewide

elections in Louisiana from 2012 to 2020, looking at the final round of voting for each race

and the runoff rounds, when runoffs occurred. His analysis began by examining the

support for each candidate in a given race by each demographic group, in order to

determine if members of the group cohesively support a single candidate. Then, Dr.

Palmer compared the preferences of White voters to the preferences of Black voters to

see if there was evidence that they supported different candidates.

       In 18 of the 22 elections he examined, Dr. Palmer found that there was a Black

candidate of choice. In 21 of the 22, there was a White candidate of choice. Of the 18

elections with a Black candidate of choice, Dr. Palmer found that White voters had a

different candidate of choice and strongly opposed the Black candidate of choice 17

times. Relatedly, Dr. Palmer found that the 18 Black candidates of choice were supported

by 91.4% of Black voters and 20.8% of White voters. Among the 21 White candidates of



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choice, the average candidate was supported by 81.2% of White voters and 10.3% of

black voters. His findings are summarized in the following chart:174




           Dr. Palmer also testified about the performance analysis he conducted of Plaintiffs’

illustrative districts, opining that under Cooper’s three illustrative maps, the Black



174   GX-2, p. 6.

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candidate of choice would statistically, more often than not, be able to win. He reached

this conclusion by calculating the percentage of the vote won by the Black-preferred

candidate (in the 18 elections where Black voters had a preferred candidate) for each

district. In CD 2, he concluded that the Black-preferred candidate would win 17 of the 18

elections, with an average 69% of the vote. In CD 5, the Black-preferred candidate would

win 15 of 18 elections under Maps 1 and 3, and 14 of 18 elections under Map 2. Black-

preferred candidates in CD 5 averaged 56% of the vote under Map 1, 55% under Map 2,

and 57% under Map 3.175 In conclusion, Dr. Palmer opined that “[u]nder all three maps,

Black candidates of choice are generally able to win elections in both of the majority-Black

districts.”176

           Asked during his testimony about the possibility that polarized voting patterns may

be attributable to partisan polarization, not race, Dr. Palmer stated again that his purview

is to identify voting patterns that emerge, not to explain the reasons behind them. In other

words, his inquiry is statistical, not social. Dr. Palmer offered a rebuttal of Defendants’

expert Dr. Alford’s argument that because President Obama, who is Black, received a

smaller share of the Black vote than did Hillary Clinton, who is White, the relevant pattern

is partisan in nature, not racial. Dr. Palmer disputed the assumption that the Black-

preferred candidate is necessarily Black; according to his findings, in the 18 elections with

a Black-preferred candidate, that candidate was Black only 9 times.

           On cross-examination, Dr. Palmer clarified that his analysis was based on

statewide elections and not congressional elections because there have not been any

elections conducted under the current map, and it would be impossible to combine data


175   GX-2, p. 8.
176   Id.

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from different districts to comport with the new boundaries, because there are different

candidates on the ballot in each district. Statewide elections are the most germane to

analysis because the same candidate is up for election in every precinct.

        Defendants also queried Dr. Palmer about the impact of White crossover voting on

his analysis. White crossover voting occurs when White voters vote for the Black-

preferred candidate. Dr. Palmer agreed that, on account of White crossover voting, it

could be possible for CD 2 and CD 5 to be drawn at below 50% BVAP and still elect

Black-preferred candidates. Dr. Palmer testified that the existence of White crossover

voting does not negate the existence of racially polarized voting, however.

        Plaintiffs also presented opinion testimony on Gingles II and III requirements from

Dr. Lisa Handley. Defendants stipulated to Dr. Handley’s expertise in the area of

redistricting with a focus on racially polarized voting. Relying on her 35 years as a

redistricting expert and her previous testimony in dozens of voting rights cases, Dr.

Handley opined that “[v]oting in the State of Louisiana is racially polarized.”177 This

polarization, she explained, “impedes the ability of Black voters to elect candidates of

their choice unless congressional districts are drawn that provide Black voters with an

opportunity to elect their preferred candidates to the U.S. House of Representatives.”178

Based on her review of the illustrative maps prepared by Anthony Fairfax, Dr. Handley

opined that “it is possible to create an additional congressional district that would provide

Black voters with an opportunity to elect their candidates of choice.”179




177 PR-12, p. 1.
178 Id.
179 Id.


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        Dr. Handley testified that there is a “quite stark” pattern of racially polarized voting

in Louisiana. She stated that voting is polarized if White and black voters vote differently.

Or, to put it another way, she explained that if Black voters voting alone would elect a

different candidate than White voters voting alone, an election is racially polarized. Dr.

Handley testified that she uses three statistical techniques to assess racially polarized

voting: homogenous precinct analysis (HP), ecological regression (ER), and ecological

inference (EI).180 HP and ER were used and accepted by the Supreme Court as far back

as Gingles, she stated. EI, which was developed later, has since become a widely

accepted technique, as well. Dr. Handley testified that if estimates of racially polarized

voting are similar across statistical measures, the conclusions are more probative.

        Dr. Handley analyzed recent statewide election contests that included Black

candidates. In her report, she notes that courts consider election contests that include

minority candidates to be more probative than contests with only White candidates,

because this approach recognizes that it is not sufficient for minority voters to be able to

elect their preferred candidate only when that candidate is White. Additionally, Dr.

Handley explains that she conducted a racial bloc voting analysis for congressional

elections with Black candidates from 2016 – 2020, because endogenous elections –

elections for the office at issue in the suit – are considered “particularly probative in a vote

dilution claim.”181




180 Dr. Handley defines HP as “comparing the percentage of votes received by each of the candidates in
precincts that are racially or ethnically homogenous.” ER, she states, “uses information from all precincts,
not simply the homogenous ones, to derive estimates of the voting behavior of minorities and whites.” EI
“uses maximum likelihood statistics to produce estimates of voting patterns by race.” (PR-12, p. 3-4).
181 PR-12, p. 6.


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            Dr. Handley’s analysis demonstrated that the 15 statewide contests that included

Black candidates were racially polarized, with Black voters “very cohesive in support of

their preferred candidates,” and “white voters consistently bloc voted against these

candidates.”182 Across the 15 contests she studied, the average percentage of Black voter

support for the Black-preferred candidate was 83.8%, or an even stronger 93.5% in

contests with only two candidates.183 As for the nine congressional elections she

analyzed, Dr. Handley testified that six of them – the ones that did not occur in majority-

Black CD 2 – were quite racially polarized. Dr Handley’s analysis is reproduced below.




182   Id., p. 7-8.
183   Id. at p. 8.

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Dr. Handley stated that polarization was less evident in CD 2; in her report, she finds that

the CD 2 contests were “probably not racially polarized.” 185 At the hearing, she explained

that CD 2 is distinguishable for its relatively high amount of White crossover voting.

           Dr. Handley also analyzed whether the Legislature’s enacted map provides

opportunities for Black voters to elect the candidate of their choice. She analyzed this by

recompiling election results from previous elections into the district boundaries in CD 2,




184   PR-87, p. 9 et seq.
185   Id.

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3, 4, 5, and 6, to see how those elections would have played out.186 In the enacted plan,

Dr. Handley found, only CD 2 is an opportunity district:187




                                                        188




Dr. Handley opines that, by contrast, Plaintiffs’ illustrative plans feature two districts that

perform for Black voters. She explained that a “district-specific, functional analysis of this

plan reveals that it offers two districts that are likely to provide Black voters with an

opportunity to elect the candidates of their choice to Congress: Districts 2 and 5.”189

Specifically, Dr. Handley concluded that in the CD 5 proposed in Cooper’s Illustrative Plan

1, the Black-preferred candidate is likely to win or advance to a runoff in 80% of all election

contests, and likely to win 77.8% of two-candidate contests.190 And, in the CD 5 proposed

in Cooper’s Illustrative Plans 2 and 2A, Dr. Handley concluded that the Black-preferred

candidate is likely to win or advance to a runoff in 86.7% of contests, and to win 77.8% of

all two-candidate contests.191 Her results appear in the following table from her report:




186 Dr. Handley testified that she did not include CD 1 in this analysis because CD 1 provided no voters to
the proposed CD 5.
187 PR-12, p. 11.
188 Id.
189 Id. at p. 12.
190 Id. at p. 13.
191 PR-87, p. 6; PR-91, p. 3.


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Based on her analysis of the data, Dr. Handley concluded that because of the clearly

racially polarized voting in Louisiana, Black voters can only elect their candidate of choice

if a district is drawn that gives them that opportunity.

           On cross-examination, Dr. Handley agreed that it was theoretically possible for an

“effective” district – that is, a district where Black voters have the opportunity to elect the

candidate of their choice – to have less than 50% BVAP. On redirect, Dr. Handley

discussed the BVAP percentages in Cooper’s illustrative plans and asserted that her

conclusions on the effectiveness of the proposed districts did not change depending on

which definition of Black was used. Regardless, she stated, none of the enacted plan

districts perform to allow Black voters an opportunity to elect their preferred candidate

except for CD 2.




192   PR-12, p. 13.

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           Defendants offered various expert witnesses on the inquiry into racially polarized

voting. Dr. John Alford was tendered and accepted, pursuant to Plaintiffs’ stipulation, as

an expert on Gingles II and racially polarized voting. Dr. Alford was retained to provide

analysis related to evidence of racially polarized voting in this case; his first step, he

explained, was to attempt to replicate the ecological inference (EI) analysis performed by

Plaintiffs’ expert witnesses, Dr. Handley and Dr. Palmer. Dr. Alford opined at the hearing

that EI is the most reliable and widely used of the available techniques in this area, and

that it is the “gold standard” widely relied on by experts.

           Dr. Alford reported that he very closely replicated Dr. Handley and Dr. Palmer’s

results, “with only the slight variation that one would expect given the inherent variation

associated with [EI] estimations.”193 Because he found their data reliable, Dr. Alford relied

for his report “entirely” on Dr. Handley and Dr. Palmer’s EI conclusions on cohesiveness

of voting among Black and White Louisianans. Overall, Dr. Alford opined that the

observable polarization of voting in Louisiana is due not to race, but to partisanship. Black

voters generally vote for Democratic candidates, he stated, regardless of the race of the

candidate. In his report, Dr. Alford offers an example to illustrate how Black support is not

in lockstep with the race of the candidate. Looking at Presidential election results in

Louisiana, Dr. Alford states that Black voters supported the all-White ticket of

Clinton/Kaine at a rate of 97.5%, while two tickets featuring Black candidates had less –

Obama/Biden had 91.6% Black support, with Biden/Harris at 89.3%. On cross-

examination, Dr. Alford agreed that in partisan contested elections, Black voters in

Louisiana cohesively vote for the same candidates.



193   AG-1, p. 3.

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         Defendants also offered the report and testimony of Dr. Jeffrey Lewis, tendered as

an expert in the fields of political science, census data analysis, and statistics, specifically

racially polarized voting. Plaintiffs stipulated to the tender of Dr. Lewis. In his report, Dr.

Lewis describes the scope of his inquiry as calculating “the fraction of voters in the

November 3, 2020 Presidential General election who identified as Black in the second

and fifth districts of the illustrative Louisiana congressional district plans proposed by the

plaintiffs.”194 Next, he attempted to “estimate the support of Black and of white (non-Black)

voters for Biden/Harris in the same election among voters residing in each of those

illustrative districts.”195 Lastly, Dr. Lewis set out to “calculate the support for Biden/Harris

among all voters residing in each illustrative district and the support that Biden/Harris

would have received in those same districts in the absence of any white ‘crossover’

voting.”196

         Dr. Lewis concludes that the illustrative districts proposed by Plaintiffs could be

“effective” – that is, they could still provide Black voters an opportunity to elect the

candidate of their choice – if they were drawn to have less than 50% BVAP. The reason,

he asserts, is White crossover voting. Dr. Lewis testified that his analysis suggests that

Biden/Harris would have received over 50% of the vote in all of the illustrative districts,

“even if the BVAP in those districts was reduced to as low as 30 percent in the second

district or as low as 48 percent in the fifth district.”197 His findings are set forth in the

following chart from his report:




194 LEG-2, p. 3.
195 Id.
196 Id. at p. 3-4.
197 Id. at p. 7.


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Dr. Lewis conceded that his conclusion was based on a single exogenous election and

that a “complete analysis. . .would require consideration of additional elections and more

extensive consideration of whether EI estimates of support for each candidate were

reliable in this context among other things.”199

           To address Gingles III, Defendants offered the opinion testimony of Dr. Tumulesh

Solanky, tendered as an expert in the fields of mathematics and statistical analysis. Dr.

Solanky was asked to examine voting patterns in the state of Louisiana, focusing in

particular on East Baton Rouge Parish. Dr. Solanky opined that East Baton Rouge Parish

votes “very differently” compared to the other parishes that are part of Plaintiffs’ illustrative

CD 5. Specifically, he stated, East Baton Rouge votes more strongly in favor of the

minority-preferred candidate than other parishes. Dr. Solanky relies on the 2020

presidential election as the basis for his conclusion. He found that although there were

13.0% more White voters than Black voters who participated in the election, the minority-



198   Id.
199   LEG-2, p. 6.

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preferred candidate (Biden) won by 13.0% in East Baton Rouge Parish. Therefore,

Solanky opines, “it is apparent that. . .White voters did not vote as a bloc to defeat the

black (minority) preferred candidate.”200

          On cross-examination, Dr. Solanky conceded that he is not a voting expert and

that his only familiarity with the concept of racially polarized voting is derived from reading

the other expert reports in this case. He emphasized that he did not conduct a racially

polarized voting analysis in his report; instead, he investigated the assumption that Black

and White voters vote similarly regardless of which parish they live in. He found that

assumption not to be true.

          C. The Senate Factors and Proportionality

          Plaintiffs offered several expert witnesses who presented testimony relevant to the

Court’s consideration of the Section 2 totality of the circumstances inquiry, which is

analyzed by reference to the Senate Factors, inter alia. The first such witness was Dr.

Traci Burch, tendered as an expert in the fields of political behavior, political participation,

and barriers to voting. An Associate Professor of Political Science at Northwestern

University who has testified in several federal court cases related to voting rights, Dr.

Burch testified that she was asked to evaluate the Senate Factors relevant to this case in

Louisiana, particularly Factors 5, 6, 7, 8, and 9. In her report, she presents a useful

summary of her opinions, reproduced below:




200   ARD-2, p. 12.

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(PR-14, p. 6-7).

        Dr. Burch also offered opinions on partisanship and race. She opines that, based

on her examination of relevant political science literature, “racial identity and racial

attitudes shape partisanship and party cohesion, and have become increasingly linked

since 2008.”201 For example, Dr. Burch asserts, Black voters consistently identify strongly

with the Democratic Party, a fact which scholars have concluded is not explained by

socioeconomic status, policy preferences, or ideology.202 Instead, Dr. Burch explains, this

unified Democratic support is caused by the “sense of racial linked fate, or the degree to

which a Black person believes that their fate is tied to the fate of the race, and in the social

pressure to conform to group ideas of Black uplift.” 203 Overall, in Dr. Burch’s opinion,

attributing the polarization of voting in Louisiana to party cohesion instead of race is

flawed because it “ignores the rather strong evidence in the literature that race and racial

attitudes increasingly drive partisanship and vote choice.”204




201 PR-89, p. 2.
202 Id. at p. 5.
203 Id.
204 Id. at p. 6.


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          Plaintiffs offered the expert testimony of Dr. Allan Lichtman, a professor of

American Politics at American University who has testified as an expert in roughly 100

cases, including voting rights cases considered by the Supreme Court, and in this Court

in Terrebonne Parish Branch NAACP v. Jindal.205 Dr. Lichtman opined that all nine of the

Senate Factors are present in Louisiana contemporarily and operate to impede the ability

of Black voters to participate in politics and elect candidates of their choice. The factors

do not exist in isolation, he stated; instead, they synergistically work together to produce

vote dilution.

          As to Senate Factor 1, Dr. Lichtman opined that Louisiana has not only a history

of voting discrimination, but an “ongoing history.” He cited issues like at-large elections,

the closure of polling places, and felon disenfranchisement as operating to affect voter

access. Louisiana’s poor educational attainment and outcomes also impairs Black

Louisianans’ ability to engage, he stated, since research indicates that education is a

prime determinant of political participation.

          Dr. Lichtman next addressed Senate Factor 2, which asks whether voting is racially

polarized. Like Dr. Palmer and Dr. Handley, he opined that Louisiana has “extreme”

racially polarized voting. According to Dr. Lichtman, Black voters vote almost unanimously

for Democratic candidates, while Republicans bloc vote against those candidates of

choice. This polarization, he explained, is inextricably tied to race. In his view, party labels

by themselves are meaningless.

          As to Senate Factor 5, which inquires as to “the extent to which members of the

minority group in the state or political subdivision bear the effects of discrimination in such



205   274 F. Supp. 3d 395 (M.D. La. 2017).

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areas as education, employment and health, which hinder their ability to participate

effectively in the political process,”206 Dr. Lichtman opines that Louisiana has “major”

socioeconomic disparities, extending to almost every area of significance in people’s

lives.     He    cited    income,     unemployment, poverty,              dependance   upon   welfare,

homeownership rates, vehicle ownership, internet access, and educational attainment as

areas in which Black Louisianans are significantly less well-off than White ones. The

record evidence summarizes the socioeconomic disparities in the following charts:




                                                                                       207




206   Gingles, 478 U.S. at 36–37 (quoting S. Rep. No. 97-417 at 28–29).
207   GX-3, p. 81.

                                                     68
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                                         208




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208   Id. at p. 83.
209   Id. at p. 82.

                                         69
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Dr. Lichtman also testified about Senate Factor 6, related to the use of racial appeals in

campaigns, concluding that Louisiana campaigns feature both subtle and overt racial

appeals, and stated that such appeals are used by winning campaigns in Louisiana. Dr.

Lichtman cited advertisements and campaign materials promoted by David Vitter, Mike

Foster, Steve Scalise, Mike Johnson, John Kennedy, and various Republican-affiliated

organization that, in his view, constituted racial appeals. As for Senate Factor 7, which

calls for an analysis of “the extent to which members of the minority group have been

elected to public office in the jurisdiction,”210 Dr. Lichtman points out that no Black person

has held statewide office in Louisiana since Reconstruction.

           Dr. Lichtman further concluded that with respect to Senate Factor 8, which looks

to whether elected officials are responsive to the particularized needs of the minority

group, the state has not been responsive. In his report, he looks at five different areas:

public education, health care, economic opportunity, criminal justice, and the

environment, and concludes that chronic disparities that disproportionately affect Black

Louisianans have gone largely unaddressed by elected officials.

           Senate Factor 9 asks “whether the policy underlying the state or political

subdivision's use of such voting qualification, prerequisite to voting, or standard, practice

or procedure is tenuous.” Dr. Lichtman opines in his report that “Louisiana has no

significant justification for its failure to create a second majority-Black district in the post-

2020 redistricting process.”211 At the hearing, he disputed Defendants’ assertion that the

concept of “core retention” is a valid reason not to create another majority-minority district.

First, core retention, while it may be a preference, is not a legal requirement like one


210   Gingles, 478 U.S. at 36–37 (quoting S. Rep. No. 97-417 at 28–29).
211   GX-3, p. 60.

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person, one vote. Second, Dr. Lichtman testified that prioritizing core retention risks

freezing in the inequities of the previous map. If core retention was the key factor in

redistricting as Defendants assert, Dr. Lichtman stated, there would never be a remedy

for Voting Rights Act violations, because states would be bound to replicate the same

maps over and over again.

          Nor, Dr. Lichtman testified, does the fact that the 2011 districting map was

precleared by the Justice Department provide justification for enacting a carbon copy

during this round of redistricting. After all, he explained, preclearance does not mean that

a map is not violative of the Voting Rights Act; it only means that the plan is not

retrogressive with respect to the previous plan; that is, it did not go from one majority-

minority district to none, for example.

          Dr. Lichtman opined that essentially all of the Senate Factors support a finding of

vote dilution with respect to the Louisiana congressional maps. On cross-examination, he

acknowledged that the Black candidate of choice prevailed in the last gubernatorial races

in Louisiana, but cautioned that “one swallow does not make a spring.” Asked whether

the mayor of Baton Rouge is Black, Dr. Lichtman stated that she is, adding that the fact

that the majority-Black city of Baton Rouge has a Black mayor only proves the point that

Black-preferred candidates can win in Black jurisdictions, but they are being shut out in

White jurisdictions and White districts.

          Plaintiffs further offered the reports212 and testimony of R. Blakeslee Gilpin, a

history professor who was accepted as an expert in the field of Southern history with

Defendants’ stipulation. At the hearing, Dr. Gilpin testified about Louisiana’s long history



212   PR-13; PR-88.

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of discrimination against its Black citizens, and how that history has contributed to voter

disenfranchisement and discrimination, both historically and on an ongoing basis. Dr.

Gilpin testified that Louisiana’s history is marked by a remarkable amount of doggedness

and determination to stop Black people from voting.

           Dr. Gilpin cites property requirements, poll taxes, literacy tests, and the grandfather

clause as historical examples of denying Black Louisianans the ability to vote. Dr. Gilpin

notes that there is no record of “a single Black Louisianan elected to office until the

1940s,” and from 1910 until 1949, “less than 1% of Louisiana’s voting age African-

American population was able to register to vote.” 213 The passage of the VRA in 1965

was not a magic bullet, he asserts. In fact, he explains, the Voting Rights Act era saw

widespread attempts to dilute Black voting strength in Louisiana, including reliance on at-

large voting and racial gerrymandering. Dr. Gilpin reports that the Louisiana Parish Board

of Supervisors has eliminated 103 polling places since 2012, requiring greater travel to

vote, an issue which overwhelmingly impacts Black voters. Louisiana resisted compliance

with the National Voter Registration Act, resulting in citizens not being given information

about registering to vote when applying for public benefits. And, he states, there is

evidence to suggest that poll workers in Louisiana continue to believe, incorrectly, that

they can deny the vote to people without identification.

           Dr. Gilpin cites very recent examples that, in his view, demonstrate ongoing

discrimination against Black voters in Louisiana. In April 2021, the City of West Monroe

entered into a consent decree after the Justice Department asserted that the at-large

system used for the Board of Aldermen was proven to disenfranchise Black voters;



213   PR-13, p. 32.

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despite Black residents comprising 30% of the electorate, no Black candidate had ever

been elected to the Board. West Monroe agreed to end the practice. Gilpin further cites

Louisiana’s resistance to expand absentee voting during the COVID-19 pandemic, which

this Court in Harding v. Edwards214 found placed undue burdens on Black voters.

        In his supplemental report, Dr. Gilpin responds to the dispute in this case about

the appropriate metric for counting Black voters, be it Any Part Black, “DOJ Black,” or

some other measure. Ironically, he explains, the state has long attempted to “designate

anyone who could possibly be counted as Black to prevent them from voting.”215 Although

Defendants’ resistance to the use of Any Part Black cuts in the opposite direction, toward

restricting who can be counted as Black, in Dr. Gilpin’s opinion, the attempt “is disturbingly

reminiscent of this long history of imposing racial categories to disenfranchise its Black

citizens.”216

        Overall, Dr. Gilpin concludes, the “state of Louisiana’s long history of racial

discrimination is without dispute.”217 The powers that be in Louisiana, he opines,

subscribe to the notion that there is an appropriate level of “white political control,”218

which they have strived to maintain by consistent disenfranchisement efforts from 1868

to the present day. On cross-examination, Dr. Gilpin agreed that he did not refer to the

Hays litigation in his overview of voting-related history in Louisiana, though, he conceded,

it would have been appropriate to do so.




214 487 F. Supp. 3d 498, 503 (M.D. La. 2020), appeal dismissed sub nom. Harding v. Ardoin, No. 20-30632,
2021 WL 4843709 (5th Cir. May 17, 2021).
215 PR-88, p. 5.
216 PR-88, p. 5.
217 PR-13, p. 4.
218 Id.


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       Several of Plaintiffs’ lay witnesses offered testimony relevant to various Senate

Factors, as well. Mike McClanahan, the state president of the Louisiana NAACP, testified

that in his view, anyone with “one drop of Black blood” is Black, no matter what they look

like on the outside. According to McClanahan, the Louisiana NAACP engages in voter

registration, voter engagement, and voter training efforts involving Black Louisianans. His

organization was acutely aware of the importance of the current redistricting cycle, he

testified, and undertook efforts related to the Census because they knew the data

collected would feed into the redistricting process. When the legislature was holding

“roadshow” meetings to solicit public input on new maps, McClanahan participated in a

weekly call to coordinate with members across the state to ensure attendance and

participation at the roadshows. He himself testified at a roadshow, as well. Based on the

maps that the Legislature enacted, McClanahan said, the legislators at the roadshows

must have been asleep, or listening “with deaf ears.” In his view, the enacted map was

not responsive to the pleas of Black Louisianans – it did not reflect the data, the testimony

of the public, or the issues raised in legislative hearings.

       Once the map passed the Legislature, McClanahan testified that the Louisiana

NAACP’s strategy was to persuade the Governor to veto it. He explained that his

membership did all in their power to get to the Governor, including calling him, holding

rallies, engaging on social media, and having legislators contact him on their behalf.

When the Governor did, in fact, veto the map, McClanahan felt optimistic but skeptical

because of the possibility of a veto override. When the Legislature convened to vote on

the veto override, McClanahan and some of his members went to the Capitol, attending

session in both houses and, he said, walking the building to ensure their voices were



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heard. When the vote came in to override Governor Edwards’ veto, McClanahan testified

that he saw legislators high-fiving one another, cheering, and jumping in the air. To him,

this was a slap in the face of everyone who had participated in the process.

       Asked about the effects of racism in Louisiana, McClanahan testified that he lives

it, every day, all of his life. He testified that Black quality of life is reduced in so-called

“Cancer Alley,” a strip of parishes from Baton Rouge to New Orleans where, he said,

chemical plants set up shop in Black neighborhoods and harm residents with their

pollution. He cited officer-involved shootings and the fact that several police departments

in Louisiana have operated under consent decrees as evidence that, for Black

Louisianans, law enforcement does not serve and protect them equally. McClanahan

testified that access to quality health care is limited for many Black Louisianans, and noted

that during the COVID-19 pandemic Black people had a significantly higher death rate

than the rest of the population. All of this, he believes, reflects a lack of elected official

responsiveness to issues which disproportionately affect Black Louisianans.

       On cross-examination, McClanahan agreed that he has been involved on various

state committees related to police training, access to justice, and moving to closed party

primaries. He testified that he believes that the state values the opinion of the NAACP.

Asked to describe what principles a fair redistricting map would follow, McClanahan

testified that, because Louisiana is roughly one-third Black, the maps should reflect that

makeup. It was not his belief, he stated, that every Black voter should live in a majority-

minority district. However, having two out of the six districts be majority-minority would

give Black Louisianans another voice to speak for their issues, he said.




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       Plaintiff Dr. Dorothy Nairne offered fact testimony related to a number of the

Senate Factors and to the real-world consequences of splitting parishes. Dr. Nairne is

Black and resides in Napoleonville, in Assumption Parish. Dr. Nairne testified that she is

a registered voter and a regular voter in CD 6, where she is represented by Rep. Garrett

Graves. She stated that although she has contacted his office on several occasions, she

does not see Rep. Graves at events in her community and he does not campaign in her

community. Dr. Nairne explained that she lives “right on the cusp” of the split between CD

6 and CD 2. Her neighbors across the street are part of CD 2, while she is in CD 6. She

testified that this disconnection makes it very difficult to organize and speak with one voice

about issues affecting Assumption Parish. Dr. Nairne does community work in the river

parishes area related to environmental justice and racial justice. She testified that the way

the river parishes are split under the congressional map means that although they work

together, but they don’t vote together. Of this situation, Dr. Nairne said, “I do not believe

my interests are represented. I am alienated.”

       Plaintiffs’ counsel showed Dr. Nairne one of their illustrative maps – Fairfax’s

Illustrative Plan 1 – and zoomed in on her part of the state:




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In this map, Dr. Nairne testified, she would be in the same district, CD 2, with the people

she organizes with, the river parishes into Orleans and Jefferson. “This map makes sense

to me,” she stated, adding that if this map was implemented, she knew exactly which

households she would go visit to engage them in the political process.

       Ashley Shelton is the President and CEO of Power Coalition, a Louisiana civil

engagement organization and one of the Plaintiffs in this case. Shelton testified that she

is a lifelong Baton Rouge resident and that her work with communities of color was heavily

focused on redistricting this year. She testified that Power Coalition engaged one

thousand Louisianans in the process, starting with the census, up through the roadshows

and the special session of the Legislature. In her words, she worked to represent folks

who asked for a fair redistricting process and did not receive it.

       Shelton described that while citizens were speaking to legislators at the

redistricting roadshows, the legislators were doodling, not looking up, and not paying

attention while people told their story of generations of their families working to vote.

Shelton testified that roadshow testimony consistently offered two messages to

legislators: first, that the voters wanted a fair and equitable process, and second, that

there should be a second majority-minority district to honor the increase in the Black

population.

       Shelton organized a rally of 250 people of color and allies at the state capitol to,

in her words, say “hey, we’re watching you.” On the day of the veto override, Shelton

testified, the vote was along racial lines. Conservative politicians cheered and celebrated,

which Shelton said was deflating and felt like “a true sign of disenfranchisement.” Now,




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Shelton explains, her organization is engaging with voters who feel disengaged because

their efforts around redistricting were unsuccessful.

          Shelton testified that Black voters in Louisiana face discrimination when it comes

to voting. She stated that Black voters experience polling place changes or closures more

frequently; a recent consolidation of a black polling location in New Orleans East, for

example, made it a lot harder for chronic voters in that area to access the polls. Though

the move was only a few miles, the new site required crossing Interstate 10. Often,

Shelton explained, Black voters lack access to transportation. Many Black residents face

housing insecurity and may not always be able to afford a cell phone or broadband

internet.

          In Shelton’s view, no one makes an effort to talk to Black voters. In her experience

with Power Coalition, when she creates a “universe” of voters to target for outreach, she

can get 60-65% of them to turn out to vote. This proves to her that it is possible to engage

Black voters but that no one is addressing Black concerns or including them in the

process. Shelton testified that Black people do not vote for Democrats simply because

they are Democrats – they vote for the candidate who they believe will vote with their

interests. In her experience, she testified, White and conservative candidates have not

centered the issues that she cares about and therefore, would not be her candidate of

choice. Overall, she said, she feels that neither party has been particularly responsive to

the Black community.

          As exhibits to their memoranda in opposition to the Motion for Preliminary

Injunction, Defendants offered the reports of Dr. Jeff Sadow 219 and Mike Hefner.220 Dr.


219   ARD-3.
220   AG-4.

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Sadow was called to testify at the hearing via videoconference, but due to difficulties with

his internet connection, was not able to testify. The Court permitted Defendants to call

him at a later time, but they did not. Nor did Defendants call Hefner as a witness at the

hearing. Their reports were not offered as substantive evidence at the hearing.

Additionally, the reports are hearsay, and there was no opportunity for cross-examination.

Accordingly, the Court did not consider these reports.

       D. The Purcell Doctrine

       To address the Purcell issue in this case, namely, the parties’ dispute over whether

the November election cycle is too close to allow time for a remedy to be implemented,

Plaintiffs called Matthew Block, executive counsel to Louisiana Governor John Bel

Edwards. Block testified that he has experience working with the Secretary of State to

develop special election plans that become necessary due to emergencies such as

hurricanes and other natural disasters. He testified that during Governor Edwards’ term,

there have been nine instances where election dates, qualifying dates, polling locations,

or other aspects of election administration had to be altered, most recently last year after

Hurricane Ida. Block noted that after Ida, election dates were pushed back a month, from

October/November to November/December, and that in 2020, the April/May elections

were moved twice as a result of the COVID-19 pandemic.

       Block testified that the state was able to successfully administer these elections,

despite the need for last-minute change. He stated that he was unaware of any electoral

chaos that ensued, and that he has heard nothing to dispute that the Secretary of State

was able to successfully administer these elections. Overall, Block asserted, the

Governor, the Secretary of State, and local officials have a lot of experience with adjusting



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elections. Turning to the facts of this case, Block testified that, based on his experience

working with the Legislature, it would be possible for the body to draw a new map,

especially because there were bills previously filed that offer alternative maps for

consideration, so the process would not be starting from scratch. The Governor has the

power to call an extraordinary session of the Legislature, he stated, and the Legislature

can also initiate one itself.

       On cross-examination, Defendants engaged Block on the topic of Governor

Edwards’ efforts on behalf of the Black community in Louisiana. Block agreed that the

Governor has Black support and tries to be responsive to the needs of the Black

community. Block confirmed that Governor Edwards expanded Medicaid, is a proponent

of criminal justice reform, helped pass a bill restoring voting rights for many felons, and

supported a constitutional amendment requiring unanimous jury verdicts. Defendants

listed several other examples that, in their view, represented Governor Edwards’

responsiveness to the Black community – hiring Black officials in his administration,

making Juneteenth a state holiday, convening a task force to track inequities in health

care, and offering free COVID vaccines and testing – and Block confirmed that, indeed,

Governor Edwards did all of the above. Block explained that the Governor vetoed the

Legislature’s enacted map because he believed that a second majority-minority district

was necessary to comply with Section 2 of the VRA, and because he believed that a fair

map would have a second majority-minority district.

       Defendants called Sherri Hadskey, the Commissioner of Elections for the

Louisiana Secretary of State. Hadskey oversees election operations and election

administration, including implementation of new districting plans. Hadskey testified that



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her office has already undertaken significant administrative work related to the

Legislature’s enacted map by reassigning and notifying voters who find themselves in a

new congressional district under that plan. According to Hadskey, this effort involved

voters in fifteen parishes, and 250,000 voting cards have been sent to voters who

changed districts under the new map.

       Hadskey noted the upcoming June 22, 2022 deadline for potential congressional

candidates who wish to qualify for the ballot by the nominating petition process. She

explained that candidates and voters need adequate notice of their district to allow them

to decide where and how to run for office or, in the case of voters, who to vote for. If

candidates do not use the nominating petition process, they must pay a filing fee and

qualify between July 20-22. According to Hadskey, qualification by nominating petition is

rare. Most candidates qualify by paying the filing fee.

       Hadskey further testified that Louisiana’s election administration resources have

been strained by COVID-19 and the delay in receiving census data. If forced to implement

one of Plaintiffs’ illustrative plans, she testified that her office would have to undo the

coding for the fifteen parishes that saw changes under the enacted plan; code the new

changes under an illustrative plan; and timely notify voters and potential candidates of

these changes. Hadskey expressed concern that the process would be rushed, potentially

causing errors that would give rise to confusion. The process of updating records and

notifying voters impacted by districting changes under the enacted map took about three

weeks, she testified.

       Citing a recent issue in Calcasieu Parish, where voter information was entered

incorrectly, leading to the issuance of incorrect ballots, Hadskey testified that she fears



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these issues could occur on a larger scale if a new map is handed down in June or July.

Moreover, Hadskey testified that a national paper shortage could interfere with re-printing

ballot envelopes, voter notification cards, and other items required under the law.

Hadskey testified that she is “extremely concerned” about the prospect of administering

the congressional election under a new map, noting that in her thirty-year career at the

Secretary of State’s office, she has never moved a federal election.

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW

I.      PRELIMINARY MATTERS

        A. Standing

        On the issue of standing, Secretary Ardoin is laboring under misapprehensions of

both the facts and the law. As an initial matter, the jointly stipulated facts in this case

establish that Plaintiff Edwin René Soulé resides in Congressional District 1,221 and that

the Louisiana NAACP, Plaintiff herein, has members “who live in every parish and in each

of the six congressional districts in the enacted congressional plan.”222 Setting aside those

factual corrections, the Court finds that, in the context of a vote dilution claim under

Section 2, the relevant standing inquiry is not whether Plaintiffs represent every single

district in the challenged map but whether Plaintiffs have made “supported allegations

that [they] reside in a reasonably compact area that could support additional [majority-

minority districts].”223 In Harding v. County of Dallas, Texas,224 the Fifth Circuit applied an



221 Rec. Doc. No. 143, p. 7, ¶ 24.
222 Id. at p. 9.
223 Pope v. Cnty. of Albany, No. 1:11-CV-0736 LEK/CFH, 2014 WL 316703, at *5 (N.D.N.Y. Jan. 28, 2014);

See also Perez v. Abbott, 267 F. Supp. 3d 750, 775 (W.D. Tex. 2017), aff'd in part, rev'd in part and
remanded, 138 S. Ct. 2305, 201 L. Ed. 2d 714 (2018)(three-judge panel holding that “plaintiffs reside in a
reasonably compact area that could support an additional minority opportunity district have standing to
pursue § 2 claims, even if they currently reside in an opportunity district”).
224 Harding v. Cnty. of Dallas, Texas, 948 F.3d 302 (5th Cir. 2020).


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arguably more expansive view of standing in the vote dilution context, finding that the

plaintiffs had standing where “[i]t is conceded that each voter resides in a district where

their vote has been cracked or packed. That is enough.”225

       In the instant case, Plaintiffs allege that they have suffered the injury of vote dilution

because Black voters in Louisiana are packed into one majority-Black district that hoards

Black population to prevent another majority-minority district from being drawn, and

because Black voters outside of that majority-Black district have been fractured across

the congressional map to prevent them from concentrating their voting strength in a

district where they would have an opportunity to elect the candidate of their choice. The

Fifth Circuit in Harding explained that, “[i]n vote dilution cases, the ‘harm arises from the

particular composition of the voter's own district, which causes his vote—having been

packed or cracked—to carry less weight than it would carry in another, hypothetical

district.’”226 Plaintiffs herein have pled such harm and, as the Fifth Circuit counsels, “[t]hat

is enough.”227 Accordingly, the Court rejects Defendants’ argument that Plaintiffs lack

standing.

       B. Challenges to Gingles

       Intervenor Defendant Attorney General Landry invites the Court to toss Gingles

onto the trash heap, repeatedly arguing that the well-worn Gingles test is endangered

and, possibly, bound for extinction. The Attorney General candidly acknowledges that

Thornburg v. Gingles and its progeny are controlling,228 but warns that the Supreme Court




225 Id. at 307.
226 Id.
227 Id.
228 “[U]nder the current understanding of claims under Section 2, Plaintiffs must meet the standard

announced by Thornburg v. Gingles and its progeny” (Rec. Doc. No. 108, p. 4).

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“has signaled. . .that it will be reviewing vote dilution claims under Section 2 and the

Gingles standard in the coming term.”229 The Attorney General goes on to offer his

analysis on the merits of the instant motion from a posture of “[a]ssuming for now that

Gingles controls.”230 As Chief Justice Roberts recently observed, “[I]t is fair to say that

Gingles and its progeny have engendered considerable disagreement and uncertainty

regarding the nature and contours of a vote dilution claim.”231 However, this Court is

bound to apply the law as it is, not to speculate or venture into advisory opinions. The

Court will apply Gingles and its progeny.

        C. Private Right of Action Under Section 2 of the VRA

        Defendants advance another argument premised on dicta: that Section 2 of the

Voting Rights Act does not confer a private right of action. In Morse v. Republican Party

of Virginia, the Supreme Court noted that “§ 2, like § 5, provides no right to sue on its

face.”232 But the Court immediately went on to quote the Senate Report accompanying

the 1982 amendments to the Voting Rights Act, which declare that “the existence of the

private right of action under Section 2 ... has been clearly intended by Congress since

1965.”233 Based on that, the Court wrote, “[w]e, in turn, have entertained cases brought

by private litigants to enforce § 2.”234

        Inviting this Court to disregard Morse and scores of Section 2 voting rights cases

that have been tried on the merits, Defendants cite a concurrence by Justice Gorsuch,

joined by Justice Thomas, in Brnovich v. Democratic Natl’ Comm.,235 observing that


229 Id.
230 Id. at p. 5 (emphasis added).
231 Merrill v. Milligan, 142 S. Ct. 879, 882 (2022)(Roberts, J., dissenting from grant of applications for stays).
232 Morse v. Republican Party of Virginia, 517 U.S. 186, 232 (1996).
233 Id. (quoting S.Rep. No. 97–417, at 30).
234 Id. (citing Chisom v. Roemer, 501 U.S. 380 (1991); Johnson v. De Grandy, 512 U.S. 997 (1994)).
235 141 S. Ct. 2321 (2021).


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“[o]ur cases have assumed—without deciding—that the Voting Rights Act of 1965

furnishes an implied cause of action under § 2.” 236 Justices Gorsuch and Thomas

concurred in the majority opinion in Brnovich, which considered the merits of a private

action brought under Section 2 of the VRA. Defendants further argue that concurring

opinions in the 2020 Fifth Circuit case Thomas v. Reeves237 nod at the notion that the

private right of action under Section 2 is an undecided issue, and the District Court for the

Eastern District of Arkansas recently engaged this question and concluded that “the text

and structure of the Voting Rights Act does not “manifest[ ] an intent ‘to create ... a private

remedy’ ” for § 2 violations.”238

        While this issue has been flagged,239 it is undisputed that the Supreme Court and

federal district courts have repeatedly heard cases brought by private plaintiffs under

Section 2.240 Morse has not been overruled, and this Court will apply Supreme Court

precedent. Defendants’ private right of action challenge is rejected.

        D. How to Count Black Voters

        Because the numerosity of Black voters is central to the Gingles I inquiry, deciding

who counts as Black is a threshold issue. Three definitions have been advanced by the

parties’ experts: Any Part Black, “DOJ Black,” and Single-Race Black. For several

reasons, the Court concludes that the Any Part Black metric is appropriate when


236 Id. at 2350.
237 961 F. 3d 800 (2020).
238 Arkansas State Conf. NAACP v. Arkansas Bd. of Apportionment, No. 4:21-CV-01239-LPR, 2022 WL

496908, at *14 (E.D. Ark. Feb. 17, 2022).
239 Justice Gorsuch’s concurrence raised the private action issue to “flag one thing it [the majority opinion]

does not decide.” Brnovich, 141 S. Ct. 2321, 2350.
240 See, e.g., Abbott, 138 S. Ct. at 2331-32 (2018); LULAC, 548 U.S. at 409; See also Pendergrass v.

Raffensperger, No. 1:21-CV-05339-SCJ, slip op. at 17-20 (N.D. Ga. Jan. 28, 2022); Singleton, 2022 WL
265001, at *78-79; LULAC v. Abbott, No. EP-21-CV-00259-DCG-JES-JVB, 2021 WL 5762035, at *1 (W.D.
Tex. Dec. 3, 2021) (three-judge court); see also Shelby County v. Holder, 570 U.S. 529, 537 (2013)(“Both
the Federal Government and individuals have sued to enforce § 2”).

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considering the Gingles I precondition of numerosity. This conclusion is supported

foremost by the United States Supreme Court’s discussion of the issue in Georgia v.

Ashcroft, a 2003 Voting Rights Act case. There, the Court wrote:

       Georgia and the United States have submitted slightly different figures
       regarding the black voting age population of each district. The differing
       figures depend upon whether the total number of blacks includes those
       people who self-identify as both black and a member of another minority
       group, such as Hispanic. Georgia counts this group of people, while the
       United States does not do so. . . Moreover, the United States does not count
       all persons who identify themselves as black. It counts those who say they
       are black and those who say that they are both black and white, but it does
       not count those who say they are both black and a member of another
       minority group. Using the United States' numbers may have more relevance
       if the case involves a comparison of different minority groups. Here,
       however, the case involves an examination of only one minority group's
       effective exercise of the electoral franchise. In such circumstances, we
       believe it is proper to look at all individuals who identify themselves as
       black.241

There is no question that the instant case is a case involving “an examination of only one

minority group’s effective exercise of the electoral franchise.”242 Thus, this Court will follow

the Supreme Court and “look at all individuals who identify themselves as black.”243 This

conclusion is further supported by the dissenting comments of Chief Justice Roberts in

the Supreme Court’s grant of an emergency application for stay in Merrill v. Milligan.

Therein, Justice Roberts stated that the District Court for the Northern District of Alabama,

which applied the Any Part Black metric in its analysis, had “properly applied existing law

in an extensive opinion with no apparent errors for our correction.”244 If, in the eyes of the




241 Georgia v. Ashcroft, 539 U.S. 461, 474 (2003) (emphasis added).
242 Id.
243 Id.
244 Merrill v. Milligan, 142 S. Ct. 879, 882 (2022)


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Chief Justice, a court using Any Part Black “cannot be faulted for its application of

Gingles,”245 this Court would be remiss to apply another standard.

        The Any Part Black definition is deeply rooted in Louisiana history; testimony

established that the state employed a rigid system of categorizing its citizens as Black if

they had any “traceable amount”246 of Black blood. It would be paradoxical, to say the

least, to turn a blind eye to Louisiana’s long and well-documented expansive view of

“Blackness” in favor of a definition on the opposite end of the spectrum. The Court

declines to define Black Voting Age Population (BVAP) in a way that gatekeeps

Blackness in the context of this Voting Rights case. Finally, the weight of the evidence

presented shows that two majority-minority congressional districts that satisfy Gingles

and respect traditional redistricting principles can be drawn in Louisiana even if more

restrictive definitions of Black are applied.247




245 Id.
246 PR-88, p. 3.
247 See conclusions on Gingles I, infra.


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II.         LIKELIHOOD OF SUCCESS ON THE MERITS

            A. Gingles I

                1. Numerosity

        The Court finds that Plaintiffs have established that the Black Voting Age

Population (BVAP) is “sufficiently large ... to constitute a majority”248 in a second-majority

minority congressional district in Louisiana. Defendants’ sole argument to the contrary is

their opposition to the use of the Any Part Black metric,249 which the Court considered

and rejected above. Defendants complain that none of Plaintiffs’ illustrative maps feature

a majority-minority district with a BVAP over 52.05%,250 but they simultaneously concede

that Gingles I requires only a showing that a remedial district could contain a 50 percent

plus one majority of minority citizens of voting age.251

        Plaintiffs have put forth several illustrative maps which show that two

congressional districts with a BVAP of greater than 50% are easily achieved. Defendants’

expert witness Dr. Bryan concluded the same.252 Moreover, Plaintiffs have established

that they can meet the 50% plus threshold required by Gingles I even if a more restrictive

metric is used. Cooper calculated the BVAP for his illustrative majority-minority districts

using the Non-Hispanic Single-Race Black Citizen Voting Age Population definition and

found that even using this most restrictive definition of Black, the Gingles I numerosity

requirement was achieved. The statistical results of the impact of this narrow definition of

‘Black” are reproduced from the record evidence below:


248 Cooper, 137 S. Ct. at 1470 (internal quotation marks omitted).
249 In their Proposed Findings of Fact and Conclusions of Law, Defendants argue that Plaintiffs’ failure to
establish 50% + 1 “using any definition except for the most expansive. . .compels the conclusion that, as a
matter of law, they have not carried their burden under Gingles Step I.” (Rec. Doc. No. 159, p. 107).
250 Rec .Doc. No. 159, p. 105.
251 Id. at ¶ 441.
252 AG-2, p. 20 et seq.


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                                                                            253



Likewise, Anthony Fairfax calculated that his Illustrative Plan 2 still has two majority-

minority districts if the “DOJ Black” definition is used:




(PR-86, p. 7)




253   GX-29, p. 15.

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Dr. Hood also concluded that two of Plaintiffs’ plans demonstrate that two majority-Black

districts can be achieved using the ‘DOJ Black’ definition:




                                                                                     254



Although Defendants argue that Plaintiffs can only succeed at Gingles I using the Any

Part Black definition, they fail to refute the record evidence to the contrary. Accordingly,

the Court concludes that Plaintiffs are substantially likely to prove Gingles I numerosity

should this matter proceed to the merits.

                  2. Compactness

          For the reasons which follow, the Court finds that Plaintiffs have demonstrated that

they are substantially likely to prove that Black voters are sufficiently “geographically

compact”255 to constitute a majority in a second congressional district. The Court heard

opinion testimony on this topic from William Cooper and Anthony Fairfax, who were

accepted as expert witnesses by the Court upon Defendants’ stipulation to their expertise

in the fields of redistricting, demographics, and census data.

          Cooper and Fairfax offered several illustrative plans which included two majority-

BVAP congressional districts, CD 2 and CD 5. Both Cooper and Fairfax testified that the

illustrative plans they drew performed better than the enacted plan on well recognized

and widely-used statistical measures of compactness. Specifically, they testified that




254   LEG-78, p. 4.
255   Cooper, 137 S.Ct. at 1470.

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mean compactness score is the best way to compare compactness among different

plans, and that their illustrative plans, almost without exception, demonstrate higher mean

compactness scores than the enacted plan.

           The record evidence and testimony established following mean compactness

scores for the enacted plan as compared to the illustrative plans:

            Plan                       Reock                Polsby-Popper          Convex Hull

            Enacted Plan               0.37                      0.14                  0.62

            Fairfax                    0.42                      0.18                  0.69

 Illustrative Plan 1

            Fairfax                    0.39                      0.20                  0.71

 Illustrative Plan 2

            Fairfax                    0.39                      0.20                  0.71

 Illustrative Plan 2A

            Cooper                     0.36                      0.19                  X256

 Illustrative Plan 1



            Cooper                     0.41                      0.19                  X

 Illustrative Plan 2

            Cooper                     0.38                      0.18                  X

 Illustrative Plan 3

            Cooper                     0.37                      0.18                  X

 Illustrative Plan 4




256   Cooper did not calculate the Convex Hull score for his plans.

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Cooper and Fairfax demonstrated, without dispute, that in terms of the objective

measures of compactness, the congressional districts in the illustrative plans are

demonstrably superior to the enacted plan.

       Like the question of numerosity, Defendants did not meaningfully refute or

challenge Plaintiffs’ evidence on compactness. Rather, Defendants challenged the

Cooper and Fairfax illustrative maps as improperly, and Defendants submit unlawfully,

motivated by considerations of race. Defendants offered opinion testimony from Drs.

Bryan, Blunt, Hood and Murray to show that race was the predominant factor in

configuring a second majority-BVAP congressional district in the illustrative plans.

       On stipulation of the parties, the Court heard opinion testimony from Thomas

Bryan, offered by the Defendants as an expert in the field of demographics. Bryan quite

candidly acknowledged that he testified as an expert in a redistricting case for the first

time earlier this year in Caster v. Merrill, and that the Alabama District Court afforded his

testimony very little weight and found it to be “selectively informed” and “poorly

supported.”257 After observing Bryan on the stand in this case, the Court finds that his

demeanor was not so problematic as to disqualify him, but the Court found his

methodology to be poorly supported. His conclusions carried little, if any, probative value

on the question of racial predominance.

       Bryan opined that race was a prevailing factor in the design of Plaintiffs’ illustrative

plans based on his “index of misallocation,” which purports to flag areas where a

disproportionate share of the Black population was grouped into a majority-minority



257Caster v. Merrill, No. 2:21-CV-1536-AMM, 2022 WL 264819, at *67 (N.D. Ala. Jan. 24, 2022). The Court
found that Bryan “offered dogmatic and defensive answers that merely incanted his professional opinion
and reflected a lack of concern for whether that opinion was well-founded.” (at *62).

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district. Bryan testified that he does not know if this “misallocation” analysis has ever been

credited by a court in a voting rights case – he did not offer it in the Alabama case – and

that he was unaware of any case in which the “index of misallocation” was accepted as

probative or persuasive by a court in the voting rights context.

       Even if this “misallocation” method is accepted, the factual assumptions upon

which his conclusions rest are absent in this case. Hence, Bryan’s conclusions are

unsupported by the facts and data in this case and thus wholly unreliable. Bryan testified

that his analysis is based on two assumptions – that the Black population is evenly

distributed and that district splits are created randomly – both of which, he admitted, are

not supported by the evidence in this case. Bryan testified that it is still possible to perform

the misallocation analysis when those assumptions are not borne out, but he did not

explain why, if the underlying assumptions are false, his resulting opinion is reliable.

Ultimately, Bryan conceded that that he could not say how much of the “misallocation” he

observed was attributable to a racially-motivated mapdrawing process, as opposed to

being reflective of the reality that the Black population in Louisiana is highly segregated.

This admission seriously undermines the reliability of his opinion that Plaintiffs’ maps are

the product of racial predominance. Furthermore, the Court accords Bryan’s racial

predominance opinion little weight because he testified that he did not account for

compactness, communities of interest, or incumbent protection in concluding that race

predominated in Plaintiffs’ maps.

       Finally, the Court finds that Bryan’s analysis lacked rigor and thoroughness, which

further undermines the reliability of his opinions. On cross-examination, Bryan was asked

about Cooper’s findings that his illustrative districts had greater than 50% BVAP even



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using the single-race Black definition and several other methods for measuring BVAP. He

testified that he looked at it but had no opinion to offer about it. For the foregoing reasons,

the Court gives very little weight to Bryan’s analysis and conclusions.

       Defendants offered opinion testimony from Dr. Christopher Blunt, stipulated by the

parties as an expert in the field of political science with an emphasis in quantitative

political science and data analysis. Dr. Blunt opined that a computer simulation he used

to generate congressional districts did not generate even a single majority-BVAP

congressional district. Defendants argue that Dr. Blunt’s simulations prove that the

majority-BVAP districts produced in the illustrative plans are the product of racial

predominance in the mapmaking process, i.e., racial gerrymandering. On compactness,

Dr. Blunt testified that his simulated plans scored higher on the Polsby-Popper test for

compactness than the illustrative plans.258 This is both unsurprising and unpersuasive,

considering Dr. Blunt’s testimony that he did not account for all of the relevant redistricting

principles and ran his simulations from scratch, without reference to the enacted plan. In

any event, Gingles I does not require that Plaintiffs’ illustrative plans outperform a set of

computer-simulated districts on compactness. It requires only that they be reasonably

compact.

       The Court considers Dr. Blunt to be well-qualified by education and experience in

the tendered field of expertise. However, Dr. Blunt has no experience, skill, training or

specialized knowledge in the simulation analysis methodology that he employed to reach

his conclusions. He testified that had never attempted a simulations analysis before this




258He reported the simulation maps as having a mean Polsby-Popper compactness score of .25 compared
to an average of .18 or .19 for the illustrative plans (LEG-3, p. 11 (Figure 4)).

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case and has never published on the topic, taught, or even taken a course on it. Dr. Blunt’s

simulation analysis experience is best described as novice.

       Dr. Blunt testified that he downloaded publicly available code and wrote the

instructions to execute the underlying algorithm. Several times, in response to questions

about his analysis, Dr. Blunt admitted that he was limited in his ability to go “under the

hood” of the code he was using to program in parameters that would account for certain

redistricting criteria. Dr. Blunt conceded the importance of including all the relevant

redistricting criteria variables into his simulations. However, he testified that he was only

able to account for population equality, contiguity, compactness, and minimization of

parish splits. Admittedly, his simulations were performed without regard to minimizing

precinct splits, respecting communities of interest, incumbency protection, or even the

criterion considered paramount by Defendants, core retention. In short, the simulations

he ran did not incorporate the traditional principles of redistricting required by law.

Accordingly, his opinions merit little weight.

       The Court heard opinion testimony from Dr. M.V. Hood, offered by the Defendants

and stipulated to be an expert in the fields of political science, quantitative political

analysis, and election administration. Dr. Hood offered opinions on the performance of

the illustrative plans by reference to the criteria of core retention, and opinions on

compactness of BVAP statewide. The Court finds that he was generally credible but that

his conclusions are not particularly helpful to the Court. The Court detects no error in Dr.

Hood’s core retention analysis and gives it some weight, though the conclusion that the

illustrative plans have lower core retention than the enacted map, which was drawn using

a target of “least-change,” is hardly a blockbuster. Further, the Court notes that the



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importance to be assigned to core retention as a traditional redistricting principle is hotly

disputed in this case (see infra), and Dr. Hood willingly admitted and agreed that a desire

to preserve core retention does not trump the Voting Rights Act. Dr. Hood’s testimony on

the numerosity of Plaintiffs’ illustrative plans was likewise unilluminating, since he testified

that he offers no opinion on whether DOJ Black or Any Part Black should be used to

measure BVAP.

          The Supreme Court directs that Gingles I compactness “refers to the compactness

of the minority population, not to the compactness of the contested district.”259 As the

Northern District of Alabama explains in Caster v. Merrill, “[i]f the minority population is

too dispersed to create a reasonably configured majority-minority district, Section Two

does not require such a district.”260 Dr. Hood opined that the Black population in Louisiana

is heterogeneously distributed, a demographic characteristic not atypical of many States.

In the Court’s view, the fact that Louisiana’s Black population is unevenly dispersed

geographically when viewed statewide is not illuminating, first because congressional

districts are not statewide, and second, it overlooks patterns of significant pockets or

clusters of BVAP that are the result of segregated housing. The relevant question is

whether the population is sufficiently compact to make up a second majority-minority

congressional district in a certain area of the state. The fact that Plaintiffs’ illustrative maps

feature districts with 50% + BVAP while scoring well on statistical measures of

compactness is the best evidence of compactness.

          The Court accepted Defendants’ witness Dr. Alan Murray as an expert in the fields

of demographic analysis, spatial analytics as it relates to race, and statistics. The Court


259   LULAC, 548 U.S. at 430 at 433 (quoting Vera, 517 U.S. at 997 (Kennedy, J., concurring))
260   Caster v. Merrill, No. 2:21-CV-1536-AMM, 2022 WL 264819, at *63 (N.D. Ala. Jan. 24, 2022).

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finds Dr. Murray’s opinions unhelpful and unilluminating for several reasons. Dr. Murray

employed “spatial analysis” to reach the conclusion that the Black and White populations

in Louisiana are heterogeneously distributed. This is nothing more than a commonsense

observation which is not a whit probative of the compactness of the districts in the

Plaintiffs’ illustrative plans. In fact, Dr. Murray never looked at the illustrative plans. The

time-tested, generally accepted statistical measures of compactness used by other

experts in this case are qualitatively superior evidence and far more probative of

compactness.

       Dr. Murray has no background or experience in redistricting; he did not review any

of Plaintiffs’ illustrative plans, and, most notably, he testified that he has no basis to

disagree with any of the opinions offered by Plaintiffs’ experts in this case. Lastly, Dr.

Murray testified that he is not aware of any court considering the type of “spatial analysis”

that he performed in the context of a Section 2 case. In short, based on Dr. Murray’s

testimony, it is clear to the Court that his expert opinion is untethered to the specific facts

of this case and the law applicable to it. Accordingly, the Court disregards his testimony

as it applies to the determination of compactness.

       In weighing the opinions of the competing expert witnesses the Court finds the

Plaintiffs’ Gingles I experts Cooper and Fairfax qualitatively superior and more persuasive

on the requirements of numerosity and compactness.

       Cooper has extensive experience drawing maps for redistricting and has been

repeatedly recognized and accepted as an expert in federal voting rights cases. Cooper

has familiarity with the unique voting laws and processes in Louisiana, having worked on

redistricting projects in in Shreveport and in Terrebonne, Point Coupee, Madison, and



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East Carroll Parishes. The Court finds that Cooper’s reports261 in this case were clear,

substantiated by unrefuted empirical and statistical data, methodologically sound, and

therefore reliable. His testimony was candid, forthright and indicative of an in-depth

comprehension of redistricting, demographics, and census data. On cross-examination,

when Cooper was pressed for detail regarding his methodology, he was frank, not

defensive, and provided reasonable and coherent responses. The Court found Cooper’s

opinions and conclusions helpful to the Court as the trier of fact and credits his testimony

favorably. The Court particularly credits Cooper’s testimony that race was only one of the

several factors that he considered in reaching his conclusions and drawing illustrative

maps and that race did not predominate in his analysis, nor did any other single criterion.

Cooper candidly admitted that he was aware of race during the map drawing process, but

his testimony about his methodology persuaded the Court that race was not a

predominant consideration in his analysis and that he considered all of the relevant

principles in a balanced manner. As stated by the Supreme Court, “race consciousness

does not lead inevitably to impermissible race discrimination.”262

           Anthony Fairfax’s thirty years of experience in preparing redistricting plans make

him well-qualified, in the Court’s view, and his report and supplemental reports are

extremely thorough and methodologically sound. Like Cooper, Fairfax remained steady

under cross-examination and candidly described his process in detail. The Court did not

observe inconsistencies in his testimony, nor any reason to question the veracity of

Fairfax’s testimony. The Court credits in particular Fairfax’s testimony where he discussed

how race contributed to the illustrative plans that he drew. Fairfax did not deny that he


261   GX-1; GX-29, admitted as substantive evidence without objection.
262   Shaw v. Reno, 509 U.S. 630, 646 (1993).

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used his mapping software to assess the location of BVAP in Louisiana initially, but he

was adamant and credible in his testimony that race did not predominate in his mapping

process. Rather, he testified that he only considered race to the extent necessary to test

for numerosity and compactness as required by Gingles I.

          The weight afforded to Plaintiffs’ experts, Cooper and Fairfax, is appropriate

considering not a single defense expert disputed that Plaintiffs’ illustrative plans are

generally more compact than the enacted plan based on statistical measures.

          The Court’s assessment of reasonable compactness is also informed by a visual

inspection of the shapes of the districts in Plaintiffs’ illustrative plans. Overall, the Court

observes that the districts proposed in the illustrative maps are regularly shaped, without

“tentacles, appendages, bizarre shapes, or any other obvious irregularities,”263 save a few

narrow finger-shaped boundaries. Compared to the shape of CD 2 and the wraparound

shape of CD 6 in the enacted plan, the illustrative plans are visually more compact.

          Next, the Court turns to the question of whether Plaintiffs’ illustrative plans

demonstrate reasonable compactness when viewed through the lens of “traditional

districting principles such as maintaining communities of interest and traditional

boundaries.”264 As an initial matter, the Court will not extensively analyze the traditional

criteria of equal population and contiguity, because the evidence makes clear that

Plaintiffs’ plans are contiguous and equalize population across districts, and these issues

are not disputed.

          The first factor to consider is whether Plaintiffs’ illustrative plans respect existing

political subdivisions, such as parishes, cities, and towns. The evidence presented by the


263   Caster v. Merrill, No. 2:21-CV-1536-AMM, 2022 WL 264819, at *64 (N.D. Ala. Jan. 24, 2022).
264   LULAC, 548 U.S. at 433 (internal quotation marks omitted).

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parties largely related to parishes and to VTDs, also referred to as precincts. As for parish

splits, the Court finds that Plaintiffs’ illustrative plans split fewer parishes than the enacted

plan. The enacted plan splits 15. Fairfax’s Illustrative Plan 1 splits 14, while his Plans 2

and 2A split 12 parishes. Cooper’s Illustrative Plans 1 through 4 split 10, 11, 10, and 10

parishes, respectively. Accordingly, the Court finds that Plaintiffs’ illustrative maps respect

political subdivision boundaries as much or more so than the enacted plan with regard to

parish splits.

          As for precinct splits, the Legislature’s Joint Rule 21 states that districting maps

should minimize precinct splits “to the extent possible.”265 The enacted plan splits no

precincts, nor do any of the illustrative plans prepared by Anthony Fairfax. Likewise, it is

undisputed that Cooper’s Illustrative Plan 4 splits no precincts. Cooper explains in his

report that, in his plans 1, 2, and 3, he only split a precinct when necessary to achieve

perfect population equality among the districts. When splitting a precinct, he states that

he did not do so randomly – he followed municipal boundaries, census block group

boundaries, or census block boundaries. Accordingly, the Court finds that Plaintiffs’

illustrative maps respect political subdivision boundaries with regard to precinct splits.

          The Court next considers whether Plaintiffs’ illustrative plans respect “communities

of interest.” The term “communities of interest” has no universally agreed-upon definition.

The Legislature’s Joint Rule 21 refers to the concept in the following provision:

          All redistricting plans shall respect the established boundaries of parishes,
          municipalities, and other political subdivisions and natural geography of the
          state to the extent practicable. However, this criterion is subordinate to and
          shall not be used to undermine the maintenance of communities of interest
          within the same district to the extent practicable.266


265   GX-20.
266   Id.

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By its Joint Rule 21, the Louisiana Legislature expressly prioritizes consideration of

communities of interest to goal of preserving political subdivisions, but does not elaborate

on what, exactly, comprises a community of interest. Plaintiffs’ experts employed different

approaches to identifying communities of interests and considering them in their

illustrative maps. Fairfax, for example, explains that he used census places and landmark

areas to gauge how often his maps split communities of interest, as well as

socioeconomic data and roadshow testimony from community members for insight into

local ideas about communities of interest. A “census place” includes municipalities and

census-designated places, which generally denotes a locally known or “named” place that

does not have its own governmental body. Fairfax testified that in some ways, the census

places metric is more indicative of a community of interest than actual cities, because

they are locally defined areas. According to Fairfax, the enacted plan splits 32 census

places, while his Illustrative Plans 1 through 3 split 31, 26, and 26 census places,

respectively. Cooper analyzed communities of interest in terms of Core Based Statistical

Areas (CBSAs) and found that his plans split fewer CBSAs than the enacted plan. His

plans also split fewer populated municipalities.267 The citizen viewpoint testimony of

Christopher Tyson and Charles Cravins, supra, also contributed meaningfully to an

understanding of communities of interest.

       Defendants did not call any witnesses to testify about communities of interest. This

strikes the Court as a glaring omission, given that Joint Rule 21 requires communities of

interest to be prioritized over and above preservation of political subdivisions. While the

Legislative Intervenors asserted in their Opposition that “it is the Legislature’s role to




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identify communities of interest, not the Court’s or Plaintiffs,’”268 Defendants have not

offered any evidence related to whether or how the Legislature did so. The Legislative

Intervenors argue that the enacted plan “accounts for communities of interest identified

in committee hearings, including by grouping major military installations and military

communities in CD 4, preserving the Acadiana region in CD 3, and joining major cities

and their suburbs as much as possible,”269 but the argument is unsubstantiated by

probative record evidence.

        In their post-hearing briefs, Defendants criticize the fact that “Mr. Cooper drew

Vernon Parish, home of Fort Polk, and Shreveport, home of Barksdale Air Force Base,

into different districts in his illustrative plans even though they were joined in the enacted

plan.”270 Defendants offer no assessment of how Plaintiffs’ maps treat their other two

stated communities of interest, preserving the Acadiana region and joining cities with their

suburbs. The Court does not find that splitting one argued community of interest is fatal

to a finding that Cooper’s districts are geographically compact without sacrificing

communities of interest. Cooper analyzed the enacted plan and identified splits of 18

CBSAs and 30 populated municipalities. Defendants offered no evidence of why the splits

in their plan are less offensive to traditional redistricting principles than the ones in

Cooper’s.

         Regardless, the inquiry under Gingles I is not whether Plaintiff’s illustrative maps

represent the most perfect or preferable way to draw a majority-Black district; there is no

need to show that the illustrative maps would “defeat [a] rival compact district[ ]” in a



268 Rec. Doc. No. 109, p. 21.
269 Id. at p. 13.
270 Rec. Doc. No. 159, p. 33, ¶ 139.


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“beauty contest[ ].”271 The relevant question is whether, taking into account traditional

redistricting principles including communities of interest, a reasonably compact and

regular majority-Black district can be drawn.

           Courts struggle with analyzing and giving meaning to the subjective redistricting

criteria that counsels respect for “communities of interest.” This Court offers no recipe for

the definition of “community of interest,” but based on the testimony and evidence, the

Court finds that Plaintiffs’ experts demonstrated that they gave careful thought to selecting

objectively verifiable indicators to identify for assessing communities of interest and

calculating how often their maps split them. By those metrics, Plaintiffs’ maps split locally

relevant areas less often than the enacted map. To the extent that “communities of

interest” is a term susceptible to clear definition, the Court finds that Plaintiffs made a

strong showing that their maps respect them and even unite communities of interest that

are not drawn together in the enacted map (St. Landry Parish and East Baton Rouge, for

one). Defendants have not meaningfully disputed that Plaintiffs’ illustrative maps respect

communities of interest. Based on the testimony in this matter, the Court finds that

Plaintiffs’ plans consider and preserve communities of interest to a practical extent.

           Next, the Court turns to the final two traditional redistricting criteria: incumbency

protection and core retention. Avoiding incumbent pairing was not one of the criteria that

the Legislature included in its Joint Rule 21, and incumbency protection is generally

regarded as less a less important criterion.272 Nevertheless, the Court finds that in all of

Cooper’s illustrative plans, each of Louisiana’s six congressional incumbents would still




271   Vera, 517 U.S. at 977–78.
272   See, e.g., Larios v. Cox, 300 F. Supp. 2d 1320, 1348 (N.D. Ga. 2004), aff'd, 542 U.S. 947 (2004).

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reside in the district where they currently live.273 Further, Fairfax demonstrated that he

could avoid incumbent pairing through slight adjustments in his Illustrative Plan 2A;274 his

earlier plans had paired two incumbents in CD 5. Although Defendants’ expert Dr. Hood

testified that, in his view, it would be harder for people to vote for incumbents in Plaintiffs’

proposed districts because they have lower core retention than the enacted map, he did

not contradict Fairfax’s or Cooper’s statements that they have developed plans that

protect existing incumbents. In any event, “[t]here is no legal basis”275 for a rule that every

illustrative plan must protect every incumbent, but all of Cooper’s maps and one of

Fairfax’s do so anyway.          The Court concludes that Plaintiffs’ maps demonstrate

adherence to the traditional redistricting principle of protecting incumbents.

       Lastly, the Court considers core retention. Defendants’ expert Dr. Hood testified

that the core retention scores for the illustrative plans are lower than those for the enacted

plan, reflecting that the enacted plan retains more of the benchmark district cores than

the illustrative plan. The Court does not question this conclusion – in fact, it finds that

nothing could be more obvious. Plaintiffs’ illustrative maps were intended to demonstrate

that it is possible to draw, minding the other necessary criteria, two majority-minority

districts in Louisiana instead of one. Naturally, their maps are less similar to the

benchmark.

       Moreover, the Court struggles to grasp why Defendants elevate the importance of

core retention. They cite no case which treats core retention as dispositive of, or even

central to, the Gingles I inquiry. Furthermore, the Legislature’s own redistricting rule is



273 GX-1, p. 25.
274 PR-90, p. 3.
275 Caster v. Merrill, No. 2:21-CV-1536-AMM, 2022 WL 264819, at *67 (N.D. Ala. Jan. 24, 2022).


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silent on core retention. As Plaintiffs highlight, Joint Rule 21 does include a core retention-

related requirement with respect to its criteria for the state Legislature: 21(D)(4), which

governs state redistricting provides that “[d]ue consideration shall be given to traditional

district alignments to the extent practicable.”276 However, Joint Rule 21(E), which governs

congressional redistricting, does not include that provision. And, although 21(E) does

specify a list of other paragraphs from the Rule that apply to congressional districting as

well, (D)(4) is not one of them.

           Thus, the Court concludes that, although Plaintiffs’ illustrative maps have lower

core retention than the enacted plan, that fact is entitled to essentially no weight under

the Gingles I inquiry. Even if core retention was demonstrated to be a relevant redistricting

principle, Defendants provide the Court with no benchmark for assessing it. How much

core retention is “enough”? How much of a district core must be preserved to make an

illustrative map legally adequate? Ultimately, it is irrelevant. Core retention is not and

cannot be central to Gingles I, because making it so would upend the entire intent of

Section 2, allowing states to forever enshrine the status quo regardless of shifting

demographics. As Defendants’ own expert Dr. Hood testified, core retention does not

trump the Voting Rights Act.

           Ultimately, the Court finds that the illustrative plans developed by Plaintiffs’ experts

satisfy the reasonable compactness requirement of Gingles I. In Defendants’ post-hearing

brief, they assert that “it is only through a very specific set of contortions that a second

majority-minority district can be extracted from Louisiana’s demographics.”277 If Plaintiffs’

maps are the result of improper “contortions,” those contortions somehow went


276   GX-20.
277   Rec. Doc. No. 166, p. 81.

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undetected by the numerous statistical measures employed to demonstrate their

adherence to traditional districting principles. Plaintiffs’ maps have roughly zero

population deviation, contiguous districts, districts that are at least as geographically

compact as the districts in the enacted plan – in fact, they are almost always more

geographically compact. Plaintiffs’ maps protect incumbents, reflect communities of

interest, and respect political subdivisions, splitting fewer parishes than the enacted map.

Cooper and Fairfax both offered persuasive testimony regarding how they balanced all of

the relevant principles, including the Legislature’s Joint Rule 21, without letting any one

of the criteria dominate their drawing process. For these reasons, the Court finds that the

illustrative plans developed by Plaintiffs’ experts satisfy the reasonable compactness

requirement of Gingles I.

               3. Equal Protection: Hays and Racial Gerrymandering

       Defendants insist that the illustrative maps are racial gerrymanders as a matter of

law. They cite the Hays series of cases from the 1990s, wherein Louisiana congressional

maps with two majority-minority districts were invalidated as racial gerrymanders.278 In

1993, the District Court for the Western District of Louisiana took up Hays v. State of

Louisiana (Hays I), a private action which challenged a legislatively-enacted

congressional map on Equal Protection grounds. At the time, Louisiana was apportioned

seven congressional seats; the Legislature’s map had two majority-Black districts, CD 2

and CD 4.

       The Western District found that the Hays I map (depicted below) was the result of

racial gerrymandering. The Court colorfully described the map as follows:


278
  Hays v. Louisiana, 839 F. Supp. 1188, 1195 (W.D. La. 1993) (Hays I); Hays v. Louisiana, 936 F. Supp.
360, 368 (W.D. La. 1996) (Hays IV).

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          Like the fictional swordsman Zorro, when making his signature mark,
          District 4 slashes a giant but somewhat shaky “Z” across the state, as it cuts
          a swath through much of Louisiana. It begins north of Shreveport—in the
          northwestern corner of Louisiana, just east of the Texas border and flush
          against the Arkansas border—and sweeps east along that border,
          periodically extending pseudopods southward to engulf small pockets of
          black voters, all the way to the Mississippi River. The district then turns
          south and meanders down the west bank of the Mississippi River in a
          narrow band, gobbling up more and more black voters as it goes. As it nears
          Baton Rouge, the district juts abruptly east to swallow predominantly black
          portions of several more parishes. Simultaneously, it hooks in a
          northwesterly arc, appropriating still more black voters on its way to
          Alexandria, where it selectively includes only predominantly black
          residential neighborhoods. Finally, at its southern extremity, the district
          extends yet another projection—this one westward towards Lafayette—
          adding still more concentrations of black residents. On the basis of District
          4's physiognomy alone, the Plan is thus highly irregular, suggesting strongly
          that the Legislature engaged in racial gerrymandering.279




                                                                           280



After the Western District’s ruling, the Legislature adopted a new redistricting plan, and

the finding of racial gerrymandering was vacated and remanded for further consideration

in light of the new plan.

          Defendants have repeatedly invoked Hays as a cautionary tale in this litigation,

suggesting that because a map with two majority-Black districts was previously

invalidated by a court, there can never be an acceptable map with two Black districts. In


279   Id. at 1199–200 (W.D. La. 1993).
280   ARD-3, p. 6.

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fact, the Legislative Intervenor Defendants use the word “insanity” to describe efforts to

draw two, quipping in their Opposition to the Motion for Preliminary Injunction that

“[i]nsanity is doing the same thing over and over and expecting different results.” 281 For

the 2020 redistricting cycle, they assert, the Louisiana Legislature kept Hays in mind and

“did not succumb to this malady.”282

        Defendants’ assertion that Hays automatically vitiates the validity of Plaintiffs’

illustrative plans is refutable by a cursory visual inspection of the Hays maps. In the Hays

I map, District 2 appears on the map of Louisiana with the coherence of a sneeze. It is

not disputed that Plaintiffs’ illustrative plans draw a second majority-Black district by

connecting parts of East Baton Rouge Parish with the Delta Parishes in their proposed

CD 5. But apart from that commonality, the layout of their CD 5 is scarcely similar to Hays

I’s CD 4. Take, for example, Cooper’s Illustrative Plan 1:




                                                                     283




281 Rec. Doc. No. 109, p. 12.
282 Id.
283 GX-1, p. 26.


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Instead of a narrow and jagged band reaching from the far northwest of the state all the

way south toward the Gulf Coast, Cooper’s map appears as a relatively compact,

reasonable shape. Cooper’s Illustrative Plan 2 reaches further to the northwest, but still

avoids the plunge to the coast:




                                                                    284



Likewise, Anthony Fairfax’s illustrative maps connect East Baton Rouge to the Delta

Parishes in compact form and have none of the deranged twists and turns of the map at

issue in Hays I.

           The Legislature’s second crack at redistricting in Hays era was also invalidated

on Equal Protection grounds as a racial gerrymander. The Hays II map looked like this:




284   GX-1, p. 28.

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The district shown in black, CD4, was a majority-minority district that the Western District

described as “an inkblot which has spread indiscriminately across the Louisiana map.”285

Notably, this CD 4 does not commit what Defendants make out to be the cardinal sin of

including East Baton Rouge Parish and the Delta Parishes in the same district. Clearly,

then, it was not the combination of those areas that the Western District rejected – it was

the diffuse and nonsensical configuration of the majority-minority districts. Plaintiffs’

expert Anthony Fairfax testified that the majority-minority districts in Hays were extremely

non-compact, to the point that he would never draw them.

        The invocation of Hays is a red herring. By every measure, the Black population in

Louisiana has increased significantly since the 1990 census that informed the Hays map.

According to the Census Bureau, the Black population of Louisiana in 1990 was

1,299,281.286 At the time, the Census Bureau did not provide an option to identify as more

than one race. The 2020 Census results indicate a current Black population in Louisiana

of 1,464,023 using the single-race Black metric, and 1,542,119 using the Any Part Black

metric.287 So, by the Court’s calculations, the Black population in Louisiana has increased

by at least 164,742 and as many as 242,838 since the Hays litigation. Hays, decided on

census data and demographics 30 years ago, is not a magical incantation with the power

to freeze Louisiana’s congressional maps in perpetuity. Hays is distinguishable and

inapplicable. Defendants argue vociferously that race was the predominant factor in the

creation of CD 2 and CD 5 in Plaintiffs’ illustrative maps. A plan that links locations solely

on the basis of race is suspect race-based redistricting, they argue, and cannot satisfy



285 Hays v. State of La., 936 F. Supp. 360, 364 (W.D. La. 1996).
286 https://www2.census.gov/library/publications/decennial/1990/cp-1/cp-1-20.pdf.
287 See chart infra, p. 22.


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Gingles I. Defendants assert that Cooper and Fairfax had “racial target[s]”288 and that

drawing two majority-minority districts was “non-negotiable”289 for them. Because race

was “the overriding reason for choosing one map over others,”290 Defendants argue,

quoting Bethune-Hill, their illustrative plans are unconstitutional.

       The Court rejects this argument, for both legal and factual reasons. As discussed

supra, there is an inherent tension between the Voting Rights Act and the Equal

Protection Clause. Because “the Equal Protection Clause restricts consideration of race

and the [Voting Rights Act] demands consideration of race, a legislature attempting to

produce a lawful districting plan is vulnerable to competing hazards of liability.” 291 “In an

effort to harmonize these conflicting demands, [the Supreme Court has] assumed that

compliance with the [Voting Rights Act] may justify the consideration of race in a way that

would not otherwise be allowed.”292 More specifically, the Court has found “that complying

with the [Voting Rights Act] is a compelling state interest, and that a State's consideration

of race in making a districting decision is narrowly tailored and thus satisfies strict scrutiny

if the State has good reasons for believing that its decision is necessary in order to comply

with the [Voting Rights Act].” 293

       The Supreme Court explicitly acknowledges that some consideration of race is

permissible in the context of the Voting Rights Act, and lower courts have recognized the

sound logic of this “obvious”294 result, reasoning that “a rule that rejects as

unconstitutional a remedial plan for attempting to satisfy Gingles I would preclude any


288 Rec. Doc. No. 165, p. 6.
289 Id.
290 Bethune-Hill v. Virginia State Bd. of Elections, 137 S. Ct. 788, 792 (2017).
291 Abbott, 138 S. Ct. at 2315 (internal quotation marks omitted).
292 Id.; Cooper, 137 S. Ct. at 1464.
293 Abbott, 138 S. Ct. at 2315.
294 Caster v. Merrill, No. 2:21-CV-1536-AMM, 2022 WL 264819, at *80 (N.D. Ala. Jan. 24, 2022).


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plaintiff from ever stating a Section Two claim.” 295 Indeed, as the Northern District of

Alabama observed in Caster, every element of Gingles past Gingles I would be rendered

superfluous if it was unconstitutional to account for race in the effort to satisfy numerosity.

How can a plaintiff demonstrate that it is possible to draw a district exceeding 50% BVAP

without locating areas of Black population and, accounting for all of the other traditional

redistricting principles, trying to draw a majority-Black district that includes them? The

Supreme Court in Shaw v. Reno captured this reality, stating that

        redistricting differs from other kinds of state decision making in that the
        legislature always is aware of race when it draws district lines, just as it is
        aware of age, economic status, religious and political persuasion, and a
        variety of other demographic factors. That sort of race consciousness does
        not lead inevitably to impermissible race discrimination.296

        Plaintiffs argue that Defendants’ effort to import a requirement that map-making be

demonstrably race neutral into Gingles I was explicitly rejected by the Fifth Circuit in the

1996 case Clark v. Calhoun County.297 In Clark, the Fifth Circuit considered whether racial

predominance is a factor in the Gingles I inquiry and concluded, quite clearly, that it is

not. In Clark, the Fifth Circuit considered Calhoun County’s argument that, because the

plaintiffs’ predominant concern in drawing their proposed districts was race, those

proposed districts did not satisfy Gingles I. For that proposition, the County relied upon

Miller v. Johnson,298 arguing that under Miller, “the gravamen of an Equal Protection claim

is not the shape of the district but rather the legislature's motivation or purpose in drawing

the district as it did.”299




295 Id.
296 Shaw v. Reno, 509 U.S. 630, 646 (1993).
297 88 F.3d 1393.
298 115 S.Ct. 2475, 2488 (1995).
299 88 F.3d 1393, 1406 (5th Cir. 1996).


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        The Clark court “agree[d] with the County's reading of Miller but disagree[d] that

Miller is relevant to the first Gingles factor.”300 “In contrast to Miller's focus on motivation,”

the Fifth Circuit wrote, “the first Gingles factor requires that the plaintiff demonstrate that

the minority group is ‘sufficiently large and geographically compact to constitute a majority

in a single-member district.’”301 This demonstration is typically made, the court observed,

by drawing hypothetical majority-minority districts. Based on Supreme Court

precedent,302 the Clark court held:

        Miller's emphasis on purpose does not apply to the first Gingles
        precondition. In neither case did the Court suggest that a district drawn for
        predominantly racial reasons would necessarily fail the Gingles test. To the
        contrary, the first Gingles factor is an inquiry into causation that necessarily
        classifies voters by their race.303

The court went on:

        [W]e do not understand Miller and its progeny to work a change in the first
        Gingles inquiry into whether a sufficiently large and compact district can be
        drawn in which the powerful minority would constitute a majority. To be sure,
        this test of causation insists upon a compact district, and a remedial
        response narrowly tailored to remedying a found violation must also be
        compact. As we will explain, however, that tailored response must use race
        at the expense of traditional political concerns no more than is reasonably
        necessary to remedy the found wrong.304

Further, the Clark court drew a distinction between the districts proposed by the plaintiffs,

which “were ‘simply presented to demonstrate that a majority-black district is feasible in

Calhoun County’”305 under Gingles I, and the remedial map that would ultimately be

developed by the County in response to the court’s ruling. A remedial map, the court




300 Id.
301 Id.
302 Bush v. Vera, 517 U.S. 952 (1996); Shaw v. Hunt (Shaw II), 517 U.S. 899 (1996).
303 Clark v. Calhoun Cnty., Miss., 88 F.3d 1393, 1406–07 (5th Cir. 1996).
304 Id. at 1407.
305 Id. (quoting Clark, 21 F.3d at 95).


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explained, “must use race at the expense of traditional political concerns no more than is

reasonably necessary to remedy the found wrong.”306 This makes sense, since illustrative

maps drawn by demographers for litigation are not state action and thus the Equal

Protection Clause is not triggered. On the other hand, a Court-imposed or legislatively-

enacted map would be squarely subject to Equal Protection review.

        In a strained attempt to get around the well-reasoned holding of Clark and

piggyback an Equal Protection analysis onto Gingles I, Defendants argue that “Supreme

Court and Fifth Circuit precedent have both since held that the remedial and liability

inquiries are not separate but are one in the same.”307 Therefore, they contend, it is “no

longer a legally available possibility that, as Clark assumed, a predominance analysis is

appropriate at the remedial phase but not at the liability phase.”308 Defendants cite three

cases in support of this argument.

        In the first, Abbott v. Perez,309 the Supreme Court invalidated a lower court’s

decision to “defer[] a final decision on the § 2 issue and advise[] the plaintiffs to consider

[it] at the remedial phase of the case.”310 This is no more than a recognition of the

hornbook legal principle that liability must be decided before a remedy can be ordered.

Abbott does not hold that the liability inquiry and the remedial inquiry are the same. The

Abbott court pointed out the lower Court’s error in deferring part of the Section 2 liability

inquiry to the remedial phase based on speculation that the plaintiff might succeed on its

§ 2 claim.”311



306 Id. at 1408.
307 Id.
308 Id.
309 138 S. Ct. 2305 (2018).
310 Abbott v. Perez, 138 S. Ct. 2305, 2333 (2018).
311 Id. (“[c]ourts cannot find § 2 effects violations on the basis of uncertainty”)(emphasis original).


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        The other case advanced by the Defendants, Anne Harding v. County of Dallas,

Texas,312 is likewise unavailing.313 Finally, the Court finds that Wright v. Sumter Cnty. Bd.

of Elections & Registration,314 an Eleventh Circuit case, also poses no obstacle here. In

Wright, the court instructed that “a district court's remedial proceedings bear directly on

and are inextricably bound up in its liability findings.”315 With that in mind, the Eleventh

Circuit affirmed the district court’s decision, finding that the challenged “district map

impermissibly diluted black voting strength in violation of section 2 of the Voting Rights of

1965.”316 The district court then, “with the help of a well-qualified special master, drew

new district boundaries that plainly remedied the violation.” 317 Wright is not authority for

the proposition that the legal analysis applicable to liability and remedy are “one and the

same.” Wright states the obvious, that the liability and remedial phases are highly

interrelated; it does not state that all legal theories applicable to the remedy apply with

equal force during liability. As keen as Defendants are to bake the racial predominance

inquiry into Gingles I, the Court finds no legal basis for doing so. Clark clearly sets forth

the Fifth Circuit’s rejection of the conflation of the racial gerrymandering doctrine with the

vote dilution claims raised by Plaintiffs here.

        Defendants also argue that, in Bethune-Hill, the Supreme Court clarified that a plan

that meets the Gingles preconditions may nonetheless be unconstitutional.318 In other


312 948 F.3d 302, 310 (5th Cir. 2020).
313 Like in Abbott, the Fifth Circuit in Anne Harding did not hold, generally, that liability and remedy are
collapsed into one inquiry. It held that it was inappropriate to move to the remedy phase without a clear
showing of liability; the court found that liability was not established because the plaintiffs had not
demonstrated that their proposed district would “perform” for Latino voters and give them an opportunity to
elect a candidate of their choice.
314 979 F.3d 1282, 1302–03 (11th Cir. 2020)
315 Wright v. Sumter Cnty. Bd. of Elections & Registration, 979 F.3d 1282, 1302 (11th Cir. 2020).
316 Id. at 1311.
317 Id.
318 Rec. Doc. No. 165, p. 14.


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words, a remedial plan that satisfies the Gingles factors must withstand Equal Protection

scrutiny at the implementation or remedy stage. There is no factual evidence that race

predominated in the creation of the illustrative maps in this case. Defendants’ purported

evidence of racial predomination amounts to nothing more than their misconstruing any

mention of race by Plaintiffs’ expert witnesses as evidence of racial predomination. As

discussed above, it is crystal clear under the law that some level of consideration of race

is not only permissible in the Voting Rights Act context; it is necessary if Congress’s intent

in passing the Voting Rights Act is to be given effect. “Race consciousness does not lead

inevitably to impermissible race discrimination.”319

       In any event, the “Equal Protection Clause of the Fourteenth Amendment limits

racial gerrymanders in legislative districting.”320 Equal Protection “prevent[s] a State, in

the absence of sufficient justification, from separating its citizens into different voting

districts on the basis of race.”321 Defendants’ insistence that illustrative maps drawn by

experts for private parties are subject to Equal Protection scrutiny is legally imprecise and

incorrect. Regardless, the record does not support a finding that race predominated in

the illustrative map-making.

       Plaintiffs’ expert witnesses William Cooper and Anthony Fairfax explicitly and

credibly testified that they did not allow race to predominate over traditional districting

principles as they developed their illustrative plans. Defendants dismiss this testimony as

“semantic,”322 and they cite both Cooper and Fairfax’s statements that they used 50%

BVAP as a threshold as evidence that they employed unconstitutional racial targets. They


319 Shaw, 509 U.S. 630, 646 (1993).
320 Cooper v. Harris, 137 S.Ct. 1455 (U.S.N.C., 2017) (emphasis added)
321 Id. (emphasis added)
322 Rec. Doc. No. 166, p. 82.


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further cite Cooper’s statement that he “was specifically asked to draw two [majority-

minority districts] by the plaintiffs.”323 This is not the “gotcha” moment that Defendants

make it out to be. It is well-established that in a vote dilution case, the method by which

a plaintiff can prove numerosity to satisfy Gingles I is the production of illustrative maps

demonstrating that it is possible to draw an additional 50% + majority-minority district. So,

the fact that Plaintiffs asked Cooper to draw such a map is no surprise. And, while Cooper

did testify that Plaintiffs asked him to draw two majority-Black districts, he also testified

that he “did not have a goal to under all circumstances create two majority-Black districts”

because “when developing a plan you have to follow traditional redistricting principles.”324

And Fairfax’s testimony established how he considered socioeconomic data extensively

in deciding where to draw his lines. Overall, the Court found Cooper and Fairfax to be

highly credible witnesses, and it credits their testimony that race did not predominate in

their drawing as sincere.

        Defendants also accuse Fairfax of drawing race-predominant maps because he

testified that he consulted race data at the beginning of his drawing process to get a sense

of where BVAP was located in Louisiana, then proceeded without reference to race data,

though he did occasionally pull up the BVAP percentages to check his work. The Court

emphasizes yet again that “race consciousness” is not prohibited during the drawing of

illustrative maps. If this was a racial gerrymandering case, Defendants’ hypercritical

parsing of the mapdrawers’ statements for evidence of intent would be more relevant. But

all Defendants have demonstrated is that the mapdrawers considered race after they



323 Rec. Doc. No. 166, p. 79. The official transcript of the hearing is not yet available; here, the Court adopts
Defendants’ quotation, which they derived from the transcript prepared by their private court reporter.
324 Rec. Doc. No. 164, p. 47.


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were asked to consider race – that is, to analyze whether it is possible to draw an

illustrative plan adhering to traditional criteria and satisfying the first condition of Gingles.

This does not offend the Constitution.

           In any event, if Plaintiffs’ experts engaged in race-predominant map drawing, their

illustrative plans would surely betray this imbalanced approach by being significantly less

compact, by disregarding communities of interest, or some other flaw. But the Court found

that Plaintiffs’ plans outperformed the enacted plan on every relevant criteria. Moreover,

the accusations that Defendants level at Plaintiffs’ illustrative plans – that they pick up

areas of BVAP with “surgical precision” and unite far-flung areas with little in common –

apply equally to the enacted plan’s CD 2. Testimony at the hearing established that the

enacted CD 2 is very non-compact and includes Baton Rouge and New Orleans, two

major cities with significantly different economies and representation needs, in the same

district.

           Race-blind map drawing is not required by precedent – in fact, racially conscious

map drawing has been recognized as necessary to comply with the Voting Rights Act.

Justice Kagan, joined by Justices Breyer and Sotomayor, addressed the issue of

simulated districts in her dissent from the grant of stay in Merrill v. Milligan, writing:

           In Alabama's view . . the advent of computerized districting should change
           the way the first Gingles condition operates. Plaintiffs can now use
           technology to generate millions of possible plans, without any attention to
           race. Alabama claims that some number of those plans (what number is
           unclear) must contain an additional majority-Black district for Section 2
           plaintiffs to satisfy the first Gingles condition. But whatever the pros and
           cons of that method, this Court has never demanded its use; we have not
           so much as floated the idea, let alone considered how it would work.325




325   Merrill v. Milligan, 142 S. Ct. 879, 887 (2022).

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This Court declines to supplant thirty years of guiding precedent in vote dilution cases in

favor of simulation maps created by someone who was performing such a simulation for

the first time and whose maps bear absolutely no resemblance to the enacted plan or the

previous plan.

            B. Gingles II and III – Racially Polarized Voting

        Gingles II asks whether Black voters are “politically cohesive,” 326 and Gingles III

whether White voters vote “sufficiently as a bloc to usually defeat [Black voters'] preferred

candidate.”327 Based on the testimony and reports of expert witnesses at the preliminary

injunction hearing, the Court finds that the Plaintiffs are substantially likely to prove both

prongs.

        Gingles II asks whether Black voters are “politically cohesive” – in other words,

whether Black voters usually support the same candidate in elections. On this factor,

Plaintiffs offered opinions from Dr. Maxwell Palmer and Dr. Lisa Handley and the

Defendants offered opinions from Dr. John Alford.

        Dr. Palmer was offered by Plaintiffs as an expert in the field of redistricting with an

emphasis in racially polarized voting and data analysis. Defendants stipulated to Dr.

Palmer’s expertise in the tendered field. Dr. Palmer opines that Louisiana has “a clear

pattern of racially polarized voting,” where “Black voters have a clear candidate of choice

in most statewide elections,”328 and “Black and White voters consistently support different

candidates.”329




326 Cooper, 137 S. Ct. at 1470
327 Id.
328 GX-2, p. 7.
329 Id. at p. 3.


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        Dr. Handley was tendered and accepted, based on Defendants’ stipulation, as an

expert in redistricting with an emphasis in racially polarized voting and data analysis. She

reached the same conclusion as Dr. Palmer, opining that “[v]oting in recent elections in

Louisiana is starkly racially polarized.”330 The opinions of Drs. Handley and Palmer were

based on a significant amount of historical voting data that they gathered and analyzed.

Their conclusions were not seriously disputed at the hearing. Defendants’ expert Dr.

Alford testified that he found no errors in Dr. Palmer’s and Dr. Handley’s work.

Defendants’ expert witness Dr. Solanky testified that he does not dispute Palmer’s and

Handley’s conclusions with respect to Gingles II.

        Dr. John Alford testified as an expert for the Defendants on racially polarized

voting. He does not dispute that voting in Louisiana is polarized as between Black and

White voters; rather, it is his opinion that polarized voting in Louisiana is attributable to

partisanship, not race. The Court does not credit this opinion as helpful, as it appears to

answer a question that Gingles II does not ask and in fact squarely rejects,331 namely,

why Black voters in Louisiana are politically cohesive. Further, the Court finds that Dr.

Alford’s conclusions conflict with the opinions of other experts in this case who employed

more robust methodology. Dr. Alford merely looked at the results reported by Dr. Palmer

and Dr. Handley and opined that polarized voting “may be correlated with race, but

whatever accounts for the correlation, the differential response of voters of different races




330PR-12, p. 7.
331Gingles, 478 U.S. 30, 63 (1986) (“The first reason we reject appellants' argument that racially polarized
voting refers to voting patterns that are in some way caused by race, rather than to voting patterns that are
merely correlated with the race of the voter, is that the reasons black and white voters vote differently have
no relevance to the central inquiry of § 2”).



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to the race of the candidate is not the cause.”332 Not only does this statement appear to

concede that Dr. Alford does not know exactly why voting is polarized (“whatever

accounts for the correlation”), Dr. Palmer’s well-accepted ecological inference analysis

contradicts it. Dr. Palmer demonstrated that the race of the candidate does have an effect;

he found that Black voters support Black candidates more often in a statistically

observable way. The Court finds that Dr. Alford’s opinions border on ipse dixit. His

opinions are unsupported by meaningful substantive analysis and are not the result of

commonly accepted methodology in the field. Other courts have found the same.333

        The Court rejects Defendants’ attempt to append an additional requirement to

Gingles II, namely, that Black voters’ cohesion must be shown to be caused by or

attributable to race instead of something else, like partisanship. The Court finds no basis

for this requirement in the law.334

        The Court credits Dr. Palmer’s opinions and conclusions, finding that his methods

were sound and reliable. His testimony was clear and straightforward, raising no issues

that would cause the Court to question his credibility. Likewise, the Court credits the

testimony and conclusions of Dr. Lisa Handley, who was accepted as an expert in

redistricting with a focus on racially polarized voting. Dr. Handley’s extensive expertise in

the area of redistricting and voting rights is reflected in her CV and was apparent from her

testimony, which was thorough, careful, well-supported by data, facts and soundly




332 AG-1, p. 9.
333 Alpha Phi Alpha Fraternity Inc. v. Raffensperger, Nos. 1:21-CV-5337-SCJ, 1:21-CV-5339-SCJ,
1:22-CV-122-SCJ, 2022 WL 633312, at *57 (N.D. Ga. Feb. 28, 2022); NAACP, Spring Valley Branch v. E.
Ramapo Cent. Sch. Dist., 462 F. Supp. 3d 368, 381 (S.D.N.Y. 2020).
334 For further discussion of the evidence that polarized voting in Louisiana is race-related, see the section

below on Senate Factor 2.

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reasoned. The Court finds the opinion testimony of Drs. Palmer and Handley to be both

probative and reliable.

           Defendants offered Dr. Tumulesh Solanky as an expert in the fields of mathematics

and statistical analysis, to which Plaintiffs stipulated. While the Court does not question

Dr. Solanky’s credentials in the fields of mathematics and statistical analysis, the Court

finds there is little, if any, connection between his expertise and his opinions. Solanky

opined that “there is no evidence of legally significant racially polarized voting in [East

Baton Rouge Parish],”335 and that the second minority-majority district proposed by

Plaintiffs is created by “pull[ing] out Black voters primarily from [East Baton Rouge

Parish].”336 According to his testimony, he has no experience in analyzing racially

polarized voting patterns. Solanky used an admittedly narrow data set as the basis for his

conclusions. He analyzed only East Baton Rouge Parish, which he conceded is not

populous enough to form its own congressional district and would need to be analyzed

with as many as 18 other parishes to form an opinion regarding the degree of polarization

in a district. Dr. Solanky does not offer any opinion about majority bloc voting in any

congressional district under the enacted or illustrative plans. The Court finds that Dr.

Solanky’s analysis is of limited utility, since at most it speaks to White voting behavior in

one parish out of 64. Moreover, Dr. Solanky himself observed that East Baton Rouge is

an outlier in terms of White crossover voting compared to surrounding parishes. Voting

behavior in a small area that is concededly an outlier is not probative of voting patterns

districtwide. Dr. Solanky’s opinions are unhelpful and do not inform the Court’s analysis

under Gingles II.


335   Rec. Doc. No. 101, p. 20.
336   Id.

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        Based on the evidence and the opinions of experts, the Court concludes that

Plaintiffs have demonstrated that Black voters in Louisiana are politically cohesive.

       Gingles III requires an inquiry into whether White voters in Louisiana vote

“sufficiently as a bloc to usually defeat [Black voters'] preferred candidate.” 337 This

question was addressed by Plaintiffs’ experts Dr. Palmer and Dr. Handley, who both

concluded that they do. Dr. Handley opines that White voters “consistently bloc vote to

defeat the candidates of choice of Black voters,” both “statewide, in previous

congressional elections in all but Congressional District 2, and in the enacted plan districts

that would contribute voters to an additional Black opportunity congressional district.”338

According to her analysis, the average percentage of White voter support for Black-

preferred candidates in statewide contest was 11.7%,339 and no Black-preferred

candidate was elected to statewide office in the 15 elections she examined. Dr. Palmer

analyzed a different set of elections and found that White voters supported the Black-

preferred candidate with 20.8% of the vote, on average.340

       The Fifth Circuit and the Supreme Court have held that “the question here is not

whether white residents tend to vote as a bloc, but whether such bloc voting is ‘legally

significant.’”341 Defendants posit that White bloc voting is not legally significant if “white

crossover voting is sufficient to enable the Black community to elect its preferred

candidates of choice in districts below 50 percent BVAP.” 342 In Covington v. North

Carolina, which was affirmed by the Supreme Court in 2017, the District Court for the


337 Cooper, 137 S. Ct. at 1470.
338 PR-12, p. 15.
339 Id. at p. 8.
340 GX-2, ¶ 18.
341 League of United Latin Am. Citizens, Council No. 4434 v. Clements, 999 F.2d 831, 850 (5th Cir.

1993)(quoting Gingles, 478 U.S. at 55)
342 Rec. Doc. No. 166, p. 108.


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Middle District of North Carolina held that “a general finding regarding the existence of

any racially polarized voting, no matter the level, is not enough.” 343 Because a statistically

significant level of racially polarized voting could be found at, say, 51%-49%, the court

explained, merely statistically significant levels “cannot be construed as conclusive

evidence of the third Gingles factor.”344

        The Covington court criticized the plaintiff’s experts because they “never

conducted an inquiry to determine whether racially polarized voting sufficient to enable

the majority usually to defeat the candidate of choice of African-American voters was

present in the challenged districts.”345 The same cannot be said of Plaintiffs’ experts in

this case. Both Dr. Palmer and Dr. Handley examined this issue, amassed detailed data,

and arrived at the same conclusion: that White voters consistently bloc vote to defeat the

candidates of choice of Black voters.

        The Court also finds, based on the work of Dr. Palmer and Dr. Handley, that

Plaintiffs’ illustrative districts would not be opportunity districts in name only but would

actually perform to allow Black voters a genuine opportunity to elect the candidate of their

choice. Defendants seize on the fact that Plaintiffs’ experts all agreed, during their

testimony, that it is possible for districts drawn below 50% BVAP to still “perform” because

there may be enough White crossover voting to allow Black voters an opportunity to elect

their preferred candidate. It is true that the Covington court called for an analysis of

crossover voting under Gingles III, noting that high levels of crossover voting undermine




343 Covington v. North Carolina, 316 F.R.D. 117, 167 (M.D.N.C. 2016), aff'd, 137 S. Ct. 2211, 198 L. Ed. 2d
655 (2017)
344 Id. at 170.
345 Id. at 168.


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a finding of legally significant polarized voting.346 But the experts advanced by Defendants

on this topic, Drs. Solanky and Lewis, do not move the needle. As previously noted, Dr.

Solanky’s analysis was confined only to East Baton Rouge Parish. His opinion that “for

the 2020 presidential election it does not appear that White voters are voting as a bloc to

defeat the black preferred candidate”347 is unreliable because it is based on his analysis

of one exogenous election and limited to one parish, which Solanky concedes is an

“outlier.” The Court was presented with no basis by which to extrapolate the voting

characteristics of voters in a single outlier parish to Plaintiffs’ illustrative CD2 and CD 5

generally.

        The Court accepted Defendants’ witness Dr. Jeffrey Lewis as an expert in the fields

of political science, census data analysis, and statistics, specifically racially polarized

voting. Dr. Lewis advances the opinion that majority minority districts are unnecessary

because in his view, Black voters have a meaningful opportunity to elect candidates of

their choice owing to White crossover voting. Dr. Lewis’s analysis is informed by a single

election, the 2020 Presidential general election. Using data from that single election, he

constructs a hypothetical in illustrative CD 2 and CD 5 where there are no White crossover

votes for the Black-preferred candidate, from which he concludes that, without White

crossover voting, the Black-preferred candidates, Biden/Harris, would not have been

elected except in one illustrative district.348 This hypothetical based on limited data is not

helpful to the Court’s assessment of whether Plaintiff’s illustrative maps “perform” for

Black-preferred candidates. Likewise, Dr. Lewis’s conclusion that districts with as little as



346 Id. at 167.
347 ARD-4, p. 14.
348 LEG-2, p. 7.


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30% BVAP could perform for Black-preferred candidates due to White crossover voting

was based on his analysis of one exogenous election. His opinion is simply unsupported

by sufficient data and is accordingly unreliable. Dr. Lewis states that further analysis was

not possible due to “time limitations.”349 The Court finds this excuse less than persuasive,

especially since Dr. Lewis performed his analysis using the data gathered by Dr.

Palmer.350

        White crossover voting was inherently included in the analysis performed by Dr.

Palmer and Dr. Handley, and the levels they found were insufficient to swing the election

for the Black-preferred candidate in any of the contests they examined. The fact that

Plaintiffs’ experts agreed, hypothetically, that a sub-50% BVAP district could perform

under unspecified circumstances, is not sufficient to overcome the conclusions reached

by their robust statistical analysis. Although Defendants insist on “legally significant” proof

of Plaintiffs’ burden, they offer only generalized speculation in rebuttal (e.g. “Dr. Palmer

admitted that there can be meaningful white crossover voting”351; Dr. Handley

acknowledged that there may be ‘pockets of Louisiana where the crossover vote is

higher”352). Defendants, having generated a theoretical factual issue, then conclude that

the issue is evidence of “substantial unclarity” 353 in Plaintiffs’ case that, at a minimum,



349  LEG-2, p. 6.
350  Throughout these proceedings, Defendants have complained that the deadlines imposed by the Court
left them unable to prepare a full defense. It had been widely known and reported on at least six months
before the Complaints were filed in these cases that the enacted maps would likely be the subject of
litigation. Defendants can hardly claim surprise, especially when they were already participating in related
litigation in state court when this suit was filed. And Attorney General Landry and the Legislators chose to
participate in this suit by intervention, rendering any prejudice they suffered strictly self-imposed. Moreover,
the Court accommodated Defendants’ request to re-set the preliminary injunction hearing after they
complained that the timeline was too tight. Overall, the Court finds that Defendants’ attempt to use the
Court-imposed deadlines as a shield is meritless. A preliminary injunction hearing is expedited by its nature.
351 Rec. Doc. No. 166, p. 36.
352 Id. at p. 39
353 Id. at p. 120.


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counsels in favor of judicial deference to the discretion of the Legislature. “The choice of

one safe seat [in the enacted CD 2] or two less safe seats falls well within the Legislature’s

discretionary choices.”354 The Court declines to follow Defendants down this very

attenuated road. The hard evidence adduced by Plaintiffs’ expert witnesses demonstrates

that Gingles III is met, even by the high standard imposed in Covington. If there is

evidence of a successful crossover district355 in Louisiana, neither side has presented it.

Defendants’ insinuation that somewhere, somehow, a less than 50% BVAP district could

regularly elect Black-preferred candidates is contradicted by the substantial record

developed by Plaintiffs.

             C. Senate Factors and Proportionality

        Gingles counsels that a Section 2 violation is established:

        if, based on the totality of circumstances, it is shown that the political
        processes leading to nomination or election in the State or political
        subdivision are not equally open to participation by members of [a racial
        minority group] ... in that its members have less opportunity than other
        members of the electorate to participate in the political process and to elect
        representatives of their choice.356

        Courts have concluded that “it will be only the very unusual case in which the

plaintiffs can establish the existence of the three Gingles factors but still have failed to

establish a violation of § 2 under the totality of circumstances.”357 Indeed, here the Court

finds that Plaintiffs have established that they are substantially likely to prevail in showing

that the totality of the circumstances weighs in their favor. The Court first analyzes the




354 Id. at p. 121.
355 A “district in which members of the majority help a ‘large enough’ minority to elect its candidate of choice”
(Cooper v. Harris, 137 S. Ct. 1455, 1470 (2017)).
356 Gingles, 478 U.S. at 36, 106 S.Ct. at 2759
357 Ga. State, 775 F.3d at 1342 (internal quotation marks omitted).


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Senate Factors (beginning with Factors 2 and 7, which Gingles marks as the “most

important”358) and then turns to the proportionality issue.

               1. Senate Factor 2

           Senate Factor 2 examines “the extent to which voting in the elections of the state

or political subdivision is racially polarized.”359 The Court already found, supra, that voting

in Louisiana is racially polarized based on the substantial and mostly unrebutted evidence

brought forward by Plaintiffs’ expert witnesses, who opined that the polarization is “stark.”

Further, contra Defendants’ assertion that polarization is attributable to partisanship and

not race, the evidence of the historical realignment of Black voters from voting Republican

to voting Democrat undercuts the argument that the vote is polarized along party lines

and not racial lines. The realignment of Black voters from Democrat to Republican is

strong evidence that, party affiliation notwithstanding, Black voters cohesively for

candidates who are aligned on issues connected to race. Plaintiffs’ experts Dr. Gilpin and

Dr. Lichtman recounted how, in the 1860s, the Louisiana Democratic Party was the party

of the Ku Klux Klan, while the Louisiana Republican Party worked for Black suffrage.

During Reconstruction, Black voters in Louisiana were fervently Republican, while White

voters were aligned with the Democratic party. Plaintiffs’ expert Dr. Burch explains that

the historic alignment began to break down after the New Deal, as Democrats were

increasingly identified with racial liberalism, and Republicans with racial conservatism. Dr.

Burch opines that “[t]he most important trend in voter registration in the South during the

last 25 years has been the defection of White voters from the Democratic party” because

of the party’s association with liberal racial policies and the participation of Black


358   Gingles, 478 U.S. at 48, n. 15.
359   Id. at 36-37.

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Democratic candidates. The passage of the Voting Rights Act in 1965, Dr. Lichtman

observes, was the catalyst to this political party realignment.

           Dr. Lichtman summarized that the Democratic and Republican parties have

undergone a role reversal since the 1860s, and that Black voters were loyal not to the

“label” of Republican but to their racial identity. Dr. Lichtman testified at the hearing that

party labels have no meaning; what matters to voters is what candidates represent.

“[P]arty identification is conjoined with race, although party labels ha[ve] come to mean

the opposite of what they once were,”360 he writes. Dr. Handley’s report also cites peer-

reviewed scholarly studies which show that the racial attitudes of the parties, and their

positions on race-related issues, are what drives support for a particular party.

           The analytical evidence of voter polarization which forms the bases for Drs. Palmer

and Handley’s opinions is bolstered and substantiated by the historical voting patterns

described by Drs. Lichtman and Gilpin. The polarization evidence is further bolstered by

fact testimony, such as Ashley Shelton who testified that in her lived experience, Black

voters in Louisiana prefer Democratic candidates, not because of the party label, but

because Democrats are more likely to discuss the issues that matter to Black voters. The

Court finds that Senate Factor 2 weighs heavily in favor of Plaintiffs.

               2. Senate Factor 7

           This factor assesses “the extent to which members of the minority group have been

elected to public office in the jurisdiction.” It is undisputed that there has not been a Black

candidate elected to statewide office in Louisiana since Reconstruction.361 Since 1991,




360   GX-3, p. 29.
361   GX-3, p. 46-47; PR-14, p. 6.

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only four Black Louisianans have been elected to Congress.362 Before 1991, there was

one Black Congressperson elected, and it was during Reconstruction.363 Louisiana has

never had a Black Congressperson elected from a non-majority-Black district.364 This

underrepresentation persists at other levels of government, as well. While the state is

roughly one-third Black, Louisiana’s State Senate is 23.1% black, and the House

22.9%.365 There has been no Black Louisiana Governor since P.B.S. Pinchback during

Reconstruction, and less than 25% of mayors in Louisiana are Black. Senate Factor 7

weighs heavily in favor of Plaintiffs.

            3. Senate Factor 1

        This inquiry considers “[t]he extent of any history of official discrimination in the

state ... that touched the right of the members of minority group to register, to vote, or

otherwise to participate in the democratic process.”366

        The Legislative Intervenors candidly concede that Louisiana has a “sordid history

of discrimination.”367 In another recent voting rights case in this District, the Court found

it “indisputable that Louisiana has a long history of discriminating against black

citizens.”368 The expert historians who testified also recounted well-documented,

undisputed historical facts of discriminatory voting laws and practices. Dr. Gilpin reported

about voting restrictions like poll taxes, property ownership requirements, and literacy

tests, which were first implemented before Black Louisianans were granted the right to

vote. These mechanisms were first enforced against immigrants, and later against Black


362 Id. at 47.
363 Id.
364 Id.
365 Id. at 47-48.
366 Gingles, 478 U.S. at 36-37.
367 Rec. Doc. No. 109, p. 20.
368 274 F. Supp. 3d 395 (M.D. La. 2017).


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Louisianans after their right to vote was recognized. Dr. Gilpin recounted that Black voting

in Louisiana reached its peak in 1896, when Black voters made up almost 45% of

registered voters.369 This ushered in a period of onerous restrictions, which rendered

Black voting all but futile. For example, the Grandfather Clause, enacted in 1898,

prohibited a Black citizen from voting unless they could establish that either their father

or grandfather had voted before January 1, 1867.370 As a result, Black voting plummeted

dramatically. Registration purges, the Understanding Clause, and other restrictions

disenfranchised Black voters to the point that, between 1910 and 1948, fewer than 1% of

Black Louisianans of voting age were able to register to vote. 371 By the passage of the

1965 Voting Rights Act, only one third of the Black population was registered.372

        Nor did the Voting Right Act foretell an era free from racially motivated voting

discrimination in Louisiana. Instead, the Act’s provision for supervision of state practices

meant that Louisianans were more aware of attempts to disenfranchise Black voters.

From 1965 to 1999, the U.S. Attorney General issued 66 objection letters to more than

200 voting changes, and from 1990 until the end of preclearance in 2013, an additional

79 objection letters were issued.373 Recently, in 2021, the City of West Monroe entered

into a consent decree with the Department of Justice related to its use of all at-large

districts for elections to the Board of Aldermen; Dr. Gilpin explains that at-large elections

commonly result in disenfranchisement of Black voters.




369 PR-13, p. 28.
370 GX-3, p. 9.
371 Id.
372 Id. at p. 10.
373 PR-13, p. 36.


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        Dr. Gilpin opines that Black voter suppression results from modern day practices

such as restricting access to polling places, restrictions on early voting, and limited mail

voting.374 For example, Dr. Lichtman cites a report by the U.S. Commission on Civil Rights

which found that there are fewer polling locations per voter in heavily Black areas.375 The

parish with the third-highest Black population, Caddo, was found to have only one polling

location for its 260,000 residents.376 This pressure on access to polling locations is not

limited to Caddo Parish, as shown by the uncontroverted testimony of Charles Cravins,

an Opelousas native who described recent closing and consolidation of predominately

Black polling places in St. Landry Parish, and Ashley Shelton who testified about

relocation of predominately Black polling places in New Orleans East.

        Defendants argue that “Plaintiffs did not present any meaningful recent evidence

of official discrimination.”377 While “tragic,” they say, “it is in the distant past and is not

especially probative of this Section 2 case in 2022.”378 Defendants tout the fact that

Louisiana was recently ranked 7th in the nation for election integrity379 and the fact that

there is White crossover voting380 as evidence that discrimination is a thing of the past.

They assert that the State’s abysmal preclearance history is merely indicative of

“backsliding”381 and not discrimination.

        Senate Factor 1 explicitly calls for an inquiry into any history of voting-related

discrimination, but as discussed above, practices which result in barriers to Black voters



374 Id. at p. 47.
375 GX-3, p. 14.
376 Id.
377 Rec. Doc. No. 159, p. 123 (emphasis original).
378 Id.
379 Id. at p. 126.
380 Id. at p. 123-124.
381 Id. at 125.


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continue. In this context, taking a broader look is well justified. A Black Louisianan born

in 1965, the year the Voting Rights Act was passed, is only 57 years old today. This is not

ancient history. Defendants’ contention that there is no evidence of Black voters being

denied the right to vote is irrelevant. This case presents claims of vote dilution.

       The Court is not persuaded by the facts adduced by Defendants in support of their

argument that the “State of Louisiana has made significant strides in addressing its

inequitable past as part of its recent history.”382 It is laudable that, for example, the LSU

African-American Diversity Organization hosts programs including Umoja, a welcome

event for freshman and transfer students;383 that the Legislature recently created a task

force to study the lack of minority candidates for athletic director and head coach positions

in the state;384 or that Juneteenth has been recognized as a holiday and that “many”

members of the Louisiana State Bar Association have agreed to by abide by a Statement

of Diversity Principles.385 But to the extent these facts are offered as mitigation of the

repugnant history of discrimination in Louisiana, they fall completely flat.

       Lastly, the Court finds that Louisiana’s history of discrimination has been

recognized by other federal courts. In the 2017 case Terrebonne Par. Branch NAACP v.

Jindal, Judge James Brady analyzed Senate Factor 1, finding that “Louisiana consistently

ignored its preclearance requirements under Section 5,”386 and that “Louisiana and its

subdivisions have a long history of using certain electoral systems that have the effect of

diluting the black vote.”387 In 1983, the District Court for the Eastern District of Louisiana


382 Rec. Doc. No. 159, p. 15.
383 AG-19.
384 AG-13.
385 AG-18.
386 274 F. Supp. 3d 395, 440 (M.D. La. 2017), rev'd sub nom. Fusilier v. Landry, 963 F.3d 447 (5th Cir.

2020).
387 Id.


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concluded that “Louisiana's history of racial discrimination, both de jure and de facto,

continues to have an adverse effect on the ability of its black residents to participate fully

in the electoral process.”388 In 1988, that same Court took “judicial notice of Louisiana's

past de jure policy of voting-related racial discrimination. Throughout the earlier part of

this century, the State implemented a variety of stratagems including educational and

property requirements for voting, a “grandfather” clause, an “understanding” clause, poll

taxes, all-white primaries, anti-single-shot voting provisions, and a majority-vote

requirement to ‘suppres[s] black political involvement.’” 389

       There is no sincere dispute regarding Senate Factor 1. The evidence of

Louisiana’s long and ongoing history of voting-related discrimination weighs heavily in

favor of Plaintiffs.

           4. Senate Factor 3

       The Court next examines “[t]he extent to which the state ... has used ... voting

practices or procedures that may enhance the opportunity for discrimination against the

minority group.”390 Plaintiffs cite Louisiana’s open primary system and majority-vote

requirement as an example of discriminatory voting procedures, explaining that if a Black

candidate wins a plurality of the vote in a White jurisdiction, they will have to face the

White-preferred candidate in a runoff, where Black candidates rarely win. According to

Dr. Lichtman, this system was enacted in 1975 to protect White incumbents from electoral

challenges.391 Defendants dispute that the system was motivated by racial bias, arguing




388 Major v. Treen, 574 F. Supp. 325, 339–40 (E.D. La. 1983).
389 Chisom v. Edwards, 690 F. Supp. 1524, 1534 (E.D. La.), vacated sub nom. Chisom v. Roemer, 853
F.2d 1186 (5th Cir. 1988).
390 Gingles at 47.
391 GX-31, p. 7.


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that Louisiana configured its primaries in this manner after a previous system was struck

down by the Supreme Court in Foster v. Love.392

        Dr. Lichtman points to the 2015 Lieutenant Governor race, the 2017 Treasurer

race and the 2018 Secretary of State race as evidence that Louisiana’s open primary

system hinders the ability of Black-preferred candidates to win. The Court credits Dr.

Lichtman’s conclusion that the Black-preferred candidate lost in the runoff in each of these

three elections, but the Court is unpersuaded that the results of three exogenous elections

prove the point. The Court finds Senate Factor 3 neutral.

            5. Senate Factor 4: Candidate Slating

        There is no slating process for Louisiana’s congressional elections, so this factor

is not relevant and the Court makes no finding.393

            6. Senate Factor 5

        Factor 5 concerns “[t]he extent to which members of the minority group in the state

... bear the effects of discrimination in such areas as education, employment, and health,

which hinder their ability to participate effectively in the political process.” Defendants

concede the facts which overwhelmingly establish that Black Louisianans “...bear the

effects of discrimination in such areas as education, employment, and health.” The

sobering facts set forth in Dr. Lichtman’s tables394 went undisputed. Defendants argue

that Senate Factor 5 requires a showing that disparities actually prevent political

participation, i.e., “proof that participation in the political process is in fact depressed




392 522 U.S. 67 (1997).
393 The parties agree; see Rec. Doc. No. 162, p. 82, and Rec. Doc. No. 159, p. 135.
394 GX-3, p. 81 - 83.


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among minority citizens.”395 Defendants argue that evidence of disparities does not

demonstrate a nexus between disadvantage and participation.

       Common sense suggests that a Louisianan who is barely getting by, who has

limited access to transportation, who is in poor health, or who is functionally illiterate, is

ill-equipped to exercise the franchise. However, a plain reading of Senate Factor 5

requires a showing of hindrance. The Court further agrees the Court’s observation in

Caster requiring explicit proof of impaired participation overlooks “the question whether

the lasting effects of discrimination make it harder for Black [voters] to participate at the

levels that they do.”396 Nonetheless, the Fifth Circuit counsels Courts to require “evidence

of reduced levels of black voter registration, lower turnout among black voters, or any

other factor tending to show that past discrimination has affected their ability to participate

in the political process.”    397
                                    Without specific evidence that these disparities manifest

themselves in political participation outcomes, the Court finds that Senate Factor 5 is

neutral.

           7. Senate Factor 6

       Plaintiffs’ experts Dr. Burch and Dr. Lichtman spoke to “[w]hether political

campaigns have been characterized by overt or subtle racial appeals.”398 They cite the

following examples of racial appeals in Louisiana politics, among others:




395 Clements, 999 F.2d at 867.
396 Caster v. Merrill, No. 2:21-CV-1536-AMM, 2022 WL 264819, at *73 (N.D. Ala. Jan. 24, 2022).
397 Clements, 999 F.2d 831, 867.
398 Gingles, 478 U.S. at 37.


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            •   David Duke, a former Grand Wizard of the Ku Klux Klan, won three

                statewide elections (1990 U.S. Senate, 1991 gubernatorial open primary,

                and a 1991 gubernatorial runoff) by appealing “to white racial fears”;399

            •   Former Governor Mike Foster, during the 1995 gubernatorial runoff

                election, stated that predominantly White Jefferson Parish “is right next to

                the jungle in New Orleans and it has a very low crime rate”;400

            •   Incumbent Republican Senator David Vitter in 2010 released a campaign

                ad depicting Hispanic immigrants sneaking through a hole in a fence and

                being welcomed by people holding the banner of his opponent and a giant

                check made out to “all illegal aliens”;401

            •   Another ad by Vitter that photoshopped Governor Edwards next to

                President Barack Obama and stated that Edwards and Obama were

                scheming to release 5,500 dangerous “thugs” and “drug dealers” back onto

                the streets;402

            •   Eddie Rispone, a 2019 gubernatorial candidate, produced an ad blaming

                Governor John Bel Edwards for crimes committed by people released from

                prison, featuring mugshots of Black men, then accused Governor Edwards

                and his family of “taking advantage of black people in Louisiana. . .since

                Louisiana was born.”403




399 PR-14, p. 26.
400 GX-3, p. 40.
401 Id.
402 Id. at p. 42.
403 PR-14, p. 26.


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        This is some evidence that racial appeals are used in Louisiana politics, but the

persuasive weight of the evidence is minimal. The Court finds that this factor weighs

neither for nor against Plaintiffs.

            8. Senate Factor 8

        Senate Factor 8 invites inquiry related to “[w]hether there is a significant lack of

responsiveness on the part of elected officials to the particularized needs of the members

of the minority group.”404

        Plaintiffs rely on the reports of Dr. Burch and Dr. Lichtman for this factor, arguing

that the disparities in health, housing, employment, education, and criminal justice faced

by Black Louisianans are “indicative of a failure on the part of elected officials to address

the needs of Black residents.”405 Plaintiffs highlight the roadshow testimony of various

Louisianans cited by Dr. Burch as evidence that Black Louisianans have a sense of being

overlooked by politicians.406 On the other hand, Defendants argue persuasively that

evidence of disparities is not, in and of itself, evidence of non-responsiveness.

        The Defendants elicited testimony from Governor Edwards’ executive counsel

Matthew Block that the Governor supported Medicaid expansion, criminal justice reform,

and has appointed black officials to positions of authority. Though not overwhelming, this

is evidence of at least one elected official’s responsiveness to “particularized needs.”

        Plaintiffs’ showing on this factor was somewhat anecdotal and indirect, and the

Court does not have sufficient evidence before it to conclude that there is a significant

lack of responsiveness by elected officials in Louisiana. This factor favors Defendants.



404 Gingles, 478 U.S. at 37.
405 Rec. Doc. No. 164, p. 92.
406 See PR-14, p. 29-32.


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            9. Senate Factor 9

        Lastly, in considering the totality of the circumstances, the Court assesses

“[w]hether the policy underlying the Plan is “tenuous.” While the Legislative Intervenors

joined this suit on the premise that they could represent “the policy considerations

underpinning”407 the enacted plan, Defendants offered no direct evidence on that point.

Not a single elected official testified about the policies or considerations underpinning the

enacted plan. By contrast, Dr. Burch examined the legislative record and points to specific

evidence that the reasons in favor of enacted plan offered by legislators “lacked empirical

support, were vague or contradictory, or were based on misunderstandings.”408

        For example, although several members cited population equality as one of their

foremost priorities for the new map, when Senator Fields presented an amendment with

lower population deviation and a second majority-minority district, Senator Hewitt

retreated from the previously expressed need for “zero-deviation” districts, stating that

“what the courts have ruled is that . . . anything less than a hundred was kind of the

objective.”409 Similarly, proposed maps with higher levels of compactness and with zero

split precincts were rejected when they had two majority-minority districts. Dr. Burch

recounts extensive evidence gleaned from the legislative record which amply supports

her conclusion that lawmakers did not stand by their proffered justifications when they

voted for the enacted map.

        Defendants’ advancement of the importance of core retention is, in this Court’s

view, evidence of the tenuousness of the justifications for the enacted plan. As ably stated



407 Rec. Doc. No. 10, p. 10.
408 PR-14, p. 32.
409 Id.


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by Dr. Lichtman, core retention is nothing more than a guarantee that inequities in the

map will be frozen in place despite changes in population. Defendants’ argument that

they prioritized avoiding racial gerrymanders, anemically pointing to the Hays maps, is

likewise unconvincing. The Defendants offered no persuasive or legally relevant

illumination of the policies served by H.B. 1. The Court finds this his factor weighs in favor

of Plaintiffs.

            10. Proportionality

        Section 2 expressly provides that “nothing in this section establishes a right to have

members of a protected class elected in numbers equal to their proportion in the

population;”410 however, the Supreme Court has held that “whether the number of

districts in which the minority group forms an effective majority is roughly proportional to

its share of the population in the relevant area” is a “relevant consideration” in the totality-

of-the-circumstances analysis.411          “[P]roportionality ... is obviously an indication that

minority voters have an equal opportunity, in spite of racial polarization to participate in

the political process and to elect representatives of their choice....” 412

        The Court finds that Black representation under the enacted plan is not

proportional to the Black share of population in Louisiana. This fact is not disputed.

Although Black Louisianans make up 33.13% of the total population and 31.25% of the

voting age population, they comprise a majority in only 17% of Louisiana’s congressional

districts.413 Accordingly, the Court finds that the proportionality consideration weighs in

favor of Plaintiffs.


410 52 U.S.C. § 10301(b).
411 LULAC, 548 U.S. at 426
412 De Grandy, 512 U.S. at 1020 (internal quotation marks omitted).
413 GX-1, p. 6.


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        The Court concludes that on the record before it, the totality of the circumstances

weighs in favor of Plaintiffs’ request for relief and finds that the Plaintiffs are substantially

likely to prevail on the merits of their vote dilution claim.

III.    IRREPARABLE HARM

        The Court concludes that Plaintiffs have demonstrated that they will suffer an

irreparable harm if voting takes place in the 2022 Louisiana congressional elections

based on a redistricting plan that violates federal law. Voting is a “fundamental political

right, because it is preservative of all rights.”414 “[O]nce the election occurs, there can be

no do-over and no redress” 415 for voters whose rights were violated, and votes diluted by

the challenged plan.

         Defendants do not dispute or directly address Plaintiffs’ arguments about

irreparable harm. Instead, they posit that the real threat of irreparable harm is an

injunction from this Court, which they claim “would pose an unacceptable risk of

constitutional injury to hundreds of thousands of Louisiana residents”416 because this

Court would be re-imposing a map with two majority-minority districts, which was struck

down as an unconstitutional racial gerrymander in Hays almost thirty years ago. The

Court considered and rejected Defendants’ contention that Hays maps are useful

comparators here or that Hays is instructive, applicable, or otherwise persuasive. It is not.

Accordingly, the Court finds that Plaintiffs will suffer an irreparable harm without a

preliminary injunction. If the 2022 election is conducted under a map which has been




414 Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1315 (11th Cir. 2019) (internal quotation marks
omitted)(alterations accepted). See also Purcell v. Gonzalez, 549 U.S. 1, 4, (2006)(“the ‘fundamental
political right’ to vote”)(quoting Dunn v. Blumstein, 405 U.S. 330, 336 (1972)).
415 League of Women Voters of N.C., 769 F.3d at 247.
416 Rec. Doc. No. 166, p. 138.


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shown to dilute Plaintiffs’ votes, Plaintiffs’ injury will persist unless the map is changed for

2024.

IV.     BALANCE OF EQUITIES

        Elements three and four of the preliminary injunction test, “[t]he balance of the

equities and the public interest[,] “merge when the Government is the opposing party.”417

The Court concludes that protecting voting rights is quite clearly in the public interest,

while allowing elections to proceed under a map that violates federal law most certainly

is not. The irreparable harm to Plaintiffs’ voting rights outweighs the administrative burden

articulated by Defendants.

        The Court further concludes that the implementation of a remedial congressional

map is realistically attainable well before the 2022 November elections in Louisiana. In

the 2006 case Purcell v. Gonzalez, the Supreme Court vacated a lower court injunction

enjoining Arizona’s voter identification procedures because the injunction came “just

weeks before an election.”418 The High Court reasoned that “Court orders affecting

elections . . .can themselves result in voter confusion and consequent incentive to remain

away from the polls. As an election draws closer, that risk will increase.”419 The Supreme

Court vacated the lower court’s injunction for the reasons that “[g]iven the imminence of

the election and the inadequate time to resolve the factual disputes, our action today shall

of necessity allow the election to proceed without an injunction suspending the voter




417 Nken v. Holder, 556 U.S. 418, 435 (2009).
418 Purcell v. Gonzalez, 549 U.S. 1, 4, 127 S. Ct. 5, 7, 166 L. Ed. 2d 1 (2006).
419 Id. at 5.


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identification rules.”420 Defendants call Purcell a “seminal opinion”421 which requires that

this Court do nothing.

        As the Caster court points out, Purcell is not the only opinion ever advanced by the

Supreme Court on the subject of timing. In Reynolds v. Sims, for example, the Court

explained that “once a State's legislative apportionment scheme has been found to be

unconstitutional, it would be the unusual case in which a court would be justified in not

taking appropriate action to insure that no further elections are conducted under the

invalid plan.”422 “However,” the Court recognized, “under certain circumstances, such as

where an impending election is imminent and a State's election machinery is already in

progress, equitable considerations might justify a court in withholding the granting of

immediately effective relief in a legislative apportionment case, even though the existing

apportionment scheme was found invalid.”423 The Court explained that “[i]n awarding or

withholding immediate relief, a court is entitled to and should consider the proximity of a

forthcoming election and the mechanics and complexities of state election laws, and

should act and rely upon general equitable principles.”424

        A necessity standard was endorsed in Upham v. Seamon, where the Supreme

Court stated that “we have authorized District Courts to order or to permit elections to be

held pursuant to apportionment plans that do not in all respects measure up to the legal

requirements, even constitutional requirements. Necessity has been the motivating factor




420 Id. at 5-6.
421 Rec. Doc. No. 166, p. 140.
422 377 U.S. at 585.
423 Id.
424 Id.


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in these situations.”425 Defendants urge consideration Justice Kavanaugh’s concurrence

in Merrill v. Milligan, where he opined that:

           Running elections state-wide is extraordinarily complicated and difficult.
           Those elections require enormous advance preparations by state and local
           officials, and pose significant logistical challenges. The District Court's order
           would require heroic efforts by those state and local authorities in the next
           few weeks—and even heroic efforts likely would not be enough to avoid
           chaos and confusion.426

           The Court concludes that neither Purcell nor any other case compels this Court to

withhold immediate relief. The evidence presented at the hearing demonstrates that,

although the administrative tasks that would be necessitated by a new congressional map

would challenge the Secretary of State’s office, the effort required would not be a heroic

undertaking. Sherri Hadksey, the Commissioner of Elections, testified that after the

Governor’s veto was overridden and the enacted map became law, her office was able

to update their records and send out mailings to all impacted voters in less than three

weeks. The number of voters affected by a remedial map would likely be greater than the

number affected by the change from the 2011 map to the 2022 map. Nevertheless, even

if it took twice as long to accomplish, six weeks would be enough. Hadskey further testified

that she was concerned that, if the process was rushed, her office may code voter

information incorrectly, leading to incorrect information on ballots.

           The Court finds that, although Hadskey’s testimony demonstrated general concern

about the prospect of having to issue a new round of notices to voters, she did not provide

any specific reasons why this task cannot be completed in sufficient time for November

elections, nearly 6 months from now. Likewise, the Court is not persuaded that the



425   456 U.S. 37, 44 (1982) (citations omitted).
426   Merrill v. Milligan, 142 S. Ct. 879, 880 (2022).

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national paper shortage referenced by Hadskey in her testimony presents a significant

burden. There was no evidence that State’s paper demands would be impacted by map

changes. Plaintiffs question, as does the Court, how paper usage is affected by the shape

of Louisiana’s congressional districts. Further, the Court finds that the mailing of paper

notices is not the only source of information for voters. Secretary Ardoin’s Geaux Vote

mobile app and website, touted by Defendants during this litigation as an award-winning

example of voter outreach, can also provide information about any district changes.

Ultimately, Hadskey testified that she would rely upon her 30 years of experience and

work to fulfill her responsibility to administer the election on schedule.

           Defendants repeatedly claim that June 22, 2022 is a critically impending deadline.

June 22 is the deadline for potential congressional candidates to qualify by nominating

petition. Notably, Hadskey testified that it is “extremely rare” for candidates to qualify by

nominating petition. The evidence was that most pay the filing fee and qualify during the

July 20-22 qualifying period. July 20 is more than six weeks from now. And Louisiana’s

unique election schedule, with the open primary not occurring until November, allows the

State 6 months to accomplish what needs to be done.

           Defendants warn the Court against issuing an injunction that would “act like [a]

hurricane[],”427 but the Court finds the metaphor shallow. Placing a bureaucratic strain on

a state agency in order to rectify a violation of federal law is not analogous to a natural

disaster.

           Most importantly, the Court finds that the credibility of Defendants’ assertions

regarding the imminence of deadlines lacks credence. The Legislative Intervenors in this



427   Rec. Doc. No. 165, p. 27.

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case, President Cortez and Speaker Schexnayder, made judicial admissions to the

contrary in March 2022 in a currently pending state court case regarding the very

congressional redistricting at issue here.428 President Cortez and Speaker Schexnayder

asserted that: “the candidate qualification period could be moved back, if necessary, as

other states have done this cycle, without impacting voters.”429 They further represented

that: “[t]he election deadlines that actually impact voters do not occur until October 2022.

. .Therefore, there remains several months on Louisiana’s election calendar to complete

the process.”430 There was no rush, they assured the court, because Louisiana’s “election

calendar is one of the latest in the nation.”431

        In the context of the state court suit, the Legislative Intervenors were attempting to

demonstrate that judicial intervention to resolve the impasse on redistricting was not

necessary, and in that context, they painted a very different picture than the one they

paint for this Court. The Court sees no reason why the statement that qualifying deadlines

could be moved without ill effect does not apply with equal force in this context.

        Likewise, the Court relies upon the statement of Secretary Ardoin’s counsel in the

state court proceeding that Louisiana does not have “a hard deadline for redistricting,”432

and “the Legislature. . .can also amend the election code if necessary to deal with

congressional reapportionment.”433



428 Bullman, et al v. R. Kyle Ardoin, in his official capacity as Louisiana Secretary of State, No. C-716690,
2022 WL 769848 (19th Judicial Dist. Ct.); NAACP Louisiana State Conference et al v. Ardoin, No. C-716837
(19th Judicial Dist. Ct.). After the veto of H.B. 1 by the Governor, but before the legislative override, when
there was effectively no congressional district map in place, Plaintiffs petitioned the state court to impose a
congressional map for 2022.
429 GX-32, p. 8.
430 Id.
431 Id. at p. 5.
432 GX-33, p. 32, lines 3-20.
433 Id.


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        Defendants have not pointed to a single piece of evidence that an order from this

Court would require the type of “heroic efforts” that Justice Kavanaugh warns about. The

Court credits the testimony of Matthew Block that state election officials and officeholders

have significant experience with adjusting the time, place, and manner of elections,

thanks to natural disasters like Hurricane Ida and the COVID-19 pandemic. Major

deadlines are still months away; overseas absentee ballots are not due to be mailed until

September 24, 2022, and limited early voting begins October 18, 2022.434 And the

qualifying deadline is adjustable, according to Defendants themselves.

        There are a number of recent Supreme Court actions that merit consideration on

this topic. In Moore v. Harper, the Supreme Court denied an application for stay out of

North Carolina, with Justice Kavanaugh explaining his vote to deny stay as follows:

        In light of the Purcell principle and the particular circumstances and timing
        of the impending primary elections in North Carolina, it is too late for the
        federal courts to order that the district lines be changed for the 2022 primary
        and general elections, just as it was too late for the federal courts to do so
        in the Alabama redistricting case last month.435

        From the dissent, penned by Justice Alito and joined by Justices Thomas and

Gorsuch, this Court is given to understand that the application for stay was received by

the Supreme Court “only seven days before the deadline for candidates to file on March

4.”436 This stands in stark contrast to the timing in the instant case, where the most

commonly-utilized method of candidate qualifying does not begin for more than six weeks.

Remarkably, the dissent stated that even seven days before qualifying, “promptly granting

a stay would have been only minimally disruptive.”437


434 ARD-1, p. 4.
435 Moore v. Harper, 142 S. Ct. 1089 (2022).
436 Id. at 1091.
437 Id.


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       In a per curiam opinion in Wisconsin Legislature v. Wisconsin Elections

Commission, the Supreme Court reversed the imposition of redistricting maps and

remanded to the Wisconsin Supreme Court, expressing confidence that the court would

have “sufficient time to adopt maps consistent with the timetable for Wisconsin's August

9th primary election.”438 The Court’s statement came on March 23, 2022, when the

August 9th primary date was 139 days away. Louisiana’s open congressional primary

will occur on November 8, 2022, more than 150 days from now. Under the Supreme

Court’s guiding precedent, this provides “sufficient time” for the State to adjust its

procedures and accomplish the tasks necessary to administer the election.

       In Merrill v. Milligan, Justice Kavanaugh explained that in his view, a stay of the

Caster court’s order was necessary because “the primary elections begin (via absentee

voting) just seven weeks from now, on March 30.”439 This timing is distinguishable from

the instant case, where the candidates for office will not even be known until late July and

early voting begins in October.

       The Court finds that a remedial congressional plan can be implemented in advance

of the 2022 elections without excessive difficulty or risk of voter confusion. Defendants’

assertion that “an entirely new congressional plan”440 will be required at significant cost

and hardship rings hollow. The Legislature would not be starting from scratch; bills were

introduced during the redistricting process441 that could provide a starting point, as could

the illustrative maps in this case, or the maps submitted by the amici.442




438 Wisconsin Legislature v. Wisconsin Elections Comm'n, 142 S. Ct. 1245, 1248 (2022).
439 Merrill v. Milligan, 142 S. Ct. 879 (2022)
440 Rec. Doc. No. 166, p. 142.
441 GX-12.
442 See Rec. Doc. No. 97.


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       Other courts that have invalidated redistricting plans have imposed deadlines in

the range of ten days to two-and-a-half weeks for the legislature to craft a new plan.443

With a new map in place by mid-June, the Secretary of State would have roughly five

weeks before the July 20 qualifying period begins to update records and notify voters.

This effort “does not rise to the level of a significant sovereign intrusion.”444 Given the

timing of Louisiana’s election and election deadlines, the representations made by

Defendants in related litigation, and the lack of evidence demonstrating that it would be

administratively impossible to do so, the Court finds that the State has sufficient time to

implement a new congressional map without risk of chaos.

V.     REMEDY

       Defendants argue that a preliminary injunction is improper because Plaintiffs seek

relief that “would establish a state of affairs that never before existed and does not

preserve the status quo pending trial.”445 The Court finds useful instruction in the Fifth

Circuit’s analysis of the “status quo” issue in Canal Auth. of State of Fla. v. Callaway:

       It must not be thought, however, that there is any particular magic in the
       phrase ‘status quo.’ The purpose of a preliminary injunction is always to
       prevent irreparable injury so as to preserve the court's ability to render a
       meaningful decision on the merits. It often happens that this purpose is
       furthered by preservation of the status quo, but not always. If the currently
       existing status quo itself is causing one of the parties irreparable injury, it is
       necessary to alter the situation so as to prevent the injury, either by
       returning to the last uncontested status quo between the parties, by the
       issuance of a mandatory injunction, or by allowing the parties to take
       proposed action that the court finds will minimize the irreparable injury. The




443 See Harris v. McCrory, 159 F. Supp. 3d 600, 627 (M.D.N.C. 2016); Common Cause v. Rucho, 279 F.
Supp. 3d 587, 691 (M.D.N.C.); League of Women Voters of Ohio v. Ohio Redistricting Comm’n, Nos. 2021-
1193, 2021-1198, 2021-1210, 2022 WL 110261, at *28 (Ohio Jan. 12, 2022); Larios v. Cox, 300 F. Supp.
2d 1320, 1357 (N.D. Ga. 2004).
444 Covington v. North Carolina, 270 F. Supp. 3d 881, 895 (M.D.N.C. 2017).
445 Rec. Doc. No. 165, p. 23.


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        focus always must be on prevention of injury by a proper order, not merely
        on preservation of the status quo.446

        The Fifth Circuit has recognized that irreparable injury may necessitate an

injunction that imposes mandatory preliminary relief instead of merely maintaining the

status quo, though it notes such relief is disfavored unless the law and facts clearly favor

the moving party.447 Especially in the context of Plaintiffs’ fundamental voting rights, the

Court finds that prevention of injury, not fealty to the status quo, is paramount. And courts

frequently issue preliminary injunctions that order relief beyond mere preservation of the

status quo. This Court previously issued a preliminary injunction mandating changes to

state election procedures upon a showing that the plaintiffs would suffer irreparable harm

under the status quo,448 as have other federal courts in similar cases.449

        The Court pays heed to the principle that “[f]ederal-court review of districting

legislation represents a serious intrusion on the most vital of local functions. It is well

settled that ‘reapportionment is primarily the duty and responsibility of the State.’” 450 Thus,

“[f]ederal courts are barred from intervening in state apportionment in the absence of a

violation of federal law precisely because it is the domain of the States, and not the federal

courts, to conduct apportionment in the first place.”451 The State has a “sovereign interest

in implementing its redistricting plan.”452




446 Canal Auth. of State of Fla. v. Callaway, 489 F.2d 567, 576 (5th Cir. 1974)(internal citations omitted).
See also Second Baptist Church v. City of San Antonio, No. 5:20-CV-29-DAE, 2020 WL 6821334, at *3
(W.D. Tex. Feb. 24, 2020).
447 Martinez v. Mathews, 544 F.2d 1233, 1243 (5th Cir. 1976).
448 Harding v. Edwards, 487 F. Supp. 3d 498, 526 (M.D. La. 2020), appeal dismissed sub nom. Harding v.

Ardoin, No. 20-30632, 2021 WL 4843709 (5th Cir. May 17, 2021).
449 Caster, 2022 WL 264819, at *1 (N.D. Ala. Jan. 24, 2022); Democratic Nat'l Comm. v. Bostelmann, 488

F. Supp. 3d 776, 783 (W.D. Wis. 2020).
450 Miller, 515 U.S. at 915 (quoting Chapman v. Meier, 420 U.S. 1, 27 (1975)).
451 Voinovich, 507 U.S. at 156.
452 Vera, 517 U.S. at 978.


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        The Supreme Court “has repeatedly held that redistricting and reapportioning

legislative bodies is a legislative task which the federal courts should make every effort

not to pre-empt.”453 Upon a federal court’s finding that a redistricting plan violates the

federal law, “it is therefore, appropriate, whenever practicable, to afford a reasonable

opportunity for the legislature to meet [applicable federal legal] requirements by adopting

a substitute measure rather than for the federal court to devise and order into effect its

own plan. The new legislative plan, if forthcoming, will then be the governing law unless

it, too, is challenged and found to violate”454 federal law.

        After a determination that a redistricting plan violates Section 2, “[s]tates retain

broad discretion in drawing districts to comply with the mandate of § 2.”455 The State may

elect to use one of Plaintiffs’ illustrative plans, but is not required to do so, nor must it

“draw the precise compact district that a court would impose in a successful § 2

challenge.”456 Overall, “the States retain a flexibility that federal courts enforcing § 2 lack,

both insofar as they may avoid strict scrutiny altogether by respecting their own traditional

districting principles, and insofar as deference is due to their reasonable fears of, and to

their reasonable efforts to avoid, § 2 liability.”457

        The Court’s imposition of a particular map becomes necessary only if the

Legislature fails to adopt its own remedial map according to the Court’s deadline.

“Legislative bodies should not leave their reapportionment tasks to the federal courts; but

when those with legislative responsibilities do not respond, or the imminence of a state




453 Wise, 437 U.S. at 539–40 (opinion of White, J.).
454 Id. at 540.
455 Shaw II, 517 U.S. at 917 n.9.
456 Vera, 517 U.S. at 978 (internal quotation marks omitted).
457 Id.


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